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             EXHIBIT A
                          Case 1:23-cv-00108-LMB-JFA Document 920-2 Filed 07/23/24 Page 2 of 48 PageID# 22175
                                                              United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                                         Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                    Beg Bates                                 End Bates                                         Description                             Confidentiality

     PTX0001           11/18/2004 4:11    GOOG-DOJ-02122988                     GOOG-DOJ-02122990                          Email from Jonathan Rosenberg to Google employee            Highly Confidential
     PTX0002           5/9/2005 18:06     GOOG-DOJ-01861190                     GOOG-DOJ-01861195                          Email from Gokul Rajaram to Salar Kamangar et al.           Highly Confidential
     PTX0003           6/4/2005 1:59      GOOG-DOJ-02124439                     GOOG-DOJ-02124441                          Email from David Thacker to Salar Kamangar et al.           Highly Confidential
     PTX0004           12/15/2005 19:28   GOOG-DOJ-01865681                     GOOG-DOJ-01865684                          Email from Rohit Dhawan to David Thacker et al.             Highly Confidential
     PTX0005           3/7/2006 1:14      GOOG-DOJ-02106751                     GOOG-DOJ-02106752                          Email from Gokul Rajaram to Susan Wojcicki et al.           Highly Confidential
     PTX0006           3/14/2006 6:36     GOOG-DOJ-02126668                     GOOG-DOJ-02126672                          Email from Susan Wojcicki to Gokul Rajaram                  Highly Confidential
     PTX0007           7/4/2006 7:11      GOOG-DOJ-02127977                     GOOG-DOJ-02127983                          Email from Gokul Rajaram to Francoise Brougher et al.       Highly Confidential
     PTX0008           7/11/2006 6:19     GOOG-DOJ-02107183                     GOOG-DOJ-02107187                          Email from Gokul Rajaram to Susan Wojcicki et al.           Highly Confidential
     PTX0009           9/22/2006 6:56     GOOG-DOJ-02107527                     GOOG-DOJ-02107529                          Email from Gokul Rajaram to Susan Wojcicki                  Highly Confidential
     PTX0010           11/16/2006 6:31    GOOG-DOJ-02129384                     GOOG-DOJ-02129385                          Email from Susan Wojcicki to Gokul Rajaram et al.           Highly Confidential
     PTX0011           11/30/2006 2:53    GOOG-DOJ-01269184                     GOOG-DOJ-01269185                          Email from Bhavesh Mehta to Alan Eustace et al.             Highly Confidential
     PTX0012           3/15/2007 0:00     GOOG-DOJ-01657645                     GOOG-DOJ-01657686                          DoubleClick presentation                                    Highly Confidential
     PTX0013           3/15/2007 0:00     GOOG-DOJ-01657697                     GOOG-DOJ-01657903                          DoubleClick presentation                                    Highly Confidential
                                                                                                                           Email from Jason Harinstein to Alex Kinnier et al., with
     PTX0014
                       3/16/2007 18:48    GOOG-DOJ-13010240                     GOOG-DOJ-13010284                          attachment                                                  Highly Confidential
                                                                                                                           Email from David Drummond to google_bod@google.com et
     PTX0015
                       3/23/2007 21:55    GOOG-DOJ-01823990                     GOOG-DOJ-01823992                          al., with attachment                                        Highly Confidential
     PTX0016           4/9/2007 18:47     GOOG-DOJ-00003227                     GOOG-DOJ-00003227                          Email from Salman Ullah to emg@google.com et al.            Confidential
     PTX0017           4/10/2007 1:18     GOOG-DOJ-02130647                     GOOG-DOJ-02130648                          Email from Rohit Dhawan to Gokul Rajaram et al.             Highly Confidential
     PTX0018           7/30/2007 21:54    GOOG-DOJ-06615448                     GOOG-DOJ-06615502                          Google document                                             Highly Confidential
     PTX0019           10/25/2007 0:00    GOOG-DOJ-01657206                     GOOG-DOJ-01657246                          Google/DoubleClick submission                               Highly Confidential
     PTX0020           1/25/2008 6:12     GOOG-DOJ-01827663                     GOOG-DOJ-01827680                          Email from Nick Fox to Joerg Heilig et al.                  Highly Confidential
                                                                                                                           Email from Andrew Poon to Scott Spencer et al., with
     PTX0021
                       5/16/2008 21:26    GOOG-DOJ-01709787                     GOOG-DOJ-01709792                          attachments                                                 Highly Confidential
                                                                                                                           Email from Eileen Naughton to Google employees, with
     PTX0022
                       5/19/2008 21:32    GOOG-DOJ-01718725                     GOOG-DOJ-01718726                          attachment                                                  Highly Confidential
     PTX0023           5/23/2008 21:39    GOOG-DOJ-03517095                     GOOG-DOJ-03517096                          Email from Mark Evans to Brian Axe et al.                   Highly Confidential
     PTX0024           5/29/2008 14:01    GOOG-DOJ-02731591                     GOOG-DOJ-02731593                          Email from Mary Lambert to Jim Kolotouros                   Highly Confidential
     PTX0025
                       5/29/2008 19:23    GOOG-DOJ-01313044                     GOOG-DOJ-01313048                          Email from Mark Evans to Mark Evans et al., with attachment Highly Confidential
     PTX0026           5/30/2008 10:43    GOOG-DOJ-01313065                     GOOG-DOJ-01313069                          Email from Brad Bender to Mark Evans et al.                 Highly Confidential
     PTX0027           7/10/2008 15:50    GOOG-DOJ-02110669                     GOOG-DOJ-02110671                          Email from Scott Spencer to Neal Mohan et al.               Highly Confidential
     PTX0028           7/11/2008 19:43    GOOG-DOJ-03482813                     GOOG-DOJ-03482840                          Google presentation                                         Highly Confidential
     PTX0029           7/17/2008 2:15     GOOG-DOJ-02110784                     GOOG-DOJ-02110786                          Email from Scott Spencer to Susan Wojcicki et al.           Highly Confidential
     PTX0030           7/18/2008 13:48    GOOG-DOJ-02133677                     GOOG-DOJ-02133681                          Email from Scott Spencer to Susan Wojcicki et al.           Highly Confidential
     PTX0031           7/25/2008 13:47    GOOG-DOJ-02133757                     GOOG-DOJ-02133759                          Email from Brian Axe to Susan Wojcicki et al.               Highly Confidential
     PTX0032           9/3/2008 17:45     GOOG-DOJ-02133916                     GOOG-DOJ-02133917                          Email from Joan Braddi to Neal Mohan et al.                 Highly Confidential
     PTX0033           9/3/2008 19:17     GOOG-DOJ-02133918                     GOOG-DOJ-02133919                          Email from Neal Mohan to Joan Braddi et al.                 Highly Confidential
                                                                                                                           Email from Shilpa Anand to Neal Mohan et al., with
     PTX0034
                       9/6/2008 6:19      GOOG-DOJ-01748391                     GOOG-DOJ-01748394                          attachments                                                 Highly Confidential
     PTX0035           1/8/2009 8:34      GOOG-AT-MDL-009596409                 GOOG-AT-MDL-009596409                      Email from Neal Mohan to David Rosenblatt                   Confidential
     PTX0036           1/31/2009 20:37    GOOG-AT-MDL-009597305                 GOOG-AT-MDL-009597305                      Email from Neal Mohan to Jens Skakkebaek et al.             Confidential
     PTX0037           2/2/2009 20:38     GOOG-DOJ-02160742                     GOOG-DOJ-02160750                          Email from Prashant C. Fuloria to Monica Gnanadev et al.    Highly Confidential
     PTX0038           2/11/2009 14:23    GOOG-DOJ-01439665                     GOOG-DOJ-01439675                          Email from Rob Jonas to partnerships-mg, with attachment    Highly Confidential
     PTX0039           2/13/2009 20:47    GOOG-AT-MDL-009597716                 GOOG-AT-MDL-009597720                      Email from Neal Mohan to David Rosenblatt                   Confidential
     PTX0040           2/26/2009 5:38     GOOG-AT-MDL-009598319                 GOOG-AT-MDL-009598320                      Email from Neal Mohan to David Rosenblatt                   Confidential



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                                                                                         Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                    Beg Bates                                 End Bates                                         Description                             Confidentiality

     PTX0041           3/23/2009 18:17    GOOG-DOJ-02148005                     GOOG-DOJ-02148007                          Email from Neal Mohan to Nikesh Arora et al.                Highly Confidential
     PTX0042           4/2/2009 0:09      GOOG-DOJ-02111607                     GOOG-DOJ-02111608                          Email from Scott Spencer to Neal Mohan et al.               Highly Confidential
     PTX0043           4/16/2009 3:12     GOOG-AT-MDL-012386226                 GOOG-AT-MDL-012386236                      Email from Chris LaSala to Chris LaSala                     Confidential
     PTX0044           4/21/2009 5:15     GOOG-AT-MDL-009398913                 GOOG-AT-MDL-009398915                      Email from Neal Mohan to Scott Spencer et al.               Confidential
     PTX0045           6/23/2009 18:04    GOOG-AT-MDL-009603915                 GOOG-AT-MDL-009603915                      Email from Neal Mohan to Henrique DE Castro                 Confidential
     PTX0046           6/25/2009 21:25    GOOG-AT-MDL-012522095                 GOOG-AT-MDL-012522099                      Email from Neal Mohan to Jonathan Bellack et al.            Confidential
     PTX0047           9/9/2009 0:00      GOOG-AT-MDL-014602532                 GOOG-AT-MDL-014602543                      Email from Rahul Bafna to Scott Spencer, with attachment    Confidential
                                                                                                                           Email from Scott Spencer to Sarin Suvarna et al., with
     PTX0048
                       9/15/2009 0:00     GOOG-AT-MDL-014602928                 GOOG-AT-MDL-014602949                      attachment                                                  Confidential
     PTX0049           10/7/2009 17:35    GOOG-DOJ-12119445                     GOOG-DOJ-12119447                          Google document                                             Highly Confidential
     PTX0050           2/22/2010 23:18    GOOG-DOJ-02113222                     GOOG-DOJ-02113224                          Email from Rajas Moonka to Jason Miller et al.              Highly Confidential
     PTX0051           4/6/2010 23:06     GOOG-DOJ-02162723                     GOOG-DOJ-02162727                          Email from Jag Duggal to Google employee                    Highly Confidential
     PTX0052           5/12/2010 21:15    GOOG-TEX-00099950                     GOOG-TEX-00099954                          Email from Jason Miller to Rajas Moonka et al.              Highly Confidential
     PTX0053           5/13/2010 17:53    GOOG-TEX-00099984                     GOOG-TEX-00100000                          Email from Cynthia Benin to Bruce Falck et al.              Highly Confidential
                                                                                                                           Email from Stephen Dove to Stephen Dove et al., with
     PTX0054
                       6/30/2010 20:47    GOOG-TEX-00113007                     GOOG-TEX-00113022                          attachment                                                  Highly Confidential
     PTX0055           8/20/2010 3:51     GOOG-AT-MDL-009618311                 GOOG-AT-MDL-009618312                      Email from Neal Mohan to Eric Rosenblum et al.              Confidential
     PTX0056           8/23/2010 20:37    GOOG-TEX-00101776                     GOOG-TEX-00101821                          Email from Kento Sugiura to Chris LaSala, with attachment   Highly Confidential
     PTX0057           9/22/2010 19:28    GOOG-TEX-00269169                     GOOG-TEX-00269170                          Email from Jonathan Bellack to Scott Spencer et al.         Highly Confidential
     PTX0058           10/11/2010 21:28   GOOG-TEX-00812799                     GOOG-TEX-00812804                          Email from Neal Mohan to Jason Harinstein                   Highly Confidential
     PTX0059           10/18/2010 19:53   GOOG-AT-MDL-009620077                 GOOG-AT-MDL-009620077                      Email from Neal Mohan to Barry Salzman                      Confidential
     PTX0060           10/19/2010 3:17    GOOG-TEX-00041486                     GOOG-TEX-00041492                          Email from Neal Mohan to Jonathan Bellack et al.            Highly Confidential
     PTX0061           11/29/2010 15:53   GOOG-TEX-00070498                     GOOG-TEX-00070501                          Email from Brad Bender to Adrian Corduneanu et al.          Highly Confidential
     PTX0062           1/7/2011 18:15     GOOG-DOJ-01322621                     GOOG-DOJ-01322629                          Email from Neal Mohan to Joerg Heilig                       Highly Confidential
     PTX0063           2/2/2011 18:10     GOOG-DOJ-13245481                     GOOG-DOJ-13245488                          Email from Scott Spencer to Jonathan Bellack et al.         Highly Confidential
     PTX0064           2/7/2011 17:16     GOOG-DOJ-14826375                     GOOG-DOJ-14826378                          Email from Scott Spencer to Nemo Semret et al.              Highly Confidential
                                                                                                                           Email from Scott Spencer to Eyal Manor et al., with
     PTX0065
                       2/17/2011 18:31    GOOG-DOJ-14826584                     GOOG-DOJ-14826604                          attachment                                                  Highly Confidential
                                                                                                                           Email from monetization-pm@google.com on behalf of
     PTX0066
                       2/18/2011 0:07     GOOG-DOJ-06573528                     GOOG-DOJ-06573530                          Zachary Goldbert to Google employees                        Highly Confidential
     PTX0067           2/18/2011 2:19     GOOG-DOJ-05244824                     GOOG-DOJ-05244828                          Email from Zachary Goldberg to Jonathan Bellack et al.      Highly Confidential
     PTX0068           2/18/2011 18:24    GOOG-DOJ-03863678                     GOOG-DOJ-03863678                          Message containing comments to Google document              Highly Confidential
     PTX0069           2/19/2011 16:13    GOOG-DOJ-05244839                     GOOG-DOJ-05244842                          Email from Sean Downey to Brad Bender et al.                Highly Confidential
                                                                                                                           Email from Jonathan Bellack to Jag Duggal et al., with
     PTX0070
                       2/22/2011 15:32    GOOG-TEX-00042179                     GOOG-TEX-00042194                          attachment                                                  Highly Confidential
     PTX0071           2/23/2011 1:40     GOOG-DOJ-05244847                     GOOG-DOJ-05244851                          Email from Brad Bender to Jason Miller et al.               Highly Confidential
                                                                                                                           Email from Pooja Kapoor to multiple recipients, with
     PTX0072
                       2/25/2011 20:01    GOOG-DOJ-03599580                     GOOG-DOJ-03599645                          attachments                                                 Highly Confidential
                                                                                                                           Email from xfp-ym@google.com on behalf of Casey Saran to
     PTX0073
                       2/28/2011 0:00     GOOG-DOJ-13247747                     GOOG-DOJ-13247807                          Arun Mathew et al.                                          Highly Confidential
     PTX0074           3/2/2011 23:17     GOOG-DOJ-03863784                     GOOG-DOJ-03863785                          Google document                                             Highly Confidential
     PTX0075           3/10/2011 3:47     GOOG-DOJ-03863839                     GOOG-DOJ-03863840                          Email from Scott Spencer to Chip Hall et al.                Highly Confidential
     PTX0076           3/14/2011 2:21     GOOG-AT-MDL-019036783                 GOOG-AT-MDL-019036785                      Google document                                             Confidential
                                                                                                                           Email from Zachary Goldberg to Luis Vilela et al., with
     PTX0077
                       4/1/2011 16:33     GOOG-AT-MDL-004228528                 GOOG-AT-MDL-004228590                      attachment                                                  Confidential
     PTX0078           4/12/2011 19:21    GOOG-AT-MDL-009593285                 GOOG-AT-MDL-009593287                      Email from Neal Mohan to Lourdes Canicosa et al.            Confidential



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                                                                                         Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                     Beg Bates                                End Bates                                          Description                              Confidentiality

                                                                                                                           Email from Jonathan Bellack to Yang Zhang et al., with
     PTX0079
                       4/15/2011 0:00     GOOG-DOJ-13252092                     GOOG-DOJ-13252114                          attachment                                                    Highly Confidential
     PTX0080           4/27/2011 23:13    GOOG-AT-MDL-004534545                 GOOG-AT-MDL-004534547                      Google document                                               Confidential
     PTX0081           4/29/2011 21:05    GOOG-DOJ-03864136                     GOOG-DOJ-03864140                          Email from Brad Bender to Jason Miller et al.                 Highly Confidential
     PTX0082           5/9/2011 14:21     GOOG-DOJ-04294986                     GOOG-DOJ-04294995                          Email from Neal Mohan to Scott Spencer                        Highly Confidential
     PTX0083           5/27/2011 22:46    GOOG-DOJ-03864499                     GOOG-DOJ-03864545                          Email from Jag Duggal to Brad Bender, with attachments        Highly Confidential
     PTX0084           6/15/2011 16:34    GOOG-DOJ-04295842                     GOOG-DOJ-04295842                          Email from Scott Spencer to Neal Mohan                        Highly Confidential
                                                                                                                           Email from Jonathan Bellack to Laurent Cordier, with
     PTX0085
                       6/16/2011 16:07    GOOG-DOJ-13257712                     GOOG-DOJ-13257734                          attachment                                                    Highly Confidential
     PTX0086           6/27/2011 15:21    GOOG-DOJ-32035110                     GOOG-DOJ-32035113                          Email from Ariel Bardin to Neal Mohan et al.                  Confidential
     PTX0087           6/28/2011 16:35    GOOG-AT-MDL-018616605                 GOOG-AT-MDL-018616605                      Google document                                               Confidential
     PTX0088           7/18/2011 17:12    GOOG-DOJ-02139596                     GOOG-DOJ-02139615                          Google document                                               Highly Confidential
                                                                                                                           Email from Scott Spencer to Jeff Huber et al., with
     PTX0089
                       8/6/2011 6:30      GOOG-DOJ-02138228                     GOOG-DOJ-02138231                          attachments                                                   Highly Confidential
                                                                                                                           Email from Jocelyn Lin to Nitin Khandelwal et al., with
     PTX0090
                       9/2/2011 20:52     GOOG-DOJ-01019408                     GOOG-DOJ-01019411                          attachment                                                    Highly Confidential
                                                                                                                           Email from as-tips@google.com on behalf of Gili Vaturi to
     PTX0091
                       12/2/2011 0:00     GOOG-DOJ-04145792                     GOOG-DOJ-04145813                          Benjamin Le Roux et al., with attachment                      Highly Confidential
     PTX0092           12/14/2011 21:04   GOOG-DOJ-29632965                     GOOG-DOJ-29632966                          Email from Aitan Weinberg to Neal Mohan et al.                Highly Confidential
                                                                                                                           Email from Alanna Clark to Pooja Kapoor et al., with
     PTX0093
                       12/15/2011 0:00    GOOG-DOJ-03601148                     GOOG-DOJ-03601190                          attachment                                                    Highly Confidential
     PTX0094           2/10/2012 2:51     GOOG-DOJ-15583409                     GOOG-DOJ-15583413                          Email from Drew Bradstock to Scott Spencer                    Highly Confidential
     PTX0095           2/24/2012 3:59     GOOG-AT-MDL-014621288                 GOOG-AT-MDL-014621289                      Email from Scott Spencer to Jason Sigalos et al.              Confidential
     PTX0096
                       2/27/2012 15:45    GOOG-TEX-00815605                     GOOG-TEX-00815614                          Email from Bruck Falck to Joerg Heilig et al., with attachment Highly Confidential
                                                                                                                           Email from Ritu Kathpalia to Scott Spencer et al., with
     PTX0097
                       3/21/2012 1:59     GOOG-DOJ-14237839                     GOOG-DOJ-14237856                          attachment                                                     Highly Confidential
                                                                                                                           Email from Adam Zika to partnerships-all@google.com et al.,
     PTX0098
                       4/26/2012 0:34     GOOG-TEX-00043401                     GOOG-TEX-00043476                          with attachment                                                Highly Confidential
     PTX0099           5/17/2012 14:10    GOOG-AT-MDL-017591289                 GOOG-AT-MDL-017591293                      Email from Drew Bradstock to Scott Spencer et al.              Highly Confidential
     PTX0100           5/19/2012 2:43     GOOG-AT-MDL-009762423                 GOOG-AT-MDL-009762429                      Email from Scott Spencer to Tom Jenen et al.                   Confidential
     PTX0101           6/8/2012 15:05     GOOG-DOJ-14842648                     GOOG-DOJ-14842653                          Email from Jason Washing to Scott Spencer et al.               Highly Confidential
                                                                                                                           Email from mdev@google.com on behalf of Jason Kelly to
     PTX0102                                                                                                               Marketplace Development [mdev@google.com], with
                       7/12/2012 23:26    GOOG-DOJ-03603126                     GOOG-DOJ-03603154                          attachment                                                     Highly Confidential
     PTX0103           7/26/2012 21:39    GOOG-DOJ-03870086                     GOOG-DOJ-03870087                          Email from Woojin Kim to Brad Bender                           Highly Confidential
     PTX0104           8/3/2012 11:50     GOOG-DOJ-03603298                     GOOG-DOJ-03603300                          Google document                                                Highly Confidential
     PTX0105           8/14/2012 22:53    GOOG-DOJ-04401026                     GOOG-DOJ-04401030                          Google document                                                Highly Confidential
     PTX0106           8/15/2012 7:47     GOOG-TEX-00044353                     GOOG-TEX-00044356                          Google document                                                Highly Confidential
                                                                                                                           Email from Jennifer Schindler to Adam Klee et al., with
     PTX0107
                       8/15/2012 16:15    GOOG-TEX-00279425                     GOOG-TEX-00279432                          attachment                                                     Highly Confidential
     PTX0108           8/15/2012 16:24    GOOG-DOJ-03603452                     GOOG-DOJ-03603459                          Google document                                                Highly Confidential
     PTX0109           8/15/2012 16:24    GOOG-TEX-00714995                     GOOG-TEX-00715002                          Google document                                                Highly Confidential
     PTX0110           8/20/2012 0:00     GOOG-DOJ-05247075-0001                GOOG-DOJ-05247153-0079                     Google document                                                Highly Confidential
     PTX0111           8/22/2012 13:40    GOOG-DOJ-15592420                     GOOG-DOJ-15592421                          Email from Sean Harvey to Scott Spencer, et al.                Highly Confidential
     PTX0112           8/26/2012 0:59     GOOG-DOJ-10590974                     GOOG-DOJ-10590998                          Google document                                                Highly Confidential



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                                                                                         Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                    Beg Bates                                 End Bates                                          Description                             Confidentiality

     PTX0113           8/27/2012 1:23     GOOG-DOJ-13283803                     GOOG-DOJ-13283805                          Google document                                              Highly Confidential
     PTX0114           9/10/2012 16:52    GOOG-TEX-00076049                     GOOG-TEX-00076050                          Email from Marc Theermann to Scott Spencer et al.            Highly Confidential
     PTX0115           9/12/2012 7:13     GOOG-TEX-00054421                     GOOG-TEX-00054424                          Google document                                              Highly Confidential
     PTX0116           9/12/2012 19:53    GOOG-TEX-00034461                     GOOG-TEX-00034463                          Email from Chris LaSala to Marc Theermann                    Highly Confidential
     PTX0117           10/18/2012 17:41   GOOG-DOJ-06581350                     GOOG-DOJ-06581352                          Google document                                              Highly Confidential
     PTX0118           10/31/2012 20:31   GOOG-AT-MDL-012478322                 GOOG-AT-MDL-012478324                      Email from Chris LaSala to Marc Theermann et al.             Confidential
     PTX0119           11/27/2012 16:11   GOOG-DOJ-15598151                     GOOG-DOJ-15598153                          Email from Stephanie Fournis to Scott Spencer et al.         Highly Confidential
                                                                                                                           Email from Tobias Maurer to Charlie Vestner et al., with
     PTX0120
                       11/27/2012 19:47   GOOG-DOJ-03870862                     GOOG-DOJ-03870877                          attachment                                                   Highly Confidential
     PTX0121           12/10/2012 19:08   GOOG-DOJ-11036977                     GOOG-DOJ-11036979                          Email from Sanjay Datta to Danielle Romain et al.            Highly Confidential
                                                                                                                           Email from pmg@google.com on behalf of Scott Sheffer to
     PTX0122
                       1/17/2013 17:04    GOOG-DOJ-04528816                     GOOG-DOJ-04528817                          PBS Management Team (PMG) [pmg@google.com]                   Highly Confidential
     PTX0123           1/18/2013 0:00     GOOG-AT-MDL-001274267                 GOOG-AT-MDL-001274290                      Email from Sergio Abreu to Luis Vilela, with attachment      Confidential
     PTX0124           1/30/2013 2:30     GOOG-DOJ-15600216                     GOOG-DOJ-15600218                          Email from Scott Spencer to Kick Zandbergen et al.           Highly Confidential
     PTX0125           2/21/2013 18:45    GOOG-DOJ-10940285                     GOOG-DOJ-10940286                          Email from Jennifer Schindler to Chris LaSala                Highly Confidential
     PTX0126           3/4/2013 20:55     GOOG-DOJ-14247892                     GOOG-DOJ-14247894                          Email from Scott Spencer to Adam Klee                        Highly Confidential
     PTX0127           3/14/2013 23:57    GOOG-DOJ-03605185                     GOOG-DOJ-03605187                          Email from Scott Spencer to Laureline Serieys et al.         Highly Confidential
     PTX0128           3/23/2013 1:16     GOOG-TEX-00149044                     GOOG-TEX-00149048                          Email from Scott Spencer to Martin Pal et al.                Highly Confidential
     PTX0129           3/26/2013 19:51    GOOG-TEX-00149056                     GOOG-TEX-00149062                          Email from Scott Spencer to Reena Vokoun et al.              Highly Confidential
     PTX0130           4/4/2013 23:06     GOOG-AT-MDL-B-004428140               GOOG-AT-MDL-B-004428140                    Message from Michael Schulman to Deepti Bhatnagar            Confidential
     PTX0131           4/17/2013 18:07    GOOG-DOJ-03872448                     GOOG-DOJ-03872450                          Google document                                              Highly Confidential
     PTX0132           4/17/2013 18:07    GOOG-DOJ-13295787                     GOOG-DOJ-13295789                          Google document                                              Highly Confidential
     PTX0133           4/22/2013 21:19    GOOG-DOJ-15603896                     GOOG-DOJ-15603896                          Message from Tobias Maurer to Scott Spencer                  Highly Confidential
     PTX0134           4/25/2013 0:19     GOOG-DOJ-11753371                     GOOG-DOJ-11753378                          Email from Jonathan Dale to Chris LaSala, with attachments   Highly Confidential
     PTX0135           5/1/2013 16:34     GOOG-DOJ-09447911                     GOOG-DOJ-09447916                          Google document                                              Highly Confidential
     PTX0136           5/21/2013 17:19    GOOG-DOJ-06583584                     GOOG-DOJ-06583586                          Email from Jonathan Bellack to Aparna Pappu et al.           Highly Confidential
     PTX0137           5/30/2013 18:43    GOOG-AT-MDL-014628114                 GOOG-AT-MDL-014628116                      Email from Sunni Yuen to Woojin Kim et al.                   Confidential
     PTX0138           5/31/2013 0:48     GOOG-AT-MDL-014515747                 GOOG-AT-MDL-014515748                      Email from Scott Spencer to Woojin Kim et al.                Confidential
     PTX0139           6/11/2013 21:11    GOOG-DOJ-06584045                     GOOG-DOJ-06584047                          Email from launch@google.com to Google employees             Highly Confidential
     PTX0140           6/12/2013 13:29    GOOG-DOJ-09448411                     GOOG-DOJ-09448419                          Email from Jan Sehrt to Daniel Silveira et al.               Highly Confidential
     PTX0141           6/17/2013 7:04     GOOG-DOJ-03606441                     GOOG-DOJ-03606451                          Google document                                              Highly Confidential
     PTX0142           6/28/2013 16:19    GOOG-AT-MDL-014628553                 GOOG-AT-MDL-014628554                      Email from Adam Klee to Scott Spencer                        Confidential
     PTX0143           7/10/2013 16:57    GOOG-DOJ-04407352                     GOOG-DOJ-04407354                          Email from Pooja Kapoor to Megan Kiefer et al.               Highly Confidential
     PTX0144           7/11/2013 21:43    GOOG-DOJ-04407434                     GOOG-DOJ-04407444                          Google document                                              Highly Confidential
     PTX0145           7/24/2013 12:57    GOOG-DOJ-03541292                     GOOG-DOJ-03541298                          Google presentation                                          Highly Confidential
     PTX0146           8/15/2013 20:48    GOOG-DOJ-03607096                     GOOG-DOJ-03607102                          Google presentation                                          Highly Confidential
     PTX0147           8/28/2013 17:24    GOOG-DOJ-11810183                     GOOG-DOJ-11810266                          Google document                                              Highly Confidential
     PTX0148           9/11/2013 16:52    GOOG-AT-MDL-014564678                 GOOG-AT-MDL-014564681                      Email from Mathew Monroe to Victor Starenky et al.           Confidential
     PTX0149           9/12/2013 5:06     GOOG-AT-MDL-014564694                 GOOG-AT-MDL-014564697                      Email from Matthew Monroe to Jaclyn Madden et al.            Confidential
     PTX0150           9/18/2013 16:25    GOOG-AT-MDL-B-004428141               GOOG-AT-MDL-B-004428142                    Message from Michael Rosett to Deepti Bhatnagar              Confidential
     PTX0151           10/8/2013 16:33    GOOG-DOJ-03873799                     GOOG-DOJ-03873801                          Email from David Bledin to Atlan Weinberg et al.             Highly Confidential
     PTX0152           10/25/2013 14:51   GOOG-DOJ-03874061                     GOOG-DOJ-03874069                          Google document                                              Highly Confidential
     PTX0153           10/26/2013 8:00    GOOG-DOJ-15718679                     GOOG-DOJ-15718681                          Email from launch@google.com to Google employees             Highly Confidential
     PTX0154           10/29/2013 15:28   GOOG-AT-MDL-009412816                 GOOG-AT-MDL-009412818                      Email from Joan Braddi to James McSweeney, et al.            Confidential
     PTX0155           10/30/2013 0:10    GOOG-TEX-00055079                     GOOG-TEX-00055086                          Google presentation                                          Highly Confidential
     PTX0156           10/30/2013 14:15   GOOG-AT-MDL-009412827                 GOOG-AT-MDL-009412830                      Email from Tobias Maurer to Joan Braddi, et al.              Confidential



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Trial Exhibit Number          Date                    Beg Bates                                End Bates                                         Description                           Confidentiality

     PTX0157           10/30/2013 17:00   GOOG-DOJ-03608886                    GOOG-DOJ-03608890                          Google presentation                                       Highly Confidential
     PTX0158           11/21/2013 0:58    GOOG-AT-MDL-012324145                GOOG-AT-MDL-012324145                      Google document                                           Confidential
     PTX0159           2/5/2014 15:09     GOOG-DOJ-03610002                    GOOG-DOJ-03610004                          Google document                                           Highly Confidential
     PTX0160           2/7/2014 18:24     GOOG-DOJ-12684590                    GOOG-DOJ-12684619                          Email from Ashley Hu to Bethanie Baynes, with attachment  Highly Confidential
     PTX0161           3/3/2014 19:53     GOOG-DOJ-14867672                    GOOG-DOJ-14867672                          Email from Aparna Pappu to Scott Spencer                  Highly Confidential
     PTX0162           3/4/2014 18:29     GOOG-DOJ-14257029                    GOOG-DOJ-14257041                          Google presentation                                       Highly Confidential
     PTX0163           3/7/2014 17:51     GOOG-DOJ-03610256                    GOOG-DOJ-03610274                          Google presentation                                       Highly Confidential
     PTX0164           3/14/2014 0:58     GOOG-DOJ-29736075                    GOOG-DOJ-29736076                          Email from Scott Spencer to Johan Land et al.             Confidential
     PTX0165           3/23/2014 23:49    GOOG-DOJ-03707195                    GOOG-DOJ-03707208                          Google presentation                                       Highly Confidential
     PTX0166           3/24/2014 0:11     GOOG-DOJ-03525434                    GOOG-DOJ-03525434                          Google document                                           Highly Confidential
     PTX0167           3/28/2014 14:43    GOOG-DOJ-15618265                    GOOG-DOJ-15618268                          Email from Tobias Maurer to Bruce Falck et al.            Highly Confidential
     PTX0168           3/28/2014 15:38    GOOG-DOJ-14258291                    GOOG-DOJ-14258294                          Email from Christian Veer to Tobias Maurer et al.         Highly Confidential
     PTX0169           3/28/2014 16:20    GOOG-DOJ-14258295                    GOOG-DOJ-14258298                          Email from Christian Veer to Tobias Maurer et al.         Highly Confidential
     PTX0170           4/3/2014 2:10      GOOG-DOJ-11796239                    GOOG-DOJ-11796246                          Email from Chikako Nakashima to James McSweeney et al., Highly Confidential
                                                                                                                          Email from ads-quality-team@google.com on behalf of Vinod
     PTX0171
                       4/4/2014 14:35     GOOG-DOJ-04857852                    GOOG-DOJ-04857857                          Marur to Reed Taylor et al.                               Highly Confidential
     PTX0172           4/8/2014 14:12     GOOG-DOJ-15133095                    GOOG-DOJ-15133096                          Email from David Goodman to Jan Sehrt                     Highly Confidential
     PTX0173           4/8/2014 22:26     GOOG-AT-MDL-004235486                GOOG-AT-MDL-004235488                      Email from Chris LaSala to Aidan Booth et al.             Confidential
     PTX0174           4/29/2014 20:00    GOOG-DOJ-06831630                    GOOG-DOJ-06831679                          Google presentation                                       Highly Confidential
     PTX0175           5/13/2014 3:24     GOOG-DOJ-06588780                    GOOG-DOJ-06588783                          Email from Bhavesh Mehta to Eisar Lipkovitz et al.        Highly Confidential
     PTX0176           5/22/2014 15:00    GOOG-DOJ-08976385                    GOOG-DOJ-08976469                          Google document                                           Highly Confidential
     PTX0177           5/28/2014 16:38    GOOG-DOJ-03876213                    GOOG-DOJ-03876216                          Email from Jonathan Bellack to Jonathan Alferness et al.  Highly Confidential
     PTX0178           5/30/2014 16:06    GOOG-DOJ-14140347                    GOOG-DOJ-14140353                          Google document                                           Highly Confidential
     PTX0179           5/30/2014 19:28    GOOG-DOJ-09451567                    GOOG-DOJ-09451590                          Google presentation                                       Highly Confidential
     PTX0180           6/4/2014 0:00      GOOG-DOJ-14010311                    GOOG-DOJ-14010313                          Email from Eisar Lipkovitz to Scott Silver                Highly Confidential
     PTX0181           6/6/2014 17:08     GOOG-DOJ-14303532                    GOOG-DOJ-14303589                          Google presentation                                       Highly Confidential
     PTX0182           6/7/2014 23:19     GOOG-AT-MDL-B-002182842              GOOG-AT-MDL-B-002182845                    Email from Jesse Savage to Paul Pellman et al.            Confidential
     PTX0183           6/12/2014 13:20    GOOG-DOJ-04992716                    GOOG-DOJ-04992719                          Email from Scott Silver to Eisar Lipkovitz et al.         Highly Confidential
     PTX0184           6/16/2014 9:56     GOOG-AT-MDL-B-003716262              GOOG-AT-MDL-B-003716263                    Email from Ali Nasiri Amini to Chris Harris et al.        Confidential
     PTX0185           6/24/2014 14:11    GOOG-DOJ-07809152                    GOOG-DOJ-07809153                          Email from Charles Huang to Woojin Kim et al.             Highly Confidential
     PTX0186           6/25/2014 5:05     GOOG-DOJ-07809181                    GOOG-DOJ-07809183                          Email from Brad Bender to Bhavesh Mehta et al.            Highly Confidential
     PTX0187           6/27/2014 3:26     GOOG-DOJ-15199083                    GOOG-DOJ-15199085                          Email from Eyal Manor to Eisar Lipkovitz                  Highly Confidential
     PTX0188           7/8/2014 5:31      GOOG-AT-MDL-003839960                GOOG-AT-MDL-003840032                      Google presentation                                       Confidential
     PTX0189           7/9/2014 16:09     GOOG-DOJ-27757879                    GOOG-DOJ-27757893                          Google presentation                                       Confidential
     PTX0190           7/10/2014 13:15    GOOG-DOJ-04315024                    GOOG-DOJ-04315040                          Google presentation                                       Highly Confidential
     PTX0191           7/10/2014 22:57    GOOG-DOJ-29478169                    GOOG-DOJ-29478199                          Google presentation                                       Confidential
     PTX0192           7/14/2014 0:00     GOOG-DOJ-14954887                    GOOG-DOJ-14954891                          Email from James Buerger to Woojin Kim et al.             Highly Confidential
     PTX0193           7/22/2014 5:10     GOOG-DOJ-11239763                    GOOG-DOJ-11239848                          Google document                                           Highly Confidential
     PTX0194           7/29/2014 16:13    GOOG-DOJ-06832553                    GOOG-DOJ-06832603                          Google presentation                                       Highly Confidential
     PTX0195           7/31/2014 1:14     GOOG-DOJ-15199343                    GOOG-DOJ-15199345                          Email from Chris Harris to Eisar Lipkovitz                Highly Confidential
     PTX0196           9/2/2014 17:39     GOOG-DOJ-05250986                    GOOG-DOJ-05250988                          Email from Taylor Tobin to Brad Bender                    Highly Confidential
     PTX0197           9/2/2014 19:07     GOOG-AT-MDL-014460499                GOOG-AT-MDL-014460500                      Email from Aparna Pappu to Nirmal Jayaram et al.          Confidential
     PTX0198           9/8/2014 17:02     GOOG-DOJ-15627703                    GOOG-DOJ-15627705                          Email from Johan Land to Scott Spencer et al.             Highly Confidential
     PTX0199           9/9/2014 16:20     GOOG-DOJ-07227229                    GOOG-DOJ-07227249                          Google presentation                                       Highly Confidential
     PTX0200           9/19/2014 19:22    GOOG-DOJ-03543422                    GOOG-DOJ-03543424                          Email from Neal Mohan to Jason Spero                      Highly Confidential
     PTX0201           9/19/2014 21:26    GOOG-DOJ-03877823                    GOOG-DOJ-03877823                          Email from Tobias Maurer to Brad Bender                   Highly Confidential



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Trial Exhibit Number          Date                    Beg Bates                                End Bates                                         Description                             Confidentiality

     PTX0202           9/30/2014 8:21     GOOG-AT-MDL-B-002093394              GOOG-AT-MDL-B-002093395                    Email from Ali Nasiri Amini to Varun Ramanujam et al.       Confidential
     PTX0203           10/8/2014 0:00     GOOG-AT-MDL-B-002122273              GOOG-AT-MDL-B-002122287                    Google presentation                                         Highly Confidential
     PTX0204           10/16/2014 18:43   GOOG-DOJ-14022335                    GOOG-DOJ-14022380                          Google presentation                                         Highly Confidential
     PTX0205           11/4/2014 1:40     GOOG-DOJ-03878075                    GOOG-DOJ-03878076                          Email from Johan Land to Rohit Dhawan et al.                Highly Confidential
     PTX0206           11/4/2014 15:36    GOOG-DOJ-03878083                    GOOG-DOJ-03878085                          Email from Johan Land to Aparna Pappu et al.                Highly Confidential
     PTX0207           11/6/2014 6:32     GOOG-DOJ-03231699                    GOOG-DOJ-03231703                          Email from Aitan Weinberg to Brad Bender et al.             Highly Confidential
     PTX0208           12/3/2014 21:28    GOOG-DOJ-12768541                    GOOG-DOJ-12768569                          Google presentation                                         Highly Confidential
     PTX0209           12/4/2014 18:04    GOOG-DOJ-06592338                    GOOG-DOJ-06592340                          Email from Max Loubser to Scott Silver et al.               Highly Confidential
     PTX0210           12/9/2014 4:09     GOOG-AT-MDL-009417880                GOOG-AT-MDL-009417881                      Email from Jennifer Flannery O'Connor to Neal Mohan         Confidential
     PTX0211           12/9/2014 16:36    GOOG-AT-MDL-016955780                GOOG-AT-MDL-016955782                      Email from Jennifer Flannery O'Connor to Jim Giles et al.   Confidential
     PTX0212           12/9/2014 16:56    GOOG-AT-MDL-013362112                GOOG-AT-MDL-013362116                      Email from Aparna Pappu to Scott Silver                     Confidential
                                                                                                                          Message generated by docs.google.com containing comments
     PTX0213
                       8/12/2015 2:29     GOOG-DOJ-15188149                    GOOG-DOJ-15188149                          to document                                                 Highly Confidential
     PTX0214           1/6/2015 17:59     GOOG-DOJ-14712011                    GOOG-DOJ-14712015                          Email from Max Loubser to Aparna Pappu et al.               Highly Confidential
     PTX0215           1/8/2015 9:35      GOOG-DOJ-11948796                    GOOG-DOJ-11948798                          Google document                                             Highly Confidential
     PTX0216           1/22/2015 20:06    GOOG-DOJ-09875130                    GOOG-DOJ-09875148                          Google presentation                                         Highly Confidential
     PTX0217           1/30/2015 0:00     GOOG-AT-MDL-010758565                GOOG-AT-MDL-010758581                      Google document                                             Highly Confidential
     PTX0218           2/9/2015 0:00      GOOG-DOJ-09251152                    GOOG-DOJ-09251157                          Email from Neal Mohan to Sridhar Ramaswamy                  Highly Confidential
     PTX0219
                       3/3/2015 0:00      GOOG-AT-MDL-008734667                GOOG-AT-MDL-008734706                      Email from Russ Freyman to Sean Harrison, with attachments Highly Confidential
     PTX0220           3/4/2015 14:21     GOOG-DOJ-27803533                    GOOG-DOJ-27803552                          Google presentation                                        Confidential
     PTX0221           3/6/2015 22:35     GOOG-DOJ-06594044                    GOOG-DOJ-06594045                          Email from Woojin Kim to Shannon Bayley et al.             Highly Confidential
     PTX0222           3/25/2015 12:00    GOOG-DOJ-06836438                    GOOG-DOJ-06836465                          Google presentation                                        Highly Confidential
     PTX0223           3/26/2015 18:36    GOOG-DOJ-10517669                    GOOG-DOJ-10517675                          Google presentation                                        Highly Confidential
     PTX0224           4/21/2015 18:02    GOOG-DOJ-13340483                    GOOG-DOJ-13340483                          Email from Scott Spencer to Jonathan Bellack               Highly Confidential
     PTX0225           4/23/2015 20:52    GOOG-TEX-00079559                    GOOG-TEX-00079570                          Email from Sampada Telang to Archana Raghavendra et al.    Highly Confidential
     PTX0226           4/28/2015 6:45     GOOG-AT-MDL-B-002097533              GOOG-AT-MDL-B-002097534                    Email from Ali Nasiri Amini to Bahman Rabii                Confidential
                                                                                                                          Email from drx-notes@google.com on behalf of Drew
     PTX0227
                       4/30/2015 21:29    GOOG-DOJ-03880564                    GOOG-DOJ-03880567                          Bradstock to Jonathan Bellack et al.                       Highly Confidential
     PTX0228           5/14/2015 15:38    GOOG-AT-MDL-014462384                GOOG-AT-MDL-014462385                      Email from Vahab Mirrokni to Aparna Pappu et al.           Confidential
     PTX0229           6/3/2015 1:19      GOOG-DOJ-07811169                    GOOG-DOJ-07811239                          Google presentation                                        Highly Confidential
     PTX0230           6/23/2015 14:53    GOOG-DOJ-12710505                    GOOG-DOJ-12710510                          Email from Jonathan Bellack to Gang Wang et al.            Highly Confidential
     PTX0231           7/7/2015 13:05     GOOG-DOJ-10547033                    GOOG-DOJ-10547155                          Google presentation                                        Highly Confidential
     PTX0232           7/16/2015 11:46    GOOG-TEX-00103507                    GOOG-TEX-00103544                          Google presentation                                        Highly Confidential
     PTX0233           7/16/2015 18:37    GOOG-AT-MDL-007495110                GOOG-AT-MDL-007495188                      Google presentation                                        Confidential
     PTX0234           7/22/2015 2:26     GOOG-TEX-00116236                    GOOG-TEX-00116241                          Email from Drew Bradstock to Jonathan Bellack et al.       Highly Confidential
     PTX0235           7/27/2015 23:49    GOOG-DOJ-15187593                    GOOG-DOJ-15187594                          Email from Alex Barza to Drew Bradstock                    Highly Confidential
     PTX0236           7/28/2015 0:40     GOOG-DOJ-06563186                    GOOG-DOJ-06563204                          Google presentation                                        Highly Confidential
     PTX0237           7/31/2015 14:59    GOOG-TEX-00046730                    GOOG-TEX-00046737                          Email from Eisar Lipkovitz to Bahman Rabii et al.          Highly Confidential
     PTX0238           8/4/2015 16:01     GOOG-DOJ-12710607                    GOOG-DOJ-12710615                          Email from Jonathan Bellack to Assaf Grabinsky et al.      Highly Confidential
     PTX0239           8/5/2015 18:23     GOOG-TEX-00102812                    GOOG-TEX-00102823                          Email from Assaf Grabinsky to Thomas Schreiber et al.      Highly Confidential
     PTX0240           8/5/2015 18:23     GOOG-DOJ-12710616                    GOOG-DOJ-12710624                          Email from Assaf Grabinsky to Thomas Schreiber et al.      Highly Confidential
     PTX0241           8/12/2015 12:45    GOOG-DOJ-14002753                    GOOG-DOJ-14002756                          Google presentation                                        Highly Confidential
     PTX0242           8/21/2015 17:25    GOOG-TEX-00119553                    GOOG-TEX-00119568                          Google document                                            Highly Confidential
     PTX0243           8/24/2015 1:01     GOOG-TEX-00116618                    GOOG-TEX-00116625                          Email from Jonathan Bellack to Max Loubser et al.          Highly Confidential
     PTX0244           8/26/2015 17:30    GOOG-DOJ-13352197                    GOOG-DOJ-13352202                          Email from Woojin Kim to Aparna Pappu et al.               Highly Confidential



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     PTX0245           9/2/2015 18:45     GOOG-TEX-00777528                     GOOG-TEX-00777535                          Email from Lixing Dong to Bo Zheng et al.                     Highly Confidential
     PTX0246           9/18/2015 14:35    GOOG-DOJ-14004308                     GOOG-DOJ-14004308                          Email from Gargi Sur to Drew Bradstock                        Highly Confidential
     PTX0247           9/24/2015 20:14    GOOG-TEX-00123404                     GOOG-TEX-00123417                          Google presentation                                           Highly Confidential
     PTX0248           9/25/2015 18:29    GOOG-TEX-00118526                     GOOG-TEX-00118537                          Google document                                               Highly Confidential
     PTX0249           9/29/2015 13:56    GOOG-DOJ-13354593                     GOOG-DOJ-13354598                          Email from Julie Sterling to David Goodman et al.             Highly Confidential
     PTX0250           9/29/2015 19:27    GOOG-TEX-00089326                     GOOG-TEX-00089340                          Google presentation                                           Highly Confidential
                                                                                                                           Email from Jonathan Bellack to Chris LaSala et al., with
     PTX0251
                       10/9/2015 19:16    GOOG-DOJ-05310251                     GOOG-DOJ-05310270                          attachment                                                    Highly Confidential
     PTX0252           10/9/2015 20:54    GOOG-TEX-00001388                     GOOG-TEX-00001390                          Email from Jonathan Bellack to Chris LaSala et al.            Highly Confidential
     PTX0253           10/12/2015 14:36   GOOG-TEX-00107198                     GOOG-TEX-00107233                          Google presentation                                           Highly Confidential
     PTX0254           10/13/2015 12:13   GOOG-TEX-00089237                     GOOG-TEX-00089240                          Email from Chris LaSala to Craig DiNatali et al.              Highly Confidential
     PTX0255           10/13/2015 15:22   GOOG-TEX-00117103                     GOOG-TEX-00117115                          Email from Sunni Yuen to Sara Walsh et al.                    Highly Confidential
     PTX0256           10/13/2015 15:28   GOOG-DOJ-15643121                     GOOG-DOJ-15643126                          Email from Scott Spencer to Michael Smith et al.              Highly Confidential
     PTX0257           10/15/2015 21:09   GOOG-TEX-00125604                     GOOG-TEX-00125631                          Google presentation                                           Highly Confidential
     PTX0258           10/16/2015 15:36   GOOG-DOJ-13356604                     GOOG-DOJ-13356610                          Google document                                               Highly Confidential
     PTX0259           10/22/2015 2:51    GOOG-DOJ-13202326                     GOOG-DOJ-13202329                          Google document                                               Highly Confidential

     PTX0260                                                                                                               Email from web-tym-working-group@google.com on behalf
                       10/23/2015 18:01   GOOG-DOJ-14507818                     GOOG-DOJ-14507822                          of Assaf Grabinsky to Jonathan Bellack et al., with attachment Highly Confidential
     PTX0261           11/3/2015 21:03    GOOG-DOJ-13964907                     GOOG-DOJ-13964907                          Email from George Levitte to David Goodman                     Highly Confidential
     PTX0262           11/4/2015 16:14    GOOG-DOJ-15728914                     GOOG-DOJ-15728924                          Email from Woojin Kim to Alok Aggarwal et al.                  Highly Confidential
     PTX0263           11/5/2015 15:34    GOOG-AT-MDL-012499189                 GOOG-AT-MDL-012499190                      Email from Chris LaSala to Chris LaSala                        Confidential
     PTX0264           11/10/2015 1:03    GOOG-DOJ-04329872                     GOOG-DOJ-04329873                          Email from Eisar Lipkovitz to Woojin Kim et al.                Highly Confidential
                                                                                                                           Email from Eu-Jin Goh to Eisar Lipkovitz et al., with
     PTX0265
                       11/10/2015 6:48    GOOG-DOJ-05256264                     GOOG-DOJ-05256273                          attachment                                                     Highly Confidential
                                                                                                                           Email from Jonathan Bellack to Eisar Lipkovitz et al., with
     PTX0266
                       11/10/2015 17:05   GOOG-DOJ-05256328                     GOOG-DOJ-05256339                          attachment                                                     Highly Confidential
     PTX0267           11/10/2015 20:28   GOOG-DOJ-04329901                     GOOG-DOJ-04329904                          Email from Jonathan Bellack to Eisar Lipkovitz et al.          Highly Confidential
     PTX0268           11/10/2015 21:38   GOOG-DOJ-10947533                     GOOG-DOJ-10947533                          Email from Chris LaSala to Jerome Grateau                      Highly Confidential
     PTX0269           11/11/2015 15:20   GOOG-TEX-00117219                     GOOG-TEX-00117229                          Email from Julie Sterling to Jonathan Bellack et al.           Highly Confidential
     PTX0270           11/18/2015 16:36   GOOG-TEX-00057487                     GOOG-TEX-00057705                          Google presentation                                            Highly Confidential
                                                                                                                           Email from Eu-Jin Goh to Aparna Pappu et al., with
     PTX0271
                       11/18/2015 18:58   GOOG-DOJ-05256692                     GOOG-DOJ-05256704                          attachment                                                     Highly Confidential
     PTX0272           11/20/2015 4:57    GOOG-DOJ-15214479                     GOOG-DOJ-15214535                          Google presentation                                            Highly Confidential
     PTX0273           12/2/2015 13:37    GOOG-DOJ-03845733                     GOOG-DOJ-03845746                          Google presentation                                            Highly Confidential
     PTX0274           12/2/2015 21:04    GOOG-DOJ-03913175                     GOOG-DOJ-03913191                          Google presentation                                            Highly Confidential
     PTX0275           12/3/2015 18:52    GOOG-TEX-00089490                     GOOG-TEX-00089496                          Google document                                                Highly Confidential
                                                                                                                           Email from Bryan Rowley (via Google Slides) [drive-shares-
     PTX0276
                       12/4/2015 22:35    GOOG-AT-MDL-012499575                 GOOG-AT-MDL-012499575                      noreply@google.com] to Chris LaSala                            Confidential
     PTX0277           12/11/2015 14:48   GOOG-DOJ-03617407                     GOOG-DOJ-03617418                          Google presentation                                            Highly Confidential
     PTX0278           12/12/2015 1:00    GOOG-DOJ-11765613                     GOOG-DOJ-11765619                          Google document                                                Highly Confidential
     PTX0279           12/21/2015 19:08   GOOG-TEX-00117392                     GOOG-TEX-00117394                          Email from Craig DiNatali to Jonathan Bellack                  Highly Confidential
     PTX0280           1/6/2016 17:07     GOOG-TEX-00089371                     GOOG-TEX-00089402                          Google presentation                                            Highly Confidential
     PTX0281           1/6/2016 19:46     GOOG-TEX-00117939                     GOOG-TEX-00117942                          Email from launch@google.com to Jonathan Bellack et al.        Highly Confidential
     PTX0282           1/8/2016 0:32      GOOG-DOJ-15192614                     GOOG-DOJ-15192614                          Email from George Levitte to Drew Bradstock et al.             Highly Confidential
     PTX0283           1/8/2016 19:03     GOOG-TEX-00089404                     GOOG-TEX-00089404                          Email from Jennifer Schindler to Geraldine Chachoua et al.     Highly Confidential



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                                                                                        Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                   Beg Bates                                 End Bates                                         Description                            Confidentiality

     PTX0284           1/8/2016 21:39    GOOG-DOJ-13364290                     GOOG-DOJ-13364292                          Email from Woojin Kim to Scott Spencer et al.              Highly Confidential
     PTX0285           1/8/2016 22:07    GOOG-TEX-00085406                     GOOG-TEX-00085409                          Email from Drew Bradstock to Woojin Kim et al.             Highly Confidential
     PTX0286           1/11/2016 17:56   GOOG-TEX-00117995                     GOOG-TEX-00118000                          Email from Jonathan Bellack to Aparna Pappu                Highly Confidential
     PTX0287           1/11/2016 17:56   GOOG-DOJ-13364449                     GOOG-DOJ-13364453                          Email from Jonathan Bellack to Aparna Pappu                Highly Confidential
     PTX0288           1/11/2016 19:53   GOOG-DOJ-06842351                     GOOG-DOJ-06842362                          Google presentation                                        Highly Confidential
                                                                                                                          Email from mad-pm@google.com on behalf of Chris Gkarlos-
     PTX0289
                       1/12/2016 6:12    GOOG-DOJ-07237766                     GOOG-DOJ-07237770                          Stavropoulos to Eisar Lipkovitz et al.                     Highly Confidential
     PTX0290           1/12/2016 7:03    GOOG-DOJ-14516983                     GOOG-DOJ-14516984                          Email from Jerome Grateau to Eisar Lipkovitz               Highly Confidential
                                                                                                                          Message generated by Barney Pierce (Google Docs)
     PTX0291
                       1/12/2016 18:34   GOOG-DOJ-10948339                     GOOG-DOJ-10948339                          containing comments to document                            Highly Confidential
     PTX0292           1/13/2016 16:13   GOOG-DOJ-12711806                     GOOG-DOJ-12711835                          Google presentation                                        Highly Confidential
                                                                                                                          Message generated by Tobias Maurer (Google Docs)
     PTX0293
                       1/13/2016 21:12   GOOG-DOJ-15425488                     GOOG-DOJ-15425488                          containing comments to document                            Highly Confidential
     PTX0294           1/13/2016 21:22   GOOG-DOJ-32262609                     GOOG-DOJ-32262661                          Google presentation                                        Confidential
     PTX0295           1/17/2016 22:43   GOOG-DOJ-03068470                     GOOG-DOJ-03068473                          Google document                                            Highly Confidential
     PTX0296           1/25/2016 18:38   GOOG-DOJ-02850814                     GOOG-DOJ-02850815                          Email from Jonathan Bellack to Brad Bender                 Highly Confidential
     PTX0297           1/28/2016 0:29    GOOG-DOJ-09458688                     GOOG-DOJ-09458709                          Google presentation                                        Highly Confidential
     PTX0298           1/28/2016 0:42    GOOG-AT-MDL-003367653                 GOOG-AT-MDL-003367656                      Email from Nelson Hsu to Colin Goulding et al.             Confidential
     PTX0299           1/28/2016 17:01   GOOG-TEX-00118064                     GOOG-TEX-00118068                          Email from Jonathan Bellack to Rohit Dhawan et al.         Highly Confidential
     PTX0300           1/29/2016 20:30   GOOG-TEX-00118107                     GOOG-TEX-00118110                          Email from Michael Kleber to Jonathan Bellack et al.       Highly Confidential
     PTX0301           1/29/2016 20:57   GOOG-TEX-00103022                     GOOG-TEX-00103024                          Email from Aparna Pappu to Josh Cohen et al.               Highly Confidential
     PTX0302           2/2/2016 18:15    GOOG-DOJ-11765922                     GOOG-DOJ-11765922                          Email from Bryan Rowley to Chris LaSala                    Highly Confidential
     PTX0303           2/5/2016 15:50    GOOG-DOJ-12484600                     GOOG-DOJ-12484601                          Email from Payam Shodjai to Paul Muret                     Highly Confidential
     PTX0304           2/9/2016 21:52    GOOG-DOJ-07791790                     GOOG-DOJ-07791792                          Email from Bryan Rowley to Bonita Stewart et al.           Highly Confidential
     PTX0305           2/19/2016 18:37   GOOG-DOJ-12502010                     GOOG-DOJ-12502014                          Google document                                            Highly Confidential
     PTX0306           2/22/2016 19:58   GOOG-DOJ-09141406                     GOOG-DOJ-09141596                          Google presentation                                        Highly Confidential
     PTX0307           2/23/2016 20:40   GOOG-DOJ-03618477                     GOOG-DOJ-03618533                          Google presentation                                        Highly Confidential
     PTX0308           2/25/2016 3:47    GOOG-DOJ-05221243                     GOOG-DOJ-05221246                          Email from Michelle Sarlo Dauwalter to Bonita Stewart      Highly Confidential
     PTX0309           2/25/2016 11:38   GOOG-DOJ-05311142                     GOOG-DOJ-05311145                          Email from Chris LaSala to Michelle Sarlo Dauwalter et al. Highly Confidential
                                                                                                                          Email from drx-notes@google.com on behalf of Abby
     PTX0310
                       2/25/2016 19:58   GOOG-DOJ-07813621                     GOOG-DOJ-07813622                          Toomey to drx-jedi et al.                                  Highly Confidential
     PTX0311           2/26/2016 3:11    GOOG-DOJ-06843565                     GOOG-DOJ-06843571                          Email from Sam Temes to Jasper Seldin et al.               Highly Confidential
     PTX0312           2/27/2016 1:12    GOOG-DOJ-05258347                     GOOG-DOJ-05258399                          Google presentation                                        Highly Confidential
     PTX0313           2/27/2016 22:04   GOOG-DOJ-07323297                     GOOG-DOJ-07323298                          Email from Eisar Lipkovitz to Jerry Dischler et al.        Highly Confidential
     PTX0314           3/1/2016 0:00     GOOG-AT-MDL-B-001601271               GOOG-AT-MDL-B-001601278                    Google document                                            Confidential
     PTX0315           3/1/2016 23:03    GOOG-TEX-00089497                     GOOG-TEX-00089506                          Email from Bryan Rowley to Chris LaSala                    Highly Confidential
     PTX0316           3/11/2016 23:01   GOOG-AT-MDL-B-002102733               GOOG-AT-MDL-B-002102736                    Email from Alok Aggarwal to Tobias Maurer et al.           Confidential
     PTX0317           3/14/2016 8:48    GOOG-AT-MDL-012500548                 GOOG-AT-MDL-012500551                      Email from Jasper Seldin to Pooja Kapoor et al.            Confidential
     PTX0318           3/18/2016 0:36    GOOG-DOJ-15204429                     GOOG-DOJ-15204430                          Email from Eisar Lipkovitz to Ali Nasiri Amini et al.      Highly Confidential
     PTX0319           3/18/2016 20:37   GOOG-TEX-00082760                     GOOG-TEX-00082771                          Email from Aparna Pappu to Jim Giles                       Highly Confidential
     PTX0320           9/3/16 4:16       GOOG-TEX-00119677                     GOOG-TEX-00119685                          Email from Eisar Lipkovitz to Ali Nasiri Amini et al.      Highly Confidential
     PTX0321           3/22/2016 2:50    GOOG-DOJ-14717520                     GOOG-DOJ-14717528                          Email from Vahab Mirrokni to Renato Paes Leme et al.       Highly Confidential
     PTX0322           3/28/2016 17:39   GOOG-DOJ-28386151                     GOOG-DOJ-28386179                          Google presentation                                        Confidential
     PTX0323           3/28/2016 20:35   GOOG-DOJ-04334161                     GOOG-DOJ-04334164                          Google presentation                                        Highly Confidential
     PTX0324           3/28/2016 20:37   GOOG-DOJ-15140608                     GOOG-DOJ-15140609                          Google document                                            Highly Confidential




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Trial Exhibit Number          Date                   Beg Bates                                 End Bates                                         Description                             Confidentiality

                                                                                                                          Message generated by Jonathan Bellack (Google Docs)
     PTX0325
                       3/29/2016 2:47    GOOG-DOJ-13370838                     GOOG-DOJ-13370838                          containing comments to document                             Highly Confidential
     PTX0326           3/31/2016 16:45   GOOG-DOJ-09238836                     GOOG-DOJ-09238915                          Google document                                             Confidential
     PTX0327           4/4/2016 21:25    GOOG-DOJ-09459336                     GOOG-DOJ-09459356                          Google presentation                                         Highly Confidential
     PTX0328           4/7/2016 18:42    GOOG-DOJ-12395460                     GOOG-DOJ-12395464                          Google presentation                                         Highly Confidential
     PTX0329           4/7/2016 20:29    GOOG-DOJ-32055191                     GOOG-DOJ-32055193                          Email from Aparna Pappu to Alok Aggarwal et al.             Confidential
     PTX0330           4/7/2016 23:30    GOOG-DOJ-32016770                     GOOG-DOJ-32016771                          Email from Brad Bender to Woojin Kim et al.                 Confidential
     PTX0331           4/10/2016 6:06    GOOG-DOJ-12485597                     GOOG-DOJ-12485598                          Email from Eisar Lipkovitz to Paul Muret et al.             Highly Confidential
     PTX0332           4/12/2016 19:50   GOOG-TEX-00103256                     GOOG-TEX-00103314                          Google presentation                                         Highly Confidential
     PTX0333           4/15/2016 11:23   GOOG-DOJ-27766486                     GOOG-DOJ-27766492                          Email from Dan Taylor to Jason Spero et al.                 Confidential
     PTX0334           4/21/2016 18:44   GOOG-DOJ-15427522                     GOOG-DOJ-15427522                          Email from Fabrizio Angelini to George Levitte et al.       Highly Confidential
     PTX0335           4/27/2016 11:41   GOOG-TEX-00002258                     GOOG-TEX-00002261                          Email from launch@google.com to Google employees            Highly Confidential
     PTX0336           4/29/2016 14:59   GOOG-DOJ-15427640                     GOOG-DOJ-15427641                          Email from Max Loubser to Martin Pál et al.                 Highly Confidential
     PTX0337           5/5/2016 15:30    GOOG-DOJ-15125492                     GOOG-DOJ-15125492                          Google document                                             Highly Confidential
     PTX0338           5/11/2016 20:13   GOOG-DOJ-03234677                     GOOG-DOJ-03234684                          Email from Jonathan Bellack to Rohit Dhawan et al.          Highly Confidential
     PTX0339           5/16/2016 15:29   GOOG-DOJ-03234715                     GOOG-DOJ-03234722                          Email from Rohit Dhawan to Jonathan Bellack et al.          Highly Confidential
                                                                                                                          Email from Jonathan Bellack to Rohit Dhawan, with
     PTX0340
                       5/25/2016 18:19   GOOG-DOJ-13374594                     GOOG-DOJ-13374599                          attachment                                                  Highly Confidential
     PTX0341           6/2/2016 0:00     GOOG-DOJ-14447630                     GOOG-DOJ-14447634                          Email from David Goodman to Guillaume-Henri Huon            Highly Confidential
                                                                                                                          Email from Jonathan Bellack to Woojin Kim et al., with
     PTX0342
                       6/2/2016 11:52    GOOG-TEX-00092616                     GOOG-TEX-00092641                          attachment                                                  Highly Confidential
     PTX0343           6/3/2016 20:14    GOOG-DOJ-13375428                     GOOG-DOJ-13375428                          Email from Jonathan Bellack to Woojin Kim                   Highly Confidential
                                                                                                                          Email from launch@google.com to display-adsquality-launch-
     PTX0344
                       6/13/2016 17:44   GOOG-AT-MDL-012334734                 GOOG-AT-MDL-012334735                      notify@google.com et al.                                    Confidential
     PTX0345           6/13/2016 22:24   GOOG-AT-MDL-012501782                 GOOG-AT-MDL-012501783                      Email from Jonathan Bellack to Max Loubser et al.           Highly Confidential
     PTX0346           6/16/2016 23:52   GOOG-DOJ-05312534                     GOOG-DOJ-05312555                          Google presentation                                         Highly Confidential
     PTX0347           6/23/2016 1:53    GOOG-DOJ-15006599                     GOOG-DOJ-15006601                          Email from launch@google.com to Google employees            Highly Confidential
     PTX0348           6/27/2016 22:22   GOOG-DOJ-02851792                     GOOG-DOJ-02851792                          Google spreadsheet                                          Highly Confidential
     PTX0349           6/29/2016 19:07   GOOG-AT-MDL-013378392                 GOOG-AT-MDL-013378396                      Email from launch@google.com to Google employees            Confidential
     PTX0350           7/1/2016 17:08    GOOG-AT-MDL-B-002105690               GOOG-AT-MDL-B-002105692                    Email from Ali Nasiri Amini to Bahman Rabii                 Confidential
     PTX0351           7/8/2016 20:20    GOOG-TEX-00037590                     GOOG-TEX-00037598                          Google presentation                                         Highly Confidential
     PTX0352           7/12/2016 18:38   GOOG-TEX-00103579                     GOOG-TEX-00103581                          Email from Jonathan Bellack to Alex Shellhammer et al.      Highly Confidential
     PTX0353           7/15/2016 23:09   GOOG-DOJ-14152675                     GOOG-DOJ-14152677                          Email from Max Loubser to Jim Giles et al., with attachment Highly Confidential
     PTX0354           7/19/2016 21:29   GOOG-DOJ-15797463                     GOOG-DOJ-15797466                          Google presentation                                         Highly Confidential
     PTX0355           7/19/2016 22:02   GOOG-DOJ-15076623                     GOOG-DOJ-15076623                          Email from launch@google.com to Google employees            Highly Confidential
                                                                                                                          Message generated by “George Levitte (Google Docs)”
     PTX0356
                       7/7/2016 20:18    GOOG-DOJ-14152425                     GOOG-DOJ-14152429                          containing comments to document                             Highly Confidential
     PTX0357           7/26/2016 21:20   GOOG-DOJ-15769040                     GOOG-DOJ-15769044                          Google document                                             Highly Confidential
     PTX0358           7/27/2016 4:11    GOOG-DOJ-02851963                     GOOG-DOJ-02852001                          Google presentation                                         Highly Confidential
     PTX0359           8/22/2016 15:54   GOOG-TEX-00124296                     GOOG-TEX-00124619                          Google document                                             Highly Confidential
     PTX0360           8/23/2016 20:56   GOOG-AT-MDL-014524503                 GOOG-AT-MDL-014524503                      Email from Jonathan Bellack to George Levitte et al.        Highly Confidential
     PTX0361           9/19/2016 13:52   GOOG-DOJ-13381330                     GOOG-DOJ-13381331                          Email from Laurent Cordier to Jerry Miller et al.           Highly Confidential
     PTX0362           8/24/2016 21:35   GOOG-AT-MDL-007368023                 GOOG-AT-MDL-007368346                      Google document                                             Confidential
     PTX0363           8/29/2016 18:12   GOOG-TEX-00109627                     GOOG-TEX-00109644                          Google presentation                                         Highly Confidential
                                                                                                                          Message generated by “Chris LaSala (Google Slides)”
     PTX0364
                       9/1/2016 20:30    GOOG-DOJ-14155663                     GOOG-DOJ-14155663                          containing comments to document                             Highly Confidential



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                                                              United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                                         Plaintiffs’ Trial Exhibit List




Trial Exhibit Number          Date                    Beg Bates                                 End Bates                                         Description                             Confidentiality

     PTX0365           9/2/2016 19:09     GOOG-DOJ-13380647                     GOOG-DOJ-13380647                          Email from Jonathan Bellack to Aparna Pappu et al.          Highly Confidential
     PTX0366           9/6/2016 1:10      GOOG-TEX-00119815                     GOOG-TEX-00119829                          Email from Jonathan Bellack to Eisar Lipkovitz et al.       Highly Confidential
     PTX0367           9/6/2016 2:01      GOOG-DOJ-10634461                     GOOG-DOJ-10634472                          Email from Jonathan Bellack to Paul Muret                   Highly Confidential
     PTX0368           9/16/2016 5:54     GOOG-TEX-00104315                     GOOG-TEX-00104317                          Email from Jerome Grateau to Chris LaSala                   Highly Confidential
     PTX0369           9/20/2016 2:12     GOOG-DOJ-15432462                     GOOG-DOJ-15432465                          Email from Nitish Korula to Jim Giles et al.                Highly Confidential
     PTX0370           9/23/2016 19:13    GOOG-DOJ-11810726                     GOOG-DOJ-11810729                          Google document                                             Highly Confidential
     PTX0371           9/26/2016 16:49    GOOG-TEX-00097138                     GOOG-TEX-00097142                          Google document                                             Highly Confidential
     PTX0372           9/27/2016 15:23    GOOG-DOJ-03887762                     GOOG-DOJ-03887765                          Email from Sridhar Ramaswamy to Eisar Lipkovitz et al.      Highly Confidential
                                                                                                                           Message generated by “Jim Giles (Google Docs)” containing
     PTX0373
                       9/28/2016 13:29    GOOG-TEX-00083092                     GOOG-TEX-00083092                          comments to document                                        Highly Confidential
     PTX0374           10/3/2016 14:36    GOOG-TEX-00093279                     GOOG-TEX-00093288                          Email from Sam Cox to Jonathan Bellack et al.               Highly Confidential
     PTX0375           10/5/2016 17:17    GOOG-DOJ-13463836                     GOOG-DOJ-13463844                          Google presentation                                         Highly Confidential
                                                                                                                           Message generated by “Gargi Sur (Google Docs)” containing
     PTX0376
                       10/5/2016 17:46    GOOG-AT-MDL-012338679                 GOOG-AT-MDL-012338679                      comments to document                                        Confidential
     PTX0377           10/3/2016 12:10    GOOG-AT-MDL-B-001120543               GOOG-AT-MDL-B-001120543                    Email from Jim Giles to Martin Pál et al.                   Confidential
     PTX0378           10/11/2016 20:27   GOOG-AT-MDL-014524758                 GOOG-AT-MDL-014524760                      Email from Jonathan Bellack to Scott Spencer                Confidential
     PTX0379           10/14/2016 12:52   GOOG-DOJ-27774051                     GOOG-DOJ-27774065                          Google document                                             Confidential
     PTX0380           10/18/2016 22:36   GOOG-TEX-00093667                     GOOG-TEX-00093669                          Email from Jim Giles to Sam Cox                             Highly Confidential
     PTX0381           10/20/2016 3:15    GOOG-TEX-00120775                     GOOG-TEX-00120821                          Google presentation                                         Highly Confidential
                                                                                                                           Message generated by “Sam Temes (Google Docs)”
     PTX0382
                       10/20/2016 15:15   GOOG-AT-MDL-012339152                 GOOG-AT-MDL-012339152                      containing comments to document                             Confidential
     PTX0383           10/21/2016 12:01   GOOG-DOJ-13927223                     GOOG-DOJ-13927225                          Email from Jonathan Bellack to Max Loubser et al.           Highly Confidential
     PTX0384           10/21/2016 18:02   GOOG-AT-MDL-012339195                 GOOG-AT-MDL-012339195                      Email from Jonathan Bellack to Alok Verma et al.            Confidential
     PTX0385           10/22/2016 2:53    GOOG-AT-MDL-012339202                 GOOG-AT-MDL-012339202                      Email from Jim Giles to Jonathan Bellack et al.             Confidential
     PTX0386           10/24/2016 15:36   GOOG-AT-MDL-012339208                 GOOG-AT-MDL-012339209                      Email from Aparna Pappu to Jim Giles et al.                 Confidential
     PTX0387           10/24/2016 15:43   GOOG-DOJ-12069332                     GOOG-DOJ-12069347                          Google presentation                                         Highly Confidential
     PTX0388           10/24/2016 16:03   GOOG-AT-MDL-012339212                 GOOG-AT-MDL-012339213                      Email from Jonathan Bellack to Sam Cox et al.               Confidential
     PTX0389           10/25/2016 0:57    GOOG-DOJ-07817283                     GOOG-DOJ-07817284                          Email from Jonathan Bellack to Brad Bender                  Highly Confidential
                                                                                                                           Message generated by “Max Loubser (Google Slides)”
     PTX0390
                       10/26/2016 13:34   GOOG-DOJ-14382030                     GOOG-DOJ-14382032                          containing comments to document                             Highly Confidential
     PTX0391           10/26/2016 14:44   GOOG-DOJ-13384169                     GOOG-DOJ-13384174                          Email from Sam Cox to Jonathan Bellack et al.               Highly Confidential
     PTX0392           10/26/2016 14:46   GOOG-DOJ-13384186                     GOOG-DOJ-13384190                          Email from Sam Cox to Jim Giles et al.                      Highly Confidential
     PTX0393           10/26/2016 15:38   GOOG-DOJ-15081872                     GOOG-DOJ-15081872                          Email from Jonathan Bellack to Max Loubser et al.           Highly Confidential
     PTX0394           10/27/2016 0:00    GOOG-AT-MDL-B-002531351               GOOG-AT-MDL-B-002531396                    Google presentation                                         Confidential
     PTX0395           10/27/2016 1:58    GOOG-DOJ-32303873                     GOOG-DOJ-32303915                          Google presentation                                         Confidential
     PTX0396           10/27/2016 15:29   GOOG-DOJ-04573839                     GOOG-DOJ-04573840                          Email from Eisar Lipkovitz to Aparna Pappu et al.           Highly Confidential
     PTX0397           10/27/2016 16:27   GOOG-DOJ-07817329                     GOOG-DOJ-07817332                          Email from Brad Bender to Roshan Khan                       Highly Confidential
     PTX0398           10/27/2016 16:28   GOOG-TEX-00120929                     GOOG-TEX-00120933                          Google document                                             Highly Confidential
     PTX0399           10/27/2016 19:23   GOOG-DOJ-13463955                     GOOG-DOJ-13463960                          Google document                                             Highly Confidential
     PTX0400           10/28/2016 0:00    GOOG-DOJ-11770421                     GOOG-DOJ-11770423                          Email from Chris LaSala to Jerome Grateau et al.            Highly Confidential
     PTX0401           10/28/2016 11:55   GOOG-AT-MDL-007387750                 GOOG-AT-MDL-007387798                      Google presentation                                         Confidential
     PTX0402           10/28/2016 16:57   GOOG-TEX-00104467                     GOOG-TEX-00104474                          Email from Michael Hopkins to Chris LaSala et al.           Highly Confidential
     PTX0403           10/29/2016 4:16    GOOG-TEX-00104511                     GOOG-TEX-00104520                          Email from Jonathan Bellack to Eisar Lipkovitz et al.       Highly Confidential
     PTX0404           10/31/2016 1:06    GOOG-TEX-00104531                     GOOG-TEX-00104540                          Email from Jonathan Bellack to Eisar Lipkovitz et al.       Highly Confidential
     PTX0405           11/1/2016 11:41    GOOG-TEX-00090148                     GOOG-TEX-00090149                          Google document                                             Highly Confidential
     PTX0406           11/2/2016 17:25    GOOG-DOJ-12713374                     GOOG-DOJ-12713374                          Email from Bryan Rowley to Chris LaSala et al.              Highly Confidential



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     PTX0407           11/2/2016 22:01    GOOG-TEX-00104622                     GOOG-TEX-00104633                          Email from Eisar Lipkovitz to Jonathan Bellack et al.      Highly Confidential
     PTX0408           11/7/2016 14:13    GOOG-DOJ-12576275                     GOOG-DOJ-12576335                          Google presentation                                        Highly Confidential
     PTX0409           11/8/2016 13:02    GOOG-TEX-00104666                     GOOG-TEX-00104672                          Email from Roberto Ruju to David Goodman et al.            Highly Confidential
     PTX0410           11/8/2016 16:24    GOOG-TEX-00094191                     GOOG-TEX-00094192                          Email from Nitish Korula to Jonathan Bellack et al.        Highly Confidential
     PTX0411           11/9/2016 1:20     GOOG-TEX-00085443                     GOOG-TEX-00085445                          Email from Payam Shodjai to Tobias Maurer et al.           Highly Confidential
                                                                                                                           Message generated by “Nirmal Jayaram (Google Slides)”
     PTX0412
                       11/8/2016 23:11    GOOG-DOJ-13546198                     GOOG-DOJ-13546198                          containing comments to document                            Highly Confidential
                                                                                                                           Message generated by “Max Loubser (Google Slides)”
     PTX0413
                       11/9/2016 18:57    GOOG-DOJ-13546281                     GOOG-DOJ-13546281                          containing comments to document                            Highly Confidential
                                                                                                                           Message generated by “Jerome Grateau (Google Slides)”
     PTX0414
                       11/10/2016 3:29    GOOG-DOJ-13546328                     GOOG-DOJ-13546329                          containing comments to document                            Highly Confidential
                                                                                                                           Message generated by “Nitish Korula (Google Slides)”
     PTX0415
                       11/8/2016 20:56    GOOG-DOJ-13546192                     GOOG-DOJ-13546192                          containing comments to document                            Highly Confidential
                                                                                                                           Message generated by “Nirmal Jayaram (Google Slides)”
     PTX0416
                       11/10/2016 4:46    GOOG-DOJ-14158006                     GOOG-DOJ-14158007                          containing comments to document                            Highly Confidential
     PTX0417           11/10/2016 16:59   GOOG-DOJ-02852757                     GOOG-DOJ-02852759                          Email from Jonathan Bellack to Eisar Lipkovitz et al.      Highly Confidential
     PTX0418           11/11/2016 0:00    GOOG-DOJ-11770874                     GOOG-DOJ-11770874                          Email from Chris LaSala to Jonathan Bellack et al.         Highly Confidential
     PTX0419           11/11/2016 5:15    GOOG-DOJ-28500657                     GOOG-DOJ-28500657-001                      Email from Sissie Hsaio to Jonathan Bellack                Confidential
     PTX0420           11/11/2016 5:45    GOOG-DOJ-03757786                     GOOG-DOJ-03757789                          Email from Nitish Korula to Eisar Lipkovitz et al.         Highly Confidential
     PTX0421           11/11/2016 22:04   GOOG-TEX-00094226                     GOOG-TEX-00094228                          Email from Michael Hopkins to Aparna Pappu et al.          Highly Confidential
     PTX0422           11/11/2016 22:04   GOOG-DOJ-05265855                     GOOG-DOJ-05265857                          Email from Michael Hopkins to Aparna Pappu et al.          Highly Confidential
     PTX0423           11/14/2016 18:41   GOOG-DOJ-04615040                     GOOG-DOJ-04615046                          Email from Nitish Korula to Nirmal Jayaram et al.          Highly Confidential
     PTX0424           11/16/2016 0:00    GOOG-AT-MDL-019567254                 GOOG-AT-MDL-019567283                      Google document                                            Highly Confidential
     PTX0425           11/18/2016 22:49   GOOG-DOJ-12713546                     GOOG-DOJ-12713546                          Email from Chris LaSala to Bryan Rowley et al.             Highly Confidential
     PTX0426           11/22/2016 18:04   GOOG-DOJ-05314741                     GOOG-DOJ-05314747                          Email from Jerome Grateau to Aparna Pappu et al.           Highly Confidential
     PTX0427           11/28/2016 18:04   GOOG-AT-MDL-012340434                 GOOG-AT-MDL-012340434                      Email from launch@google.com to Google employees           Confidential
     PTX0428           12/2/2016 17:49    GOOG-DOJ-27577911                     GOOG-DOJ-27577914                          Google document                                            Confidential
     PTX0429           12/5/2016 18:46    GOOG-TEX-00083757                     GOOG-TEX-00083758                          Google document                                            Highly Confidential
     PTX0430           12/6/2016 3:50     GOOG-DOJ-14100706                     GOOG-DOJ-14100711                          Email from Josh Cohen to George Levitte                    Highly Confidential
     PTX0431           12/7/2016 17:12    GOOG-DOJ-11771372                     GOOG-DOJ-11771378                          Email from Jerome Grateau to Jim Giles et al.              Highly Confidential
     PTX0432           12/8/2016 20:54    GOOG-DOJ-15207227                     GOOG-DOJ-15207229                          Email from launch@google.com to Google employees           Highly Confidential
     PTX0433           12/9/2016 14:57    GOOG-TEX-00035601                     GOOG-TEX-00035602                          Email from Chris LaSala to Jason Spero et al.              Highly Confidential
     PTX0434           12/12/2016 16:06   GOOG-DOJ-12713623                     GOOG-DOJ-12713628                          Google document                                            Highly Confidential
     PTX0435           12/14/2016 2:01    GOOG-DOJ-13387310                     GOOG-DOJ-13387312                          Email from Aparna Pappu to Gang Wang et al.                Highly Confidential
     PTX0436           12/14/2016 2:05    GOOG-AT-MDL-012341268                 GOOG-AT-MDL-012341268                      Email to Aparna Pappu to Jonathan Bellack et al.           Confidential
     PTX0437           12/14/2016 2:10    GOOG-TEX-00169845                     GOOG-TEX-00169846                          Email from Eisar Lipkovitz to Aparna Pappu                 Highly Confidential
     PTX0438           12/15/2016 22:32   GOOG-TEX-00000478                     GOOG-TEX-00000482                          Email from Jerome Grateau to Jim Giles et al.              Highly Confidential
                                                                                                                           Email from Laura Goldstein to Scott Spencer et al., with
     PTX0439
                       12/21/2016 21:24   GOOG-DOJ-15363218                     GOOG-DOJ-15363227                          attachments                                                Highly Confidential
                                                                                                                           Message generated by docs.google.com containing comments
     PTX0440
                       10/5/2015 15:17    GOOG-DOJ-14145686                     GOOG-DOJ-14145687                          to document                                                Highly Confidential
     PTX0441           1/3/2017 14:00     GOOG-TEX-00058737                     GOOG-TEX-00058738                          Email from Pooja Kapoor to Amy Murray et al.               Highly Confidential
     PTX0442           1/3/2017 22:41     GOOG-TEX-00121203                     GOOG-TEX-00121215                          Email from Jonathan Bellack to Danielle Romain et al.      Highly Confidential
     PTX0443           1/4/2017 16:42     GOOG-DOJ-03236008                     GOOG-DOJ-03236009                          Email from Eisar Lipkovitz to Jonathan Bellack et al.      Highly Confidential
     PTX0444           1/4/2017 22:59     GOOG-TEX-00000646                     GOOG-TEX-00000654                          Email from Chris LaSala to Gargi Sur, et al.               Highly Confidential
     PTX0445           1/5/2017 12:49     GOOG-DOJ-11771801                     GOOG-DOJ-11771821                          Google presentation                                        Highly Confidential



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     PTX0446           1/6/2017 17:02    GOOG-DOJ-04575238                     GOOG-DOJ-04575240                          Email from Sissie Hsiao to John Dukellis et al.               Highly Confidential
     PTX0447           1/10/2017 1:08    GOOG-TEX-00048384                     GOOG-TEX-00048391                          Email from Vamsee Jasti to Jonathan Bellack et al.            Highly Confidential
     PTX0448           1/11/2017 3:49    GOOG-DOJ-09469633                     GOOG-DOJ-09469636                          Email from Katharina Familia Almonte to Chris LaSala et al.   Highly Confidential
     PTX0449           1/11/2017 16:22   GOOG-TEX-00033596                     GOOG-TEX-00033602                          Email from Michael Kleber to Aparna Pappu et al.              Highly Confidential
     PTX0450           1/11/2017 18:42   GOOG-DOJ-27759161                     GOOG-DOJ-27759164                          Google document                                               Confidential
                                                                                                                          Email from Aparna Pappu to Jonathan Bellack et al., with
     PTX0451
                       1/13/2017 14:35   GOOG-DOJ-10635818                     GOOG-DOJ-10635826                          attachment                                                    Highly Confidential
     PTX0452           1/19/2017 23:15   GOOG-TEX-00104789                     GOOG-TEX-00104809                          Google presentation                                           Highly Confidential
                                                                                                                          Email from Jonathan Bellack to Philip Wiser et al., with
     PTX0453
                       1/20/2017 0:00    GOOG-DOJ-05226188                     GOOG-DOJ-05226193                          attachment                                                    Highly Confidential
     PTX0454           1/25/2017 14:55   GOOG-DOJ-11357550                     GOOG-DOJ-11357558                          Google presentation                                           Highly Confidential
     PTX0455           1/25/2017 16:44   GOOG-DOJ-14735657                     GOOG-DOJ-14735658                          Email from Nitish Korula to Bryan Rowley et al.               Highly Confidential
     PTX0456           1/27/2017 22:02   GOOG-DOJ-14396628                     GOOG-DOJ-14396630                          Email from Aparna Pappu to Becky Saag et al.                  Highly Confidential
     PTX0457           1/30/2017 0:00    GOOG-DOJ-06852416                     GOOG-DOJ-06852417                          Email from Jonathan Bellack to Chris LaSala et al.            Highly Confidential
     PTX0458           1/30/2017 15:54   GOOG-DOJ-15364209                     GOOG-DOJ-15364210                          Email from Jonathan Bellack to Aparna Pappu et al.            Highly Confidential
     PTX0459           1/30/2017 17:09   GOOG-DOJ-06852418                     GOOG-DOJ-06852419                          Email from Jerome Grateau to Jonathan Bellack et al.          Highly Confidential
     PTX0460           1/31/2017 22:23   GOOG-DOJ-14158930                     GOOG-DOJ-14158933                          Email from Nitish Korula to Max Loubser et al.                Highly Confidential
     PTX0461           2/1/2017 2:39     GOOG-DOJ-09470144                     GOOG-DOJ-09470148                          Email from Jonathan Bellack to Aparna Pappu et al.            Highly Confidential
     PTX0462           2/1/2017 13:05    GOOG-DOJ-04425135                     GOOG-DOJ-04425139                          Email from Chris LaSala to Jonathan Bellack et al.            Highly Confidential
     PTX0463           2/2/2017 13:41    GOOG-TEX-00452857                     GOOG-TEX-00452865                          Email from Jonathan Bellack to Eisar Lipkovitz et al.         Highly Confidential
     PTX0464           2/6/2017 6:39     GOOG-DOJ-15364548                     GOOG-DOJ-15364550                          Email from Chetna Bindra to Michael Hopkins et al.            Highly Confidential
     PTX0465           2/9/2017 20:58    GOOG-TEX-00138857                     GOOG-TEX-00138872                          Google document                                               Highly Confidential
     PTX0466           2/9/2017 23:10    GOOG-DOJ-05226700                     GOOG-DOJ-05226723                          Google presentation                                           Highly Confidential
     PTX0467           2/13/2017 22:05   GOOG-DOJ-14102135                     GOOG-DOJ-14102136                          Email from Donny Greenberg to Jonathan Bellack et al.         Highly Confidential
     PTX0468           2/14/2017 7:42    GOOG-DOJ-15020550                     GOOG-DOJ-15020554                          Email from Naoto Akiyama to Shoho Kozawa et al.               Highly Confidential
     PTX0469           2/14/2017 17:32   GOOG-DOJ-04425512                     GOOG-DOJ-04425514                          Email from Jerome Grateau to Chris LaSala, et al.             Highly Confidential
                                                                                                                          Email from Liz Toth to CR-NetworksWest <cr-
     PTX0470
                       2/14/2017 23:31   GOOG-TEX-00080291                     GOOG-TEX-00080294                          networkswest@google.com> et al.                               Highly Confidential
     PTX0471           2/17/2017 15:20   GOOG-DOJ-13550066                     GOOG-DOJ-13550068                          Email from Eisar Lipkovitz to Ali Nasiri Amini et al.         Highly Confidential
     PTX0472           2/17/2017 19:09   GOOG-AT-MDL-B-002534759               GOOG-AT-MDL-B-002534761                    Email from Ali Nasiri Amini to Chris Harris                   Confidential
     PTX0473           2/22/2017 18:41   GOOG-DOJ-15085583                     GOOG-DOJ-15085585                          Email from Nitish Korula to Abby Toomey, et al.               Highly Confidential
     PTX0474           2/23/2017 20:21   GOOG-DOJ-06853424                     GOOG-DOJ-06853427                          Google presentation                                           Highly Confidential
     PTX0475           2/27/2017 3:12    GOOG-DOJ-07249067                     GOOG-DOJ-07249071                          Email from Paul Muret to Jonathan Bellack et al.              Highly Confidential
     PTX0476           2/28/2017 19:13   GOOG-TEX-00101316                     GOOG-TEX-00101316                          Email from Tobias Maurer to Brad Bender et al.                Highly Confidential
     PTX0477           3/7/2017 14:32    GOOG-TEX-00002734                     GOOG-TEX-00002969                          Google presentation                                           Highly Confidential
     PTX0478           3/13/2017 17:25   GOOG-DOJ-11736427                     GOOG-DOJ-11736494                          Google presentation                                           Highly Confidential
     PTX0479           3/15/2017 9:20    GOOG-TEX-00094574                     GOOG-TEX-00094580                          Email from Josh Cohen to Jonathan Bellack et al.              Highly Confidential
     PTX0480           3/17/2017 0:00    GOOG-DOJ-05268036                     GOOG-DOJ-05268038                          Email from Payam Shodjai to Tobias Maurer et al.              Highly Confidential
     PTX0481           3/17/2017 3:16    GOOG-TEX-00121384                     GOOG-TEX-00121460                          Google presentation                                           Highly Confidential
     PTX0482           3/17/2017 20:52   GOOG-DOJ-12772094                     GOOG-DOJ-12772112                          Google presentation                                           Highly Confidential
     PTX0483           3/20/2017 14:24   GOOG-DOJ-06523306                     GOOG-DOJ-06523348                          Google presentation                                           Highly Confidential
     PTX0484           3/21/2017 19:36   GOOG-DOJ-04002256                     GOOG-DOJ-04002290                          Google presentation                                           Highly Confidential
     PTX0485           3/23/2017 14:22   GOOG-DOJ-28420330                     GOOG-DOJ-28420340                          Google document                                               Confidential
     PTX0486           3/23/2017 22:13   GOOG-AT-MDL-004039971                 GOOG-AT-MDL-004039971                      Google spreadsheet                                            Highly Confidential
     PTX0487           3/24/2017 18:59   GOOG-AT-MDL-009560183                 GOOG-AT-MDL-009560185                      Email from Chris LaSala to Suzanna Blackburn et al.           Confidential
     PTX0488           3/24/2017 19:01   GOOG-AT-MDL-009560186                 GOOG-AT-MDL-009560189                      Email from Jonathan Bellack to Chris LaSala et al.            Confidential



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     PTX0489           3/24/2017 19:34   GOOG-AT-MDL-009560190                GOOG-AT-MDL-009560193                      Email from Max Loubser to Jonathan Bellack et al.          Confidential
     PTX0490           3/24/2017 20:31   GOOG-AT-MDL-009560194                GOOG-AT-MDL-009560197                      Email from Gargi Sur to Max Loubser et al.                 Confidential
     PTX0491           3/24/2017 20:40   GOOG-AT-MDL-009560198                GOOG-AT-MDL-009560201                      Email from Jonathan Bellack to Gargi Sur et al.            Confidential
     PTX0492           3/24/2017 20:51   GOOG-AT-MDL-009560202                GOOG-AT-MDL-009560205                      Email from Gargi Sur to Jonathan Bellack et al.            Confidential
     PTX0493           3/24/2017 20:54   GOOG-AT-MDL-009560206                GOOG-AT-MDL-009560209                      Email from Jonathan Bellack to Gargi Sur et al.            Confidential
     PTX0494           3/24/2017 20:56   GOOG-AT-MDL-009560210                GOOG-AT-MDL-009560214                      Email from Suzanne Blackburn to Gargi Sur et al.           Confidential
     PTX0495           3/24/2017 20:57   GOOG-AT-MDL-009560215                GOOG-AT-MDL-009560219                      Email from Jonathan Bellack to Suzanne Blackburn et al.    Confidential
     PTX0496           3/25/2017 2:21    GOOG-AT-MDL-015058804                GOOG-AT-MDL-015058808                      Email from Gargi Sur to Jonathan Bellack et al.            Confidential
     PTX0497           3/25/2017 3:06    GOOG-AT-MDL-015058809                GOOG-AT-MDL-015058813                      Email from Nitish Korula to Gargi Sur et al.               Confidential
     PTX0498           3/27/2017 18:50   GOOG-TEX-00105603                    GOOG-TEX-00105630                          Google presentation                                        Highly Confidential
     PTX0499           3/30/2017 0:03    GOOG-DOJ-11772703                    GOOG-DOJ-11772703                          Google spreadsheet                                         Highly Confidential
     PTX0500           3/30/2017 14:03   GOOG-TEX-00094936                    GOOG-TEX-00094937                          Google document                                            Highly Confidential
     PTX0501           3/30/2017 18:03   GOOG-DOJ-31847985                    GOOG-DOJ-31847985                          Email from Serge Grossman to Donald Harrison               Confidential
     PTX0502           3/31/2017 17:34   GOOG-TEX-00094890                    GOOG-TEX-00094892                          Email from Alex Shellhammer to Suzanne Blackburn et al.    Highly Confidential
     PTX0503           4/2/2017 19:26    GOOG-TEX-00830729                    GOOG-TEX-00830732                          Email from Nitish Korula to George Levitte et al.          Highly Confidential
     PTX0504           4/6/2017 23:04    GOOG-DOJ-14024199                    GOOG-DOJ-14024203                          Google presentation                                        Highly Confidential
     PTX0505           4/8/2017 18:21    GOOG-TEX-00830787                    GOOG-TEX-00830789                          Google document                                            Highly Confidential
     PTX0506           4/11/2017 3:10    GOOG-AT-MDL-019500241                GOOG-AT-MDL-019500289                      Google presentation                                        Confidential
     PTX0507           4/12/2017 21:58   GOOG-DOJ-15277215                    GOOG-DOJ-15277233                          Google presentation                                        Highly Confidential
     PTX0508           4/19/2017 13:21   GOOG-DOJ-09475820                    GOOG-DOJ-09475915                          Google presentation                                        Highly Confidential
     PTX0509           4/26/2017 23:06   GOOG-DOJ-15443001                    GOOG-DOJ-15443004                          Email from Max Loubser to Nirmal Jayaram et al.            Highly Confidential
     PTX0510           4/27/2017 18:56   GOOG-TEX-00105361                    GOOG-TEX-00105430                          Google presentation                                        Highly Confidential
     PTX0511           4/28/2017 4:45    GOOG-DOJ-06744027                    GOOG-DOJ-06744028                          Email from Chris LaSala to Jason Spero et al.              Highly Confidential
     PTX0512           5/1/2017 17:48    GOOG-DOJ-11773067                    GOOG-DOJ-11773067                          Email from Jasper Seldin to Chris LaSala et al.            Highly Confidential
     PTX0513           5/2/2017 18:06    GOOG-DOJ-11839043                    GOOG-DOJ-11839095                          Google presentation                                        Highly Confidential
     PTX0514           5/3/2017 5:44     GOOG-DOJ-03891330                    GOOG-DOJ-03891335                          Email from Tobias Maurer to Brad Bender, with attachment   Highly Confidential
     PTX0515           5/4/2017 16:07    GOOG-DOJ-02840391                    GOOG-DOJ-02840397                          Google presentation                                        Highly Confidential
     PTX0516           5/8/2017 21:48    GOOG-DOJ-13899814                    GOOG-DOJ-13899817                          Google document                                            Highly Confidential
     PTX0517           5/15/2017 5:13    GOOG-DOJ-10208926                    GOOG-DOJ-10208934                          Google presentation                                        Highly Confidential
     PTX0518           5/17/2017 23:18   GOOG-DOJ-13557023                    GOOG-DOJ-13557023                          Google spreadsheet                                         Highly Confidential
     PTX0519           5/18/2017 13:16   GOOG-TEX-00600559                    GOOG-TEX-00600564                          Email from Aparna Pappu to Jonathan Bellack et al.         Highly Confidential
     PTX0520           5/22/2017 18:25   GOOG-DOJ-06727388                    GOOG-DOJ-06727394                          Google document                                            Highly Confidential
     PTX0521           5/30/2017 1:49    GOOG-TEX-00037997                    GOOG-TEX-00038048                          Google presentation                                        Highly Confidential
     PTX0522           5/30/2017 6:24    GOOG-AT-MDL-019399191                GOOG-AT-MDL-019399214                      Google document                                            Confidential
     PTX0523           6/1/2017 16:31    GOOG-AT-MDL-001777207                GOOG-AT-MDL-001777226                      Google presentation                                        Confidential
                                                                                                                         Email from Wenchao Wang to Marco Borla, et al., with
     PTX0524
                       6/2/2017 2:35     GOOG-AT-MDL-001934587                GOOG-AT-MDL-001934649                      attachments                                                Confidential
                                                                                                                         Email from Marco Borla to Wenchao Wang et al., with
     PTX0525
                       6/3/2017 0:00     GOOG-AT-MDL-000959036                GOOG-AT-MDL-000959056                      attachment                                                 Confidential
     PTX0526           6/9/2017 2:48     GOOG-DOJ-10211735                    GOOG-DOJ-10211738                          Email from launch@google.com to Google employees           Highly Confidential
     PTX0527           6/14/2017 15:33   GOOG-DOJ-13466171                    GOOG-DOJ-13466172                          Google document                                            Highly Confidential
     PTX0528           6/14/2017 15:33   GOOG-TEX-00966448                    GOOG-TEX-00966449                          Google document                                            Highly Confidential
     PTX0529           6/15/2017 23:47   GOOG-DOJ-08129106                    GOOG-DOJ-08129107                          Email from Sam Temes to Dan Taylor, et al.                 Highly Confidential
     PTX0530           6/19/2017 14:10   GOOG-DOJ-04427670                    GOOG-DOJ-04427673                          Google document                                            Highly Confidential
                                                                                                                         Email from Marco Borla to Dominic Tang et al., with
     PTX0531
                       7/7/2017 0:00     GOOG-AT-MDL-001935192                GOOG-AT-MDL-001935213                      attachment                                                 Confidential



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                                                                                                                          Email from Marco Borla to Phillip Schindler, et al., with
     PTX0532
                       7/7/2017 16:08     GOOG-DOJ-AT-02645038                 GOOG-DOJ-AT-02645058                       attachment                                                    Highly Confidential
                                                                                                                          Email from Marco Borla to Dominic Tang, et al., with
     PTX0533
                       7/7/2017 16:20     GOOG-AT-MDL-001935214                GOOG-AT-MDL-001935235                      attachment                                                    Confidential
     PTX0534           7/21/2017 1:05     GOOG-TEX-00453305                    GOOG-TEX-00453310                          Email from Jim Giles to Eisar Lipkovitz et al.                Highly Confidential
     PTX0535           7/21/2017 22:29    GOOG-TEX-00122334                    GOOG-TEX-00122334                          Email from Jonathan Bellack to Sagnik Nandy et al.            Highly Confidential
     PTX0536           7/22/2017 15:03    GOOG-DOJ-05270358                    GOOG-DOJ-05270400                          Google presentation                                           Confidential
     PTX0537           7/24/2017 8:20     GOOG-DOJ-13561674                    GOOG-DOJ-13561674                          Email from Ali Nasiri Amini to Nirmal Jayaram et al.          Highly Confidential
     PTX0538           7/24/2017 11:41    GOOG-DOJ-02854344                    GOOG-DOJ-02854351                          Google presentation                                           Highly Confidential
     PTX0539           8/9/2017 14:41     GOOG-DOJ-29625549                    GOOG-DOJ-29625553                          Email from Nitish Korula to Philippe Fauconnier-Bank et al.   Confidential
     PTX0540           8/10/2017 20:44    GOOG-DOJ-15370015                    GOOG-DOJ-15370018                          Email from Rahul Srinivasan to Josh Cohen et al.              Highly Confidential
     PTX0541           8/11/2017 15:12    GOOG-DOJ-14162326                    GOOG-DOJ-14162328                          Email from Rita Ren to Martin Pál et al.                      Highly Confidential
     PTX0542           8/11/2017 16:52    GOOG-DOJ-14162335                    GOOG-DOJ-14162338                          Email from Jim Giles to Nitish Korula et al.                  Highly Confidential
     PTX0543           8/16/2017 13:52    GOOG-AT-MDL-B-004673058              GOOG-AT-MDL-B-004673062                    Email from Martin Pál to Vivek Rao et al.                     Confidential
     PTX0544           8/18/2017 19:24    GOOG-TEX-00151409                    GOOG-TEX-00151419                          Google document                                               Highly Confidential
     PTX0545           8/20/2017 21:13    GOOG-DOJ-07825115                    GOOG-DOJ-07825117                          Email from Nirmal Jayaram to Eisar Lipkovitz et al.           Highly Confidential
     PTX0546           8/28/2017 14:26    GOOG-DOJ-05316504                    GOOG-DOJ-05316508                          Email from Jonathan Bellack to Jason Pellegrino et al.        Highly Confidential
     PTX0547           8/28/2017 23:10    GOOG-DOJ-04429792                    GOOG-DOJ-04429816                          Google presentation                                           Highly Confidential
     PTX0548           8/31/2017 23:32    GOOG-AT-MDL-008612718                GOOG-AT-MDL-008612735                      Google document                                               Confidential
     PTX0549           9/1/2017 0:00      GOOG-DOJ-06877073                    GOOG-DOJ-06877151                          Google presentation                                           Confidential
     PTX0550           9/2/2017 5:47      GOOG-AT-MDL-B-002114380              GOOG-AT-MDL-B-002114380                    Email from Ali Nasiri Amini to Bahman Rabii                   Confidential
     PTX0551           9/5/2017 5:08      GOOG-DOJ-04830048                    GOOG-DOJ-04830049                          Email from Donald Harrison to Michelle Sarlo Dauwalter        Highly Confidential
     PTX0552           9/5/2017 18:04     GOOG-DOJ-02854561                    GOOG-DOJ-02854562                          Email from Jonathan Bellack to Ali Nasiri Amini et al.        Highly Confidential
     PTX0553           9/13/2017 16:35    GOOG-DOJ-05272070                    GOOG-DOJ-05272076                          Email from Eisar Lipkovitz to Aparna Pappu et al.             Highly Confidential
     PTX0554           9/20/2017 18:21    GOOG-DOJ-28365982                    GOOG-DOJ-28365986                          Google document                                               Confidential
     PTX0555           9/29/2017 23:10    GOOG-AT-MDL-001937115                GOOG-AT-MDL-001937120                      Email from Ezra Brettler to Sierra Feitshans et al.           Confidential
                                                                                                                          Email from Marco Borla to Sridhar Ramaswamy, et al., with
     PTX0556
                       10/5/2017 6:17     GOOG-AT-MDL-B-001273193              GOOG-AT-MDL-B-001273214                    attachment                                                    Confidential
                                                                                                                          Email from Marco Borla to Sridhar Ramaswamy, et al., with
     PTX0557
                       10/5/2017 15:14    GOOG-DOJ-AT-02645486                 GOOG-DOJ-AT-02645507                       attachment                                                    Highly Confidential
     PTX0558
                       10/5/2017 15:20    GOOG-DOJ-AT-02642501                 GOOG-DOJ-AT-02642522                       Email from Marco Borla to Danielle Romain, with attachment Highly Confidential
     PTX0559           10/10/2017 6:04    MSFT-LIT-0000046646                  MSFT-LIT-0000046686                        Microsoft document                                          Highly Confidential
                                                                                                                          Email from Marco Borla to Sridhar Ramaswamy, et al., with
     PTX0560
                       10/10/2017 16:58   GOOG-AT-MDL-B-001273236              GOOG-AT-MDL-B-001273261                    attachment                                                  Confidential
     PTX0561           10/11/2017 5:29    GOOG-AT-MDL-B-002541353              GOOG-AT-MDL-B-002541354                    Email from Ali Nasiri Amini to Eu-Jin Goh                   Confidential
     PTX0562           11/4/2017 19:59    GOOG-TEX-00106259                    GOOG-TEX-00106262                          Email from Jim Giles to Eisar Lipkovitz et al.              Highly Confidential
     PTX0563           11/9/2017 12:44    GOOG-AT-MDL-B-002115457              GOOG-AT-MDL-B-002115458                    Email from Nitish Korula to Nirmal Jayaram et al.           Confidential
     PTX0564           11/10/2017 13:54   GOOG-DOJ-12760173                    GOOG-DOJ-12760181                          Email from David Goodman to Chris LaSala et al.             Highly Confidential
     PTX0565           11/14/2017 16:46   GOOG-AT-MDL-014569995                GOOG-AT-MDL-014569996                      Email from Max Loubser to Rahul Srinivasan                  Confidential
     PTX0566           11/29/2017 15:39   GOOG-DOJ-09729045                    GOOG-DOJ-09729048                          Email from Danielle Romain to Sridhar Ramasamy              Highly Confidential
     PTX0567           12/6/2017 5:46     GOOG-DOJ-10640239                    GOOG-DOJ-10640243                          Email from Eisar Lipkovitz to Aparna Pappu et al.           Highly Confidential
                                                                                                                          Email from Allison Martucci to Cameron Clayton et al., with
     PTX0568
                       12/7/2017 0:00     GOOG-AT-MDL-012011646                GOOG-AT-MDL-012011649                      attachment                                                  Highly Confidential
     PTX0569           12/12/2017 23:01   GOOG-AT-MDL-B-002544075              GOOG-AT-MDL-B-002544077                    Google document                                             Confidential
     PTX0570           12/14/2017 16:48   GOOG-TEX-00084860                    GOOG-TEX-00084862                          Email from Nitish Korula to Glenn Berntson et al.           Highly Confidential



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     PTX0571           12/15/2017 22:32   GOOG-AT-MDL-B-002116057              GOOG-AT-MDL-B-002116057                    Message from Ajay Bangla to Ali Amini                       Confidential
     PTX0572           12/20/2017 15:42   GOOG-AT-MDL-012509436                GOOG-AT-MDL-012509438                      Email from Chris LaSala to Jim Giles et al.                 Confidential
     PTX0573           12/21/2017 0:00    GOOG-AT-MDL-019566874                GOOG-AT-MDL-019566882                      Google document                                             Highly Confidential
     PTX0574           1/1/2018 0:00      GOOG-DOJ-03595730                    GOOG-DOJ-03595753                          Google document                                             Highly Confidential
     PTX0575           1/1/2018 0:00      GOOG-DOJ-03596195                    GOOG-DOJ-03596218                          Google presentation                                         Highly Confidential
     PTX0576           1/1/2018 0:00      GOOG-DOJ-04451152                    GOOG-DOJ-04451175                          Google presentation                                         Highly Confidential
                                                                                                                          Email from Marco Borla to Seema Pandya, et al., with
     PTX0577
                       1/4/2018 17:26     GOOG-AT-MDL-000963979                GOOG-AT-MDL-000964003                      attachment                                                  Highly Confidential
     PTX0578           1/9/2018 19:33     GOOG-DOJ-12760399                    GOOG-DOJ-12760408                          Google document                                             Confidential
     PTX0579           1/16/2018 10:27    GOOG-DOJ-03238507                    GOOG-DOJ-03238525                          Google presentation                                         Highly Confidential
     PTX0580
                       2/5/2018 20:20     FBDOJ003260795                       FBDOJ003260822                             Email from Brian Boland to Dan Rose et al., with attachments Confidential
                                                                                                                          Email from Priti Youssef Choksi to Brian Boland et al., with
     PTX0581
                       2/28/2018 18:07    FBDOJGOOG_00028977                   FBDOJGOOG_00028993                         attachment                                                   Confidential
     PTX0582           3/2/2018 1:34      GOOG-AT-MDL-019427179                GOOG-AT-MDL-019427215                      Google presentation                                          Confidential
     PTX0583           3/5/2018 20:40     GOOG-AT-MDL-007375652                GOOG-AT-MDL-007375652                      Email from Martin Pal to Oliver Zee et al.                   Confidential
     PTX0584           3/7/2018 14:22     GOOG-AT-MDL-B-002838050              GOOG-AT-MDL-B-002838052                    Email from Martin Pal to Li Grabenstein et al.               Confidential
     PTX0585           3/14/2018 22:13    GOOG-DOJ-09876316                    GOOG-DOJ-09876329                          Google presentation                                          Highly Confidential
     PTX0586           3/16/2018 16:59    GOOG-DOJ-03896573                    GOOG-DOJ-03896575                          Email from Jonathan Bellack to Brad Bender                   Highly Confidential
     PTX0587           3/16/2018 18:05    GOOG-DOJ-05276794                    GOOG-DOJ-05276796                          Email from Payam Shodjai to Brad Bender                      Highly Confidential
     PTX0588           3/16/2018 18:20    GOOG-DOJ-09429821                    GOOG-DOJ-09429824                          Email from Nirmal Jayaram to Tobias Maurer et al.            Highly Confidential
     PTX0589           3/16/2018 18:43    GOOG-DOJ-09429825                    GOOG-DOJ-09429828                          Email from Tobias Maurer to Nirmal Jayaram et al.            Highly Confidential
     PTX0590           3/23/2018 17:48    GOOG-TEX-00090751                    GOOG-TEX-00090752                          Email from Chris LaSala to Jonathan Bellack et al.           Highly Confidential
     PTX0591           3/26/2018 13:59    GOOG-DOJ-03913653                    GOOG-DOJ-03913752                          Google presentation                                          Highly Confidential
                                                                                                                          Email from Marco Borla to Phillip Schindler, et al., with
     PTX0592
                       4/6/2018 20:52     GOOG-AT-MDL-B-001276241              GOOG-AT-MDL-B-001276268                    attachment                                                   Confidential
                                                                                                                          Email from Marco Borla to Dominic Tang, et al., with
     PTX0593
                       4/6/2018 22:02     GOOG-AT-MDL-000965391                GOOG-AT-MDL-000965418                      attachment                                                   Confidential
     PTX0594           4/12/2018 2:10     GOOG-DOJ-05548306                    GOOG-DOJ-05548307                          Email from Eisar Lipkovitz to Carlos Kirjner et al.          Highly Confidential
     PTX0595           4/12/2018 15:52    GOOG-DOJ-04725043                    GOOG-DOJ-04725046                          Email from Eisar Lipkovitz to Johnathan Bellack et al.       Highly Confidential
     PTX0596           4/13/2018 0:35     GOOG-AT-MDL-014262058                GOOG-AT-MDL-014262058                      Email from Johnathan Bellack to Payan Shodjai                Confidential
     PTX0597           4/16/2018 16:01    GOOG-DOJ-13587578                    GOOG-DOJ-13587590                          Google document                                              Highly Confidential
     PTX0598           4/23/2019 14:24    GOOG-DOJ-04720129                    GOOG-DOJ-04720132                          Google document                                              Highly Confidential
     PTX0599           4/19/2018 20:49    GOOG-DOJ-10267305                    GOOG-DOJ-10267307                          Email from Nirmal Jayaram to Tobias Maurer et al.            Highly Confidential
     PTX0600           5/1/2018 0:30      GOOG-DOJ-07275375                    GOOG-DOJ-07275518                          Google document                                              Confidential
     PTX0601           5/2/2018 23:42     GOOG-TEX-00109946                    GOOG-TEX-00110008                          Google presentation                                          Highly Confidential
     PTX0602           5/7/2018 14:07     GOOG-DOJ-06871934                    GOOG-DOJ-06871943                          Google document                                              Highly Confidential
     PTX0603           5/9/2018 22:09     GOOG-DOJ-12581761                    GOOG-DOJ-12581762                          Email from Eisar Lipkovitz to Aparna Pappu et al.            Highly Confidential
     PTX0604           5/10/2018 20:25    GOOG-DOJ-03070314                    GOOG-DOJ-03070320                          Google presentation                                          Highly Confidential
     PTX0605           5/10/2018 21:28    GOOG-DOJ-05277697                    GOOG-DOJ-05277703                          Email from Jonathan Bellack to Aparna Pappu et al.           Highly Confidential
     PTX0606           5/22/2018 14:53    GOOG-DOJ-13472672                    GOOG-DOJ-13472673                          Email from Sam Cox to Rob Hazan                              Highly Confidential
     PTX0607           5/22/2018 21:22    GOOG-DOJ-12761045                    GOOG-DOJ-12761058                          Google presentation                                          Highly Confidential
     PTX0608           5/29/2018 14:49    GOOG-DOJ-03239780                    GOOG-DOJ-03239798                          Google presentation                                          Highly Confidential
     PTX0609           5/31/2018 13:58    GOOG-DOJ-13473146                    GOOG-DOJ-13473147                          Email from Martin Pal to Nitish Korula et al.                Highly Confidential
     PTX0610           6/1/2018 17:55     GOOG-DOJ-32566958                    GOOG-DOJ-32566958                          Email from Rahul Srinivasan to Nitish Korula et al.          Confidential
     PTX0611           6/11/2018 21:06    GOOG-TEX-00124787                    GOOG-TEX-00124807                          Google presentation                                          Highly Confidential



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Trial Exhibit Number          Date                   Beg Bates                                 End Bates                                          Description                          Confidentiality

     PTX0612           6/14/2018 15:09   GOOG-DOJ-11781035                     GOOG-DOJ-11781035                          Message from Aparna Pappu to Chris LaSala et al.          Highly Confidential
                                                                                                                          Email from Gabe Kronstadt to Chris LaSala et al., with
     PTX0613
                       6/19/2018 18:17   GOOG-DOJ-11781099                     GOOG-DOJ-11781103                          attachment                                                Highly Confidential
     PTX0614           6/19/2018 15:18   GOOG-DOJ-11347848                     GOOG-DOJ-11347848                          Email from David Goodman to Payam Shodjai et al.          Highly Confidential
     PTX0615           6/20/2018 12:50   GOOG-DOJ-32327167                     GOOG-DOJ-32327167                          Message from Chris LaSala to Sissie Hsiao et al.          Confidential
     PTX0616           6/20/2018 15:24   GOOG-DOJ-13975976                     GOOG-DOJ-13975978                          Email from Nirmal Jayaram to Jim Giles et al.             Highly Confidential
     PTX0617           6/20/2018 16:30   GOOG-DOJ-07829351                     GOOG-DOJ-07829351                          Message from Kenny Kaiser to Brad Bender et al.           Highly Confidential
     PTX0618           6/20/2018 17:59   GOOG-DOJ-32034896                     GOOG-DOJ-32034898                          Email from Apartna Pappu to Noam Wolf et al.              Confidential
     PTX0619           6/21/2018 17:50   GOOG-DOJ-12947505                     GOOG-DOJ-12947508                          Email from Max Lin to Tim Lipus et al.                    Highly Confidential
     PTX0620           6/21/2018 17:50   GOOG-TEX-00096393                     GOOG-TEX-00096397                          Email from Max Lin to Tim Lipus et al.                    Highly Confidential
     PTX0621           6/21/2018 22:17   GOOG-DOJ-09704427                     GOOG-DOJ-09704428                          Message from Rahul Srinivasan to Sissie Hsiao et al.      Highly Confidential
     PTX0622           6/21/2018 22:12   GOOG-DOJ-07829362                     GOOG-DOJ-07829363                          Message from Rahul Srinivasan to Brad Bender et al.       Highly Confidential
     PTX0623           6/25/2018 12:08   GOOG-AT-MDL-008952713                 GOOG-AT-MDL-008952715                      Message from Jim Giles to Rahul Srinivasan et al.         Confidential
     PTX0624           6/27/2018 4:42    GOOG-DOJ-27767168                     GOOG-DOJ-27767171                          Email from Chris LaSala to Carlos Kirjner                 Confidential
     PTX0625           7/6/2018 1:45     GOOG-DOJ-07829410                     GOOG-DOJ-07829411                          Message from Jonathan Bellack to Brad Bender et al.       Highly Confidential
     PTX0626           7/9/2018 19:28    GOOG-DOJ-14426577                     GOOG-DOJ-14426581                          Google document                                           Highly Confidential
     PTX0627           7/9/2018 20:12    GOOG-TEX-00905784                     GOOG-TEX-00905796                          Email from Martin Pal to Roshan Khan et al.               Highly Confidential
     PTX0628           7/10/2018 15:58   GOOG-DOJ-13414967                     GOOG-DOJ-13414969                          Email from David Goodman to Jonathan Bellack              Highly Confidential
     PTX0629           7/11/2018 19:25   GOOG-DOJ-13415080                     GOOG-DOJ-13415080                          Email from Max Lin to Jonathan Bellack et al.             Highly Confidential
     PTX0630           7/11/2018 19:39   GOOG-DOJ-13415081                     GOOG-DOJ-13415081                          Email from Jonathan Bellack to Max Lin et al.             Highly Confidential
     PTX0631           7/12/2018 19:15   GOOG-DOJ-07829417                     GOOG-DOJ-07829423                          Email from Michael Hopkins to Leah Caldarone et al.       Highly Confidential
     PTX0632           7/13/2018 1:13    GOOG-DOJ-15115878                     GOOG-DOJ-15115881                          Email from Eisar Lipkovitz to Carlos Kirjner et al.       Highly Confidential
     PTX0633           7/13/2018 19:51   GOOG-DOJ-10733927                     GOOG-DOJ-10733963                          Google presentation                                       Highly Confidential
     PTX0634           7/16/2018 13:44   GOOG-DOJ-09159964                     GOOG-DOJ-09159987                          Google presentation                                       Highly Confidential
     PTX0635           7/19/2018 22:34   GOOG-DOJ-07276976                     GOOG-DOJ-07276980                          Google document                                           Highly Confidential
     PTX0636           7/23/2018 15:53   GOOG-DOJ-10658880                     GOOG-DOJ-10658881                          Message from Dan Taylor to Deepti Bhatnagar et al.        Highly Confidential
     PTX0637           7/31/2018 3:40    GOOG-DOJ-10957237                     GOOG-DOJ-10957239                          Message from Sagnik Nandy to Chris LaSala et al.          Highly Confidential
     PTX0638           8/3/2018 19:03    GOOG-DOJ-03998505                     GOOG-DOJ-03998508-008                      Google document                                           Confidential
     PTX0639           8/6/2018 11:37    GOOG-DOJ-11781965                     GOOG-DOJ-11781965                          Message from Jim Giles to Chris LaSala et al.             Highly Confidential
     PTX0640           8/7/2018 16:19    GOOG-DOJ-07799709                     GOOG-DOJ-07799711                          Email from Bonita Stewart to Chris LaSala et al.          Highly Confidential
     PTX0641           8/7/2018 18:09    GOOG-DOJ-10414858                     GOOG-DOJ-10414864                          Email from Duke Dukellis to Nitish Korula et al.          Highly Confidential
     PTX0642           8/8/2018 0:00     GOOG-AT-MDL-C-000008293               GOOG-AT-MDL-C-000008352                    Google document                                           Confidential
     PTX0643           8/9/2018 20:19    GOOG-DOJ-03634544                     GOOG-DOJ-03634559                          Google presentation                                       Highly Confidential
     PTX0644           8/14/2018 23:13   GOOG-DOJ-04004237                     GOOG-DOJ-04004239                          Email from Chris LaSala to Donald Harrison                Highly Confidential
     PTX0645           8/16/2018 2:34    GOOG-DOJ-05532201                     GOOG-DOJ-05532208                          Google document                                           Highly Confidential
     PTX0646           8/17/2018 3:26    GOOG-DOJ-08471703                     GOOG-DOJ-08471704                          Email from Chris LaSala to Donald Harrison et al.         Highly Confidential
     PTX0647           8/30/2018 0:00    GOOG-DOJ-13597316                     GOOG-DOJ-13597322                          Email from Ajay Bangla to Tobias Maurer et al.            Highly Confidential
     PTX0648           8/30/2018 1:51    GOOG-AT-MDL-B-003167073               GOOG-AT-MDL-B-003167091                    Google document                                           Confidential
     PTX0649           9/4/2018 19:24    GOOG-AT-MDL-009452636                 GOOG-AT-MDL-009452636                      Message from Bhanu Narasimhan to Courtney Kuhl et al.     Confidential
     PTX0650           9/4/2018 19:24    GOOG-AT-MDL-010351820                 GOOG-AT-MDL-010351820                      Message from Bhanu Narasimhan to Courtney Rose et al.     Confidential
     PTX0651           9/4/2018 19:24    GOOG-AT-MDL-011596533                 GOOG-AT-MDL-011596533                      Message from Bhanu Narasimhan to Courtney Rose et al.     Confidential
     PTX0652           9/6/2018 22:44    GOOG-DOJ-15126801                     GOOG-DOJ-15126801                          Email from Fabrizio Angelini to Rahul Srinivasan et al.   Highly Confidential
     PTX0653           9/7/2018 22:01    GOOG-DOJ-10957587                     GOOG-DOJ-10957588                          Email from Chris LaSala to Rahul Srinivasan et al.        Highly Confidential
     PTX0654           9/9/2018 0:42     GOOG-DOJ-13598644                     GOOG-DOJ-13598645                          Email from launch@google.com to Google employees          Highly Confidential
     PTX0655           9/19/2018 1:47    GOOG-DOJ-10669120                     GOOG-DOJ-10669122                          Email from Donald Harrison to Phillip Schindler           Highly Confidential
     PTX0656           9/10/2018 15:06   GOOG-DOJ-04004392                     GOOG-DOJ-04004402                          Google document                                           Highly Confidential



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     PTX0657           9/11/2018 13:48    GOOG-DOJ-04442323                     GOOG-DOJ-04442372                          Google presentation                                          Highly Confidential
     PTX0658           9/12/2018 14:47    GOOG-DOJ-11864107                     GOOG-DOJ-11864110                          Email from Payam Shodjai to Vlad Sinaniyev et al.            Highly Confidential
     PTX0659           9/12/2018 19:36    GOOG-DOJ-15151724                     GOOG-DOJ-15151728                          Google document                                              Highly Confidential
     PTX0660           9/13/2018 14:20    GOOG-AT-MDL-008961022                 GOOG-AT-MDL-008961024                      Email from Rahul Srinivasan to Nitish Korula                 Confidential
     PTX0661           9/13/2018 21:07    GOOG-DOJ-09441506                     GOOG-DOJ-09441507                          Email from Chris LaSala to Philipp Schindler et al.          Highly Confidential
     PTX0662           9/18/2018 20:58    GOOG-TEX-00124960                     GOOG-TEX-00124963                          Email from Jonathan Bellack to Michael Hopkins et al.        Highly Confidential
     PTX0663           9/20/2018 15:49    GOOG-DOJ-03900135                     GOOG-DOJ-03900142                          Google document                                              Highly Confidential
     PTX0664           9/25/2018 18:29    GOOG-DOJ-11392497                     GOOG-DOJ-11392504                          Google document                                              Highly Confidential
     PTX0665           9/26/2018 0:00     GOOG-AT-MDL-019567328                 GOOG-AT-MDL-019567335                      Google document                                              Highly Confidential
     PTX0666           9/29/2018 5:02     GOOG-DOJ-07800101                     GOOG-DOJ-07800104                          Google document                                              Highly Confidential
     PTX0667           10/1/2018 21:47    GOOG-DOJ-09163024                     GOOG-DOJ-09163030                          Google document                                              Highly Confidential
     PTX0668           10/4/2018 18:32    GOOG-DOJ-05282625                     GOOG-DOJ-05282671                          Google presentation                                          Highly Confidential
                                                                                                                           Email from Marco Borla to Phillipp Schindler, et al., with
     PTX0669
                       10/5/2018 21:35    GOOG-DOJ-AT-02645132                  GOOG-DOJ-AT-02645158                       attachments                                                  Highly Confidential
     PTX0670           10/5/2018 21:57    GOOG-DOJ-11783062                     GOOG-DOJ-11783063                          Google Calendar notification                                 Highly Confidential
                                                                                                                           Email from Carlos Kirjner to Prabhakar Raghavan, with
     PTX0671
                       10/5/2018 22:41    GOOG-DOJ-04451151                     GOOG-DOJ-04451199                          attachment                                                   Highly Confidential
     PTX0672           10/11/2018 0:28    GOOG-DOJ-13218256                     GOOG-DOJ-13218266                          Google document                                              Highly Confidential
     PTX0673           10/11/2018 21:31   GOOG-DOJ-12038222                     GOOG-DOJ-12038222                          Google spreadsheet                                           Highly Confidential
     PTX0674           10/19/2018 21:17   GOOG-TEX-00107590                     GOOG-TEX-00107594                          Email from Chris LaSala to Keith Weisberg et al.             Highly Confidential
                                                                                                                           Email from Matt Guio to Danielle Romain et al., with
     PTX0675
                       10/23/2018 1:30    GOOG-DOJ-03900426                     GOOG-DOJ-03900434                          attachment                                                   Highly Confidential
     PTX0676           10/23/2018 23:37   GOOG-DOJ-03240360                     GOOG-DOJ-03240376                          Google presentation                                          Highly Confidential
     PTX0677           10/25/2018 0:42    GOOG-DOJ-AT-00587215                  GOOG-DOJ-AT-00587216                       Email from Jay Glogovsky to Balasubramanian Sivan et al.     Highly Confidential
     PTX0678           10/27/2018 1:28    GOOG-DOJ-05282937                     GOOG-DOJ-05282948                          Google document                                              Highly Confidential
     PTX0679           11/5/2018 23:08    GOOG-DOJ-05283173                     GOOG-DOJ-05283188                          Google presentation                                          Highly Confidential
     PTX0680           11/15/2018 17:03   GOOG-DOJ-AT-00849033                  GOOG-DOJ-AT-00849034                       Email from Sissie Hsiao to P. Shodjai                        Highly Confidential
     PTX0681           11/28/2018 0:00    GOOG-DOJ-15225079                     GOOG-DOJ-15225081                          Email from Jim Giles to Florie Arlegui et al.                Confidential
     PTX0682           11/30/2018 2:22    GOOG-AT-MDL-001412439                 GOOG-AT-MDL-001412440                      Google document                                              Confidential
     PTX0683           12/5/2018 15:40    GOOG-DOJ-15127287                     GOOG-DOJ-15127289                          Email from Michael Hopkins to Florie Arlegui et al.          Confidential
     PTX0684           12/6/2018 18:37    GOOG-DOJ-07832481                     GOOG-DOJ-07832485                          Email from Nirmal Jayaram to David Maymudes et al.           Highly Confidential
     PTX0685           12/7/2018 18:53    GOOG-DOJ-03153058                     GOOG-DOJ-03153083                          Google presentation                                          Highly Confidential
     PTX0686           12/9/2018 1:53     GOOG-DOJ-05285023                     GOOG-DOJ-05285232                          Google presentation                                          Highly Confidential
     PTX0687           12/19/2018 19:30   GOOG-AT-MDL-007365297                 GOOG-AT-MDL-007365297-037                  Google presentation                                          Confidential
     PTX0688           12/19/2018 22:54   GOOG-DOJ-10295288                     GOOG-DOJ-10295294                          Email from Ali Nasiri Amini to Nirmal Jayaram et al.         Highly Confidential
     PTX0689           12/20/2018 2:00    GOOG-DOJ-12702407                     GOOG-DOJ-12702407                          Email from Chris LaSala to Jonathan Bellack et al.           Highly Confidential
     PTX0690           12/21/2018 15:44   GOOG-DOJ-03332135                     GOOG-DOJ-03332222                          Google presentation                                          Highly Confidential
     PTX0691           12/28/2018 21:56   GOOG-DOJ-12700111                     GOOG-DOJ-12700114                          Email from Payam Shodjai to Google Employees                 Highly Confidential
     PTX0692           1/1/2019 0:00      GOOG-DOJ-03596728                     GOOG-DOJ-03596751                          Google presentation                                          Highly Confidential
     PTX0693           1/1/2019 0:00      GOOG-DOJ-03597207                     GOOG-DOJ-03597230                          Google presentation                                          Highly Confidential
     PTX0694           1/1/2019 0:00      GOOG-DOJ-03597654                     GOOG-DOJ-03597677                          Google presentation                                          Highly Confidential
     PTX0695           1/3/2019 15:50     GOOG-DOJ-AT-00588455                  GOOG-DOJ-AT-00588456                       Email from Nitish Korula to Rahul Srinivasan                 Highly Confidential
     PTX0696           1/3/2019 23:04     GOOG-DOJ-AT-00566835                  GOOG-DOJ-AT-00566857                       Google document                                              Highly Confidential
     PTX0697           1/4/2019 3:23      GOOG-DOJ-13221355                     GOOG-DOJ-13221363                          Google document                                              Highly Confidential
     PTX0698           1/4/2019 13:40     GOOG-DOJ-13604021                     GOOG-DOJ-13604023                          Email from Sam Temes to Rahul Srinivasan et al.              Highly Confidential
     PTX0699           1/4/2019 16:12     GOOG-DOJ-AT-01680260                  GOOG-DOJ-AT-01680265                       Email from Nitish Korula to Dan Taylor et al.                Highly Confidential



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Trial Exhibit Number          Date                   Beg Bates                                 End Bates                                          Description                             Confidentiality

     PTX0700           1/4/2019 21:40    GOOG-DOJ-12966821                     GOOG-DOJ-12966826                          Email from Chris LaSala to Nitish Korula et al.              Highly Confidential
     PTX0701           1/4/2019 21:48    GOOG-DOJ-AT-00060011                  GOOG-DOJ-AT-00060017                       Google presentation                                          Highly Confidential
     PTX0702           1/5/2019 20:59    GOOG-DOJ-AT-00566912                  GOOG-DOJ-AT-00566913                       Email from Nitish Korula to Ali Nasiri Amini et al.          Highly Confidential
     PTX0703           1/7/2019 15:13    GOOG-DOJ-AT-01680301                  GOOG-DOJ-AT-01680308                       Email from Rahul Srinivasan to Jessica Staples et al.        Highly Confidential
     PTX0704           1/7/2019 22:24    GOOG-DOJ-13604421                     GOOG-DOJ-13604425                          Message from Rahul Srinivasan to Nitish Korula et al.        Highly Confidential
     PTX0705           1/9/2019 4:46     GOOG-DOJ-AT-02640072                  GOOG-DOJ-AT-02640105                       Google presentation                                          Highly Confidential
     PTX0706           1/9/2019 18:35    GOOG-DOJ-AT-01017066                  GOOG-DOJ-AT-01017068                       Email from Nitish Korula to Bahman Rabii et al.              Highly Confidential
     PTX0707           1/10/2019 17:35   GOOG-DOJ-AT-00810221                  GOOG-DOJ-AT-00810221                       Message from Bryan Rowley to Scott Scheffer                  Highly Confidential
                                                                                                                          Email from Marco Borla to Phillipp Schindler, with
     PTX0708
                       1/10/2019 20:27   GOOG-AT-MDL-B-000825369               GOOG-AT-MDL-B-000825395                    attachment                                                   Highly Confidential
                                                                                                                          Email from Marco Borla to Prabhakar Raghavan, et al., with
     PTX0709
                       1/10/2019 21:04   GOOG-DOJ-03651918                     GOOG-DOJ-03651943                          attachment                                                   Highly Confidential
                                                                                                                          Email from Marco Borla to Prabhakar Raghavan, et al., with
     PTX0710
                       1/10/2019 21:04   GOOG-AT-MDL-B-000223532               GOOG-AT-MDL-B-000223558                    attachment                                                   Highly Confidential
     PTX0711           1/4/2019 0:13     GOOG-DOJ-AT-00066735                  GOOG-DOJ-AT-00066739                       Email from Nirmal Jayaram to Ehsan Maani et al.              Highly Confidential
     PTX0712
                       1/14/2019 0:39    GOOG-DOJ-28501644                     GOOG-DOJ-28501652                          Google document                                              Confidential
                                                                                                                          Email from Marco Borla to Seema Pandya et al., with
     PTX0713
                       1/14/2019 18:34   GOOG-DOJ-AT-02642666                  GOOG-DOJ-AT-02642691                       attachment                                                   Highly Confidential
     PTX0714           1/15/2019 20:01   GOOG-AT-MDL-007031286                 GOOG-AT-MDL-007031286                      Email from Sandra Robles to Nithya Sowrirajan et al.         Highly Confidential
     PTX0715           1/16/2019 19:00   GOOG-DOJ-AT-01019429                  GOOG-DOJ-AT-01019429-009                   Email from Tobias Maurer to Chris LaSala et al.              Highly Confidential
     PTX0716           1/17/2019 2:35    GOOG-DOJ-03901693                     GOOG-DOJ-03901713                          Google presentation                                          Highly Confidential
     PTX0717           1/17/2019 14:30   GOOG-DOJ-AT-00567159                  GOOG-DOJ-AT-00567161                       Email from Nitish Korula to Albert Chen et al.               Highly Confidential
     PTX0718           1/24/2019 21:46   GOOG-DOJ-AT-02113022                  GOOG-DOJ-AT-02113022-009                   Email from David Goodman to Kenny Kaiser                     Highly Confidential
     PTX0719           1/29/2019 15:52   GOOG-DOJ-AT-01019463                  GOOG-DOJ-AT-01019468                       Email from Chris LaSala to Noam Wolf                         Highly Confidential
     PTX0720           2/4/2019 21:10    GOOG-DOJ-14035958                     GOOG-DOJ-14035962                          Email from Kaleigh Rosenblat to David Goodman et al.         Highly Confidential
     PTX0721           2/6/2019 0:00     GOOG-DOJ-13607150                     GOOG-DOJ-13607152                          Email from Ali Nasiri Amini to Meihui Xie et al.             Highly Confidential
     PTX0722           2/6/2019 0:01     GOOG-DOJ-AT-00567481                  GOOG-DOJ-AT-00567481                       Email from Ehsan Maani to Nirmal Jayaram                     Highly Confidential
     PTX0723           2/6/2019 22:50    GOOG-AT-MDL-001422325                 GOOG-AT-MDL-001422327                      Email from Yumin Guo to Ayodele Marcus et al.                Confidential
     PTX0724           2/7/2019 12:09    GOOG-DOJ-07957145                     GOOG-DOJ-07957200                          Google presentation                                          Highly Confidential
     PTX0725           2/8/2019 0:14     GOOG-DOJ-11723465                     GOOG-DOJ-11723471                          Google document                                              Highly Confidential
     PTX0726           2/8/2019 19:56    GOOG-DOJ-07285943                     GOOG-DOJ-07285967                          Google presentation                                          Highly Confidential
     PTX0727           2/11/2019 21:17   GOOG-DOJ-09167513                     GOOG-DOJ-09167521                          Google presentation                                          Highly Confidential
     PTX0728           2/12/2019 14:56   GOOG-DOJ-AT-02136565                  GOOG-DOJ-AT-02136569                       Google presentation                                          Highly Confidential
     PTX0729           2/13/2019 22:31   GOOG-TEX-01267302                     GOOG-TEX-01267358                          Google presentation                                          Highly Confidential
     PTX0730           2/15/2019 0:00    GOOG-DOJ-13607854                     GOOG-DOJ-13607856                          Email from Roshan Khan to Nick Danziger et al.               Highly Confidential
     PTX0731           2/20/2019 0:20    GOOG-DOJ-AT-01077833                  GOOG-DOJ-AT-01077843                       Google presentation                                          Confidential
     PTX0732           2/20/2019 18:44   GOOG-DOJ-12114691                     GOOG-DOJ-12114695                          Google presentation                                          Highly Confidential
     PTX0733           2/26/2019 6:29    GOOG-DOJ-AT-00568035                  GOOG-DOJ-AT-00568036                       Google presentation                                          Highly Confidential
     PTX0734           3/1/2019 14:53    GOOG-DOJ-12857594                     GOOG-DOJ-12857598                          Email from Ali Amini to Sam Temes et al.                     Highly Confidential
     PTX0735           3/3/2019 18:44    GOOG-DOJ-15772410                     GOOG-DOJ-15772411                          Google document                                              Highly Confidential
     PTX0736           3/4/2019 1:20     GOOG-TEX-00108186                     GOOG-TEX-00108193                          Email from Chris LaSala to Fabrizio Angelini et al.          Highly Confidential
     PTX0737           3/4/2019 5:10     GOOG-DOJ-AT-00568160                  GOOG-DOJ-AT-00568160                       Email from Ali Nasiri Amini to Nirmal Jayaram                Highly Confidential
     PTX0738           3/6/2019 23:04    GOOG-DOJ-07833398                     GOOG-DOJ-07833399                          Google document                                              Highly Confidential
                                                                                                                          Email from Bipin Khurana to Chris LaSala et al., with
     PTX0739
                       3/8/2019 21:20    GOOG-DOJ-AT-00008410                  GOOG-DOJ-AT-00008413                       attachment                                                   Highly Confidential



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     PTX0740           3/18/2019 1:09    GOOG-DOJ-14572216                    GOOG-DOJ-14572217                          Email from Jason Bigler to Rahul Srinivasan               Highly Confidential
     PTX0741           3/13/2019 17:17   GOOG-DOJ-10924270                    GOOG-DOJ-10924338                          Google presentation                                       Highly Confidential
     PTX0742           3/14/2019 17:02   GOOG-DOJ-05508770                    GOOG-DOJ-05508775                          Email from Roshan Khan to Payam Shodjai et al.            Highly Confidential
     PTX0743           3/19/2019 22:18   GOOG-DOJ-AT-00221276                 GOOG-DOJ-AT-00221352                       Google presentation                                       Highly Confidential
     PTX0744           3/24/2019 23:27   GOOG-DOJ-13610347                    GOOG-DOJ-13610353                          Google document                                           Highly Confidential
     PTX0745           4/8/2019 16:27    GOOG-AT-MDL-001412688                GOOG-AT-MDL-001412688                      Email from Tim Lipus to Ali Nasiri Amini et al.           Confidential
     PTX0746           4/9/2019 7:07     GOOG-DOJ-10806862                    GOOG-DOJ-10806871                          Google document                                           Highly Confidential
                                                                                                                         Email from Marco Borla to Phillip Schindler, et al., with
     PTX0747
                       4/9/2019 16:38    GOOG-AT-MDL-B-000223562              GOOG-AT-MDL-B-000223587                    attachment                                                Confidential
     PTX0748           4/12/2019 22:35   GOOG-AT-MDL-008064626                GOOG-AT-MDL-008064628                      Email from Fabrizio Angelini to Richard Barber et al.     Confidential
     PTX0749           4/17/2019 21:33   GOOG-DOJ-11872257                    GOOG-DOJ-11872265                          Google document                                           Highly Confidential
                                                                                                                         Email from Ali Nasiri Amini to Nirmal Jayaram, with
     PTX0750
                       4/19/2019 15:15   GOOG-AT-MDL-007040481                GOOG-AT-MDL-007040484                      attachment                                                Confidential
     PTX0751           4/19/2019 16:59   GOOG-DOJ-11692120                    GOOG-DOJ-11692124                          Google document                                           Highly Confidential
     PTX0752           4/19/2019 21:12   GOOG-AT-MDL-008106705                GOOG-AT-MDL-008106728                      Google presentation                                       Highly Confidential
     PTX0753           4/23/2019 14:24   GOOG-TEX-00982699                    GOOG-TEX-00982702                          Google document                                           Highly Confidential
     PTX0754           4/23/2019 19:13   GOOG-DOJ-AT-02304321                 GOOG-DOJ-AT-02304322                       Email from Dorothée Bergin to Liz Daly et al.             Highly Confidential
     PTX0755           4/23/2019 21:11   GOOG-DOJ-AT-02304329                 GOOG-DOJ-AT-02304332                       Email from Dorothée Bergin to Alex Bergersen et al.       Highly Confidential
     PTX0756           4/24/2019 22:16   GOOG-DOJ-15226622                    GOOG-DOJ-15226626                          Email from George Levitte to Rahul Srinivasan             Highly Confidential
     PTX0757           4/25/2019 11:36   GOOG-TEX-00101703                    GOOG-TEX-00101710                          Email from Noam Wolf to Rahul Srinivasan et al.           Highly Confidential
     PTX0758           4/25/2019 13:32   KVL00000945                          KVL00000947                                Email from James Avery to Sarah Sluis                     Highly Confidential
     PTX0759           5/1/2019 12:09    GOOG-DOJ-15128751                    GOOG-DOJ-15128753                          Google document                                           Highly Confidential
     PTX0760           5/8/2019 20:31    GOOG-DOJ-13495460                    GOOG-DOJ-13495467                          Email from Bryan Tracy to Rahul Srinivasan et al.         Highly Confidential
     PTX0761           5/9/2019 19:52    GOOG-DOJ-AT-01130332                 GOOG-DOJ-AT-01130356                       Google presentation                                       Highly Confidential
     PTX0762           5/11/2019 3:35    GOOG-DOJ-02857290                    GOOG-DOJ-02857291                          Email from Ali Nasiri Amini to Sagnik Nandy et al.        Highly Confidential
     PTX0763           5/11/2019 3:40    GOOG-DOJ-10664165                    GOOG-DOJ-10664166                          Email from Ali Nasiri Amini to Payam Shodjai              Highly Confidential
     PTX0764           5/13/2019 2:45    GOOG-DOJ-03637251                    GOOG-DOJ-03637264                          Google document                                           Highly Confidential
     PTX0765           5/13/2019 17:32   GOOG-DOJ-14026935                    GOOG-DOJ-14026936                          Email from Rahul Srinivasan to George Levitte             Highly Confidential
     PTX0766           5/14/2019 14:46   GOOG-DOJ-14047367                    GOOG-DOJ-14047368                          Email from Juan Labourt to Noam Wolf et al.               Highly Confidential
     PTX0767           5/14/2019 17:59   GOOG-DOJ-04597764                    GOOG-DOJ-04597832                          Google presentation                                       Highly Confidential
     PTX0768           5/16/2019 0:00    GOOG-AT-MDL-004151779                GOOG-AT-MDL-004151792                      Email from Rahul Srinivasan to Adam Juda, with attachment Confidential
     PTX0769           5/20/2019 18:52   GOOG-DOJ-04597962                    GOOG-DOJ-04597983                          Google document                                           Highly Confidential
     PTX0770           5/20/2019 21:44   GOOG-DOJ-13495995                    GOOG-DOJ-13496000                          Email from Sylvia Ho to Google employees                  Highly Confidential
     PTX0771           5/21/2019 14:50   GOOG-AT-MDL-008980447                GOOG-AT-MDL-008980447                      Email from Rahul Srinivasan to Lauren Walls et al.        Confidential
     PTX0772           5/21/2019 16:50   GOOG-DOJ-AT-00638342                 GOOG-DOJ-AT-00638343                       Google document                                           Highly Confidential
     PTX0773           5/21/2019 16:50   GOOG-DOJ-AT-01620840                 GOOG-DOJ-AT-01620841                       Google document                                           Highly Confidential
     PTX0774           5/21/2019 16:50   GOOG-DOJ-AT-02139336                 GOOG-DOJ-AT-02139337                       Google document                                           Highly Confidential
     PTX0775           5/25/2019 6:05    GOOG-DOJ-AT-00569956                 GOOG-DOJ-AT-00569984                       Google presentation                                       Highly Confidential
     PTX0776           5/25/2019 6:05    GOOG-DOJ-AT-02218556                 GOOG-DOJ-AT-02218563                       Google document                                           Highly Confidential
     PTX0777           5/25/2019 6:05    GOOG-DOJ-AT-00086242                 GOOG-DOJ-AT-00086247                       Google presentation                                       Highly Confidential
     PTX0778           6/3/2019 22:01    GOOG-DOJ-14572783                    GOOG-DOJ-14572787                          Google document                                           Highly Confidential
     PTX0779           6/5/2019 23:50    GOOG-TEX-00856177                    GOOG-TEX-00856179                          Email from Chris Dawson to Nitish Korula                  Highly Confidential
     PTX0780           6/6/2019 12:42    GOOG-TEX-00036588                    GOOG-TEX-00036590                          Email from Cheryl Cahoy to Chris LaSala et al.            Highly Confidential
     PTX0781           6/6/2019 18:58    GOOG-DOJ-AT-00752651                 GOOG-DOJ-AT-00752653                       Email from Sam Temes to Mimi Do Forsythe                  Highly Confidential
     PTX0782           6/6/2019 21:03    GOOG-DOJ-03242474                    GOOG-DOJ-03242499                          Google presentation                                       Highly Confidential
     PTX0783           6/7/2019 22:47    GOOG-AT-MDL-001412832                GOOG-AT-MDL-001412834                      Google document                                           Confidential



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     PTX0784           6/10/2019 17:16   GOOG-DOJ-12948968                     GOOG-DOJ-12948969                          Email from Rahul Srinivasan to Payam Shodjai et al.         Confidential
     PTX0785           6/12/2019 21:15   GOOG-DOJ-AT-00570464                  GOOG-DOJ-AT-00570484                       Google presentation                                         Highly Confidential
     PTX0786           6/13/2019 18:27   GOOG-DOJ-06881716                     GOOG-DOJ-06881720                          Google document                                             Highly Confidential
     PTX0787           6/13/2019 18:27   GOOG-AT-MDL-003798827                 GOOG-AT-MDL-003798827                      Email from Sam Cox (via Google Docs) to Google employee Confidential
     PTX0788           6/13/2019 19:29   GOOG-AT-MDL-008312255                 GOOG-AT-MDL-008312258                      Google document                                             Confidential
     PTX0789           6/17/2019 20:18   GOOG-DOJ-11217440                     GOOG-DOJ-11217465                          Google document                                             Highly Confidential
     PTX0790           6/21/2019 3:26    GOOG-DOJ-15778327                     GOOG-DOJ-15778335                          Google document                                             Highly Confidential
     PTX0791           6/25/2019 0:31    GOOG-DOJ-13615208                     GOOG-DOJ-13615243                          Google presentation                                         Highly Confidential
     PTX0792           6/25/2019 15:42   GOOG-DOJ-03242646                     GOOG-DOJ-03242702                          Google presentation                                         Highly Confidential
     PTX0793           6/26/2019 13:48   GOOG-DOJ-11362042                     GOOG-DOJ-11362049                          Google document                                             Highly Confidential
     PTX0794           6/26/2019 13:52   GOOG-DOJ-02857734                     GOOG-DOJ-02857805                          Google presentation                                         Highly Confidential
     PTX0795           6/26/2019 13:52   GOOG-DOJ-04445011                     GOOG-DOJ-04445043                          Google presentation                                         Highly Confidential
     PTX0796           7/3/2019 12:06    GOOG-DOJ-AT-01901774                  GOOG-DOJ-AT-01901780                       Google document                                             Highly Confidential
     PTX0797           7/5/2019 9:29     GOOG-DOJ-AT-00060165                  GOOG-DOJ-AT-00060169                       Google document                                             Highly Confidential
     PTX0798           7/10/2019 22:55   GOOG-DOJ-03637904                     GOOG-DOJ-03637904                          Google document                                             Highly Confidential
     PTX0799           7/11/2019 0:00    GOOG-DOJ-09876839                     GOOG-DOJ-09876842                          Email from Alex Bergersen to Rahul Srinivasan et al.        Highly Confidential
     PTX0800           7/12/2019 0:00    GOOG-DOJ-10924738                     GOOG-DOJ-10924742                          Email from Bonita Stewart to Alex Bergersen et al.          Highly Confidential
     PTX0801           7/12/2019 2:40    GOOG-DOJ-02857887                     GOOG-DOJ-02857891                          Email from Nitish Korula to Sagnik Nandy et al.             Highly Confidential
                                                                                                                          Email from Dominic Tang to Phillipp Schindler et al., with
     PTX0802
                       7/15/2019 19:15   GOOG-AT-MDL-B-000223608               GOOG-AT-MDL-B-000223634                    attachment                                                  Highly Confidential
     PTX0803           7/22/2019 10:19   COM-CID-00049151                      COM-CID-00049152                           Email from Cameron Miille to James Rooke                    Confidential
     PTX0804           7/22/2019 22:32   GOOG-DOJ-09024203                     GOOG-DOJ-09024205                          Email from Jenni Stein to J. Dischler                       Highly Confidential
     PTX0805           7/25/2019 20:16   GOOG-TEX-00109645                     GOOG-TEX-00109669                          Google document                                             Highly Confidential
     PTX0806                             GOOG-DOJ-AT-02077865                  GOOG-DOJ-AT-02077869                       INTENTIONALLY LEFT BLANK
     PTX0807           8/1/2019 8:01     GOOG-DOJ-04445741                     GOOG-DOJ-04445806                          Google presentation                                         Highly Confidential
     PTX0808           8/1/2019 8:07     GOOG-DOJ-04445811                     GOOG-DOJ-04445841                          Google presentation                                         Highly Confidential
     PTX0809           8/1/2019 8:16     GOOG-DOJ-03081272                     GOOG-DOJ-03081299                          Google presentation                                         Highly Confidential
     PTX0810           8/1/2019 8:17     GOOG-DOJ-03639032                     GOOG-DOJ-03639076                          Google presentation                                         Highly Confidential
     PTX0811           8/1/2019 9:40     GOOG-DOJ-11788944                     GOOG-DOJ-11789028                          Google presentation                                         Highly Confidential
     PTX0812           8/1/2019 16:31    GOOG-AT-MDL-B-001644639               GOOG-AT-MDL-B-001644645                    Google document                                             Highly Confidential
     PTX0813           8/2/2019 23:42    GOOG-DOJ-AT-01130388                  GOOG-DOJ-AT-01130390                       Google document                                             Highly Confidential
     PTX0814           8/7/2019 17:19    GOOG-DOJ-09712720                     GOOG-DOJ-09712871                          Google document                                             Highly Confidential
     PTX0815           8/8/2019 0:19     GOOG-DOJ-AT-01130391                  GOOG-DOJ-AT-01130391                       Google document                                             Highly Confidential
     PTX0816           8/12/2019 16:37   GOOG-DOJ-AT-00597161                  GOOG-DOJ-AT-00597162                       Message from Nitish Korula to David Christian               Highly Confidential
                                                                                                                          Email from Haskell Garon to Rahul Srinivasan et al., with
     PTX0817
                       8/13/2019 0:00    GOOG-DOJ-13499783                     GOOG-DOJ-13499791                          attachment                                                  Highly Confidential
                                                                                                                          Message generated by Nitish Korula (Google Docs) containing
     PTX0818
                       8/13/2019 10:53   GOOG-DOJ-AT-00571933                  GOOG-DOJ-AT-00571935                       comments to document                                        Highly Confidential
     PTX0819           8/13/2019 18:43   GOOG-DOJ-09713317                     GOOG-DOJ-09713323                          Email from Rahul Srinivasan to Brad Bender et al.           Highly Confidential
     PTX0820           8/14/2019 22:00   GOOG-DOJ-04195205                     GOOG-DOJ-04195221                          Google presentation                                         Highly Confidential
     PTX0821           8/16/2019 0:00    GOOG-AT-MDL-B-004039742               GOOG-AT-MDL-B-004039742                    Google spreadsheet                                          Highly Confidential
     PTX0822           8/16/2019 15:21   GOOG-DOJ-09176140                     GOOG-DOJ-09176141                          Google document                                             Highly Confidential
                                                                                                                          Email from Rita Ren to Giulio Minguzzi et al., with
     PTX0823
                       8/16/2019 18:58   GOOG-AT-MDL-014303955                 GOOG-AT-MDL-014303965                      attachments                                                 Confidential
     PTX0824           8/22/2019 15:15   GOOG-DOJ-AT-02274997                  GOOG-DOJ-AT-02275007                       Google document                                             Highly Confidential
     PTX0825           8/22/2019 15:17   GOOG-DOJ-04600784                     GOOG-DOJ-04600791                          Google document                                             Highly Confidential



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     PTX0826
                       8/26/2019 0:36    GOOG-DOJ-15044036                     GOOG-DOJ-15044044                          Email from Haskell Garon to Art Price et al., with attachment   Highly Confidential
     PTX0827           8/27/2019 11:46   GOOG-DOJ-04600935                     GOOG-DOJ-04600956                          Google presentation                                             Highly Confidential
     PTX0828           8/28/2019 0:07    GOOG-AT-MDL-B-003992141               GOOG-AT-MDL-B-003992250                    Message from Brad Lassey to Chetna Bindra et al.                Highly Confidential
     PTX0829           8/28/2019 17:17   GOOG-TEX-00109851                     GOOG-TEX-00109945                          Google presentation                                             Highly Confidential
     PTX0830           8/28/2019 20:01   GOOG-AT-MDL-003664876                 GOOG-AT-MDL-003664876                      Message from Nirmal Jayaram to Ali Amini                        Confidential
     PTX0831           8/30/2019 11:23   GOOG-DOJ-AT-00759468                  GOOG-DOJ-AT-00759532                       Google presentation                                             Highly Confidential
     PTX0832           8/30/2019 16:51   GOOG-DOJ-AT-01130405                  GOOG-DOJ-AT-01130450                       Google presentation                                             Highly Confidential
     PTX0833           8/30/2019 16:51   GOOG-AT-MDL-003674643                 GOOG-AT-MDL-003674649                      Message from Nirmal Jayaram to Nitish Korula                    Confidential
     PTX0834           9/1/2019 17:57    GOOG-DOJ-AT-00598634                  GOOG-DOJ-AT-00598637                       Message from Nitish Korula to Nirmal Jayaram                    Highly Confidential
     PTX0835           9/2/2019 1:23     GOOG-DOJ-10924864                     GOOG-DOJ-10924881                          Google presentation                                             Highly Confidential
     PTX0836           9/3/2019 13:39    GOOG-DOJ-28486574                     GOOG-DOJ-28486604                          Google presentation                                             Confidential
     PTX0837           9/3/2019 15:41    GOOG-AT-MDL-008987798                 GOOG-AT-MDL-008987798                      Email from Nitish Korula to Ali Amini et al.                    Confidential
     PTX0838           9/4/2019 20:56    GOOG-DOJ-07290146                     GOOG-DOJ-07290150                          Email from Nirmal Jayaram to Sissie Hsiao et al.                Highly Confidential
     PTX0839           9/5/2019 20:49    GOOG-DOJ-03247924                     GOOG-DOJ-03247926                          Google document                                                 Highly Confidential
     PTX0840           9/5/2019 20:52    GOOG-AT-MDL-018620801                 GOOG-AT-MDL-018620808                      Google document                                                 Highly Confidential
     PTX0841           9/6/2019 3:07     GOOG-DOJ-AT-00055901                  GOOG-DOJ-AT-00055906                       Google document                                                 Highly Confidential
     PTX0842           9/8/2019 6:23     GOOG-DOJ-07290336                     GOOG-DOJ-07290363                          Google presentation                                             Highly Confidential
     PTX0843           9/9/2019 21:11    GOOG-DOJ-13500989                     GOOG-DOJ-13500994                          Email from George Levitte to Kurt Spoerer et al.                Highly Confidential
     PTX0844           9/10/2019 2:39    GOOG-TEX-00036873                     GOOG-TEX-00036878                          Email from Chris LaSala to Nelson Hsu et al.                    Highly Confidential
     PTX0845           9/10/2019 10:28   GOOG-DOJ-15564937                     GOOG-DOJ-15564938                          Email from Nitish Korula to Rob Hazan                           Highly Confidential
                                                                                                                          Email from Ali Amini to Bonnie Pericolosi et al., with
     PTX0846
                       9/10/2019 22:04   GOOG-AT-MDL-001427607                 GOOG-AT-MDL-001427611                      attachment                                                      Confidential
     PTX0847           9/11/2019 10:41   GOOG-DOJ-04601261                     GOOG-DOJ-04601261                          Google document                                                 Highly Confidential
     PTX0848           9/11/2019 20:43   GOOG-AT-MDL-018356209                 GOOG-AT-MDL-018356209                      Message from Vidhya Srinivasan to Prabhakar Raghavan            Highly Confidential
     PTX0849
                       9/12/2019 14:03   GOOG-DOJ-15564967                     GOOG-DOJ-15564968                          Message from Stuart Houston (via Google docs) to Rob Hazan Highly Confidential
     PTX0850           9/13/2019 16:25   GOOG-DOJ-10494663                     GOOG-DOJ-10494664                          Google document                                            Highly Confidential
                                                                                                                          Message from Aparna Pappu containing comments to
     PTX0851
                       9/16/2019 14:41   GOOG-AT-MDL-018279549                 GOOG-AT-MDL-018279549                      document                                                   Highly Confidential
     PTX0852           9/18/2019 21:10   GOOG-TEX-00036879                     GOOG-TEX-00036880                          Google document                                            Highly Confidential
     PTX0853           9/23/2019 0:00    GOOG-AT-MDL-009005324                 GOOG-AT-MDL-009005368                      Google document                                            Highly Confidential
     PTX0854           9/24/2019 6:44    GOOG-DOJ-AT-00573309                  GOOG-DOJ-AT-00573313                       Google document                                            Highly Confidential
                                                                                                                          Email from Bonnie Pericolosi to Elissa Murphy et al., with
     PTX0855
                       9/25/2019 18:38   GOOG-DOJ-AT-01075120                  GOOG-DOJ-AT-01075126                       attachment                                                 Highly Confidential
     PTX0856           9/25/2019 18:04   GOOG-DOJ-11030354                     GOOG-DOJ-11030357                          Google document                                            Highly Confidential
     PTX0857           9/26/2019 17:44   GOOG-DOJ-AT-00573492                  GOOG-DOJ-AT-00573496                       Google document                                            Highly Confidential
     PTX0858           10/1/2019 3:45    GOOG-DOJ-04736246                     GOOG-DOJ-04736248                          Google document                                            Highly Confidential
     PTX0859           10/1/2019 3:45    GOOG-DOJ-AT-02148045                  GOOG-DOJ-AT-02148047                       Google document                                            Highly Confidential
     PTX0860           10/1/2019 6:24    GOOG-DOJ-12059682                     GOOG-DOJ-12059687                          Google document                                            Highly Confidential
     PTX0861           10/1/2019 14:08   GOOG-DOJ-15772422                     GOOG-DOJ-15772488                          Google document                                            Highly Confidential
     PTX0862           10/1/2019 23:00   GOOG-DOJ-03156193                     GOOG-DOJ-03156193                          Google document                                            Highly Confidential
     PTX0863           10/2/2019 18:14   GOOG-DOJ-AT-00573670                  GOOG-DOJ-AT-00573671                       Google document                                            Highly Confidential
     PTX0864           10/3/2019 13:02   GOOG-AT-MDL-007344222                 GOOG-AT-MDL-007344225                      Email from Chris LaSala to Jason Spero                     Confidential
     PTX0865           10/3/2019 16:22   GOOG-AT-MDL-001417312                 GOOG-AT-MDL-001417317                      Email from Kurt Spoerer to Alok Sheth et al.               Confidential
     PTX0866           10/3/2019 17:46   GOOG-DOJ-03641972                     GOOG-DOJ-03641995                          Google presentation                                        Highly Confidential



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     PTX0867           10/4/2019 6:57     GOOG-DOJ-14298902                    GOOG-DOJ-14298917                          Google presentation                                        Highly Confidential
     PTX0868           10/7/2019 0:22     GOOG-DOJ-09715248                    GOOG-DOJ-09715268                          Google presentation                                        Highly Confidential
     PTX0869           10/8/2019 16:21    GOOG-DOJ-32022520                    GOOG-DOJ-32022527                          Email from Rob Hazan to Kurt Spoerer et al.                Confidential
     PTX0870           10/8/2019 19:53    GOOG-DOJ-32022536                    GOOG-DOJ-32022543                          Email from Alok Sheth to Alexander Belikoff et al.         Confidential
     PTX0871           10/9/2019 1:46     GOOG-DOJ-32022555                    GOOG-DOJ-32022563                          Email from Alok Sheth to Rahul Srinivasan et al.           Confidential
     PTX0872           10/9/2019 2:12     GOOG-DOJ-32022564                    GOOG-DOJ-32022572                          Email from Nitish Korula to Alok Sheth et al.              Confidential
     PTX0873           10/9/2019 12:32    GOOG-DOJ-32022582                    GOOG-DOJ-32022591                          Email from Glenn Berntson to Kurt Spoerer et al.           Confidential
     PTX0874           10/10/2019 20:15   GOOG-DOJ-27767851                    GOOG-DOJ-27767857                          Email from Aaron Kasman to Natalia Bergamaschi et al.      Confidential
     PTX0875           10/11/2019 0:00    GOOG-DOJ-AT-01849832                 GOOG-DOJ-AT-01849833                       Email from David Goodman to Steven Shin et al.             Highly Confidential
     PTX0876           10/12/2019 0:32    GOOG-DOJ-12764044                    GOOG-DOJ-12764051                          Google document                                            Highly Confidential
     PTX0877           10/14/2019 21:27   GOOG-TEX-00841210                    GOOG-TEX-00841212                          Message from Nitish Korula to Rahul Srinivasan             Highly Confidential
     PTX0878           10/16/2019 20:44   GOOG-DOJ-AT-00475378                 GOOG-DOJ-AT-00475417                       Google presentation                                        Highly Confidential
     PTX0879           10/17/2019 1:13    GOOG-DOJ-AT-00832761                 GOOG-DOJ-AT-00832797                       Google presentation                                        Highly Confidential
     PTX0880           10/18/2019 14:10   GOOG-DOJ-04387378                    GOOG-DOJ-04387408                          Google presentation                                        Highly Confidential
     PTX0881           10/18/2019 14:10   GOOG-DOJ-AT-01811246                 GOOG-DOJ-AT-01811276                       Google presentation                                        Highly Confidential
     PTX0882           10/21/2019 20:48   GOOG-DOJ-AT-00045716                 GOOG-DOJ-AT-00045731                       Google document                                            Highly Confidential
     PTX0883           10/23/2019 14:40   GOOG-DOJ-AT-00292252                 GOOG-DOJ-AT-00292275                       Google presentation                                        Highly Confidential
     PTX0884           10/23/2019 15:58   GOOG-AT-MDL-008991249                GOOG-AT-MDL-008991251                      Email from Rahul Srinivasan to Chris Jenkins et al.        Highly Confidential
     PTX0885           10/23/2019 16:34   GOOG-DOJ-AT-01132905                 GOOG-DOJ-AT-01132909                       Email from David Garcia to Giulio Minguzzi et al.          Highly Confidential
     PTX0886           10/23/2019 16:34   GOOG-AT-MDL-008991256                GOOG-AT-MDL-008991260                      Email from David Garcia to Giulio Minguzzi et al.          Highly Confidential
     PTX0887           10/25/2019 19:45   GOOG-DOJ-13503400                    GOOG-DOJ-13503405                          Google document                                            Highly Confidential
     PTX0888           10/29/2019 21:17   GOOG-DOJ-07294164                    GOOG-DOJ-07294220                          Google presentation                                        Highly Confidential
     PTX0889           11/5/2019 18:27    GOOG-DOJ-09434884                    GOOG-DOJ-09434891                          Google document                                            Highly Confidential
     PTX0890           11/7/2019 3:16     GOOG-DOJ-AT-02150100                 GOOG-DOJ-AT-02150101                       Google document                                            Highly Confidential
     PTX0891           11/12/2019 20:59   GOOG-AT-MDL-B-003992377              GOOG-AT-MDL-B-003992377                    Message from Nitish Korula to Jonathan Pearson et al.      Highly Confidential
     PTX0892           11/15/2019 12:26   GOOG-DOJ-11728951                    GOOG-DOJ-11729001                          Google presentation                                        Highly Confidential
     PTX0893           11/22/2019 12:00   GOOG-DOJ-05782415                    GOOG-DOJ-05782460-017                      Google document                                            Highly Confidential
     PTX0894           11/22/2019 18:34   GOOG-DOJ-10667017                    GOOG-DOJ-10667018                          Email from Jim Garrison to Yumin Guo et al.                Highly Confidential
     PTX0895           11/25/2019 22:18   GOOG-AT-MDL-001397473                GOOG-AT-MDL-001397485                      Google document                                            Confidential
     PTX0896           12/3/2019 19:24    GOOG-AT-MDL-B-004309756              GOOG-AT-MDL-B-004309756                    Message from Cyrus Beagley to Bonita Stewart               Highly Confidential
     PTX0897           12/4/2019 13:24    GOOG-DOJ-10422489                    GOOG-DOJ-10422489                          Email from Ali Nasiri Amini to Duke Dukellis et al.        Highly Confidential
     PTX0898           12/9/2019 13:52    GOOG-DOJ-11792911                    GOOG-DOJ-11792917                          Google presentation                                        Highly Confidential
     PTX0899           12/9/2019 15:57    GOOG-DOJ-12799286                    GOOG-DOJ-12799316                          Google presentation                                        Highly Confidential
     PTX0900           12/11/2019 22:00   GOOG-DOJ-AT-02275835                 GOOG-DOJ-AT-02275845                       Email from Jason Sigalos to Atoshi Shorey et al.           Highly Confidential
     PTX0901           12/16/2019 21:14   GOOG-DOJ-AT-01479985                 GOOG-DOJ-AT-01480004                       Google document                                            Highly Confidential
     PTX0902           12/17/2019 16:03   GOOG-DOJ-11147504                    GOOG-DOJ-11147506                          Email from Vlad Sinaniyev to Peentoo Patel et al.          Highly Confidential
     PTX0903           12/18/2019 2:35    GOOG-AT-MDL-B-004482111              GOOG-AT-MDL-B-004482113                    Message from Nitish Korula to Deepak Ravichandran          Highly Confidential
     PTX0904           12/20/2019 14:37   GOOG-DOJ-AT-01592535                 GOOG-DOJ-AT-01592577                       Google presentation                                        Highly Confidential
     PTX0905           12/31/2019 0:00    GOOG1-00005951                       GOOG1-00005959                             Google document                                            Confidential
     PTX0906           1/6/2020 18:28     GOOG-DOJ-AT-02276219                 GOOG-DOJ-AT-02276230                       Email from Atoshi Shorey to Sneh Prateek et al.            Highly Confidential
     PTX0907           1/14/2020 16:10    GOOG-DOJ-AT-01018638                 GOOG-DOJ-AT-01018640                       Message from Nitish Korula to Justin Schuh et al.          Highly Confidential
     PTX0908           1/14/2020 16:10    GOOG-AT-MDL-011213261                GOOG-AT-MDL-011213263                      Message from Nitish Korula to Justin Schuh et al.          Confidential
     PTX0909           1/14/2020 16:10    GOOG-AT-MDL-B-003871438              GOOG-AT-MDL-B-003871440                    Message from Nitish Korula to Justin Schuh et al.          Highly Confidential
     PTX0910           1/14/2020 16:10    GOOG-AT-MDL-B-003992529              GOOG-AT-MDL-B-003992531                    Message from Nitish Korula to Justin Schuh et al.          Highly Confidential
     PTX0911           1/14/2020 16:10    GOOG-AT-MDL-B-003992532              GOOG-AT-MDL-B-003992539                    Message from Nitish Korula to Deepak Ravichandran et al.   Highly Confidential
     PTX0912           1/15/2020 18:14    GOOG-DOJ-10308470                    GOOG-DOJ-10308476                          Google document                                            Highly Confidential



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     PTX0913           1/22/2020 23:31   GOOG-DOJ-14549757                    GOOG-DOJ-14549797                          Google presentation                                    Highly Confidential
     PTX0914           1/27/2020 19:36   GOOG-AT-MDL-004059508                GOOG-AT-MDL-004059515                      Google document                                        Confidential
     PTX0915           1/28/2020 16:35   GOOG-DOJ-10963068                    GOOG-DOJ-10963072                          Email from Chris LaSala to Jason Spero et al.          Highly Confidential
     PTX0916           1/29/2020 14:37   GOOG-DOJ-11794721                    GOOG-DOJ-11794756                          Google presentation                                    Highly Confidential
     PTX0917           1/30/2020 18:17   GOOG-DOJ-09559968                    GOOG-DOJ-09560022                          Google presentation                                    Highly Confidential
     PTX0918           1/30/2020 23:19   GOOG-AT-MDL-012516284                GOOG-AT-MDL-012516285                      Email from Chris Lee-Egan to Industryinfo et al.       Highly Confidential
     PTX0919           1/30/2020 23:22   GOOG-AT-MDL-012516286                GOOG-AT-MDL-012516288                      Email from Tyler Romeo to Chris Lee-Egan et al.        Highly Confidential
     PTX0920           1/30/2020 23:26   GOOG-AT-MDL-012516289                GOOG-AT-MDL-012516290                      Email from Sami Liedes to Chris Lee-Egan et al.        Highly Confidential
     PTX0921           1/30/2020 23:27   GOOG-AT-MDL-012516291                GOOG-AT-MDL-012516293                      Email from Matt Shubert to Tyler Romeo et al.          Highly Confidential
     PTX0922           1/30/2020 23:31   GOOG-AT-MDL-012516294                GOOG-AT-MDL-012516296                      Email from Yurii Zubrytskyi to Matt Shubert et al.     Highly Confidential
     PTX0923           1/31/2020 0:05    GOOG-AT-MDL-012516297                GOOG-AT-MDL-012516300                      Email from Cory Slep to Yurii Zubrytskyi et al.        Highly Confidential
     PTX0924           2/3/2020 16:46    GOOG-AT-MDL-012516308                GOOG-AT-MDL-012516311                      Email from Chris Lee-Egan to Cory Slep et al.          Highly Confidential
     PTX0925           2/4/2020 21:24    GOOG-DOJ-27768441                    GOOG-DOJ-27768442                          Email from Chris LaSala to Jason Spero et al.          Confidential
     PTX0926           2/6/2020 0:00     GOOG-DOJ-AT-00046252                 GOOG-DOJ-AT-00046252                       Email from Giulio Minguzzi to Nancy Yoo et al.         Highly Confidential
     PTX0927           2/6/2020 0:00     GOOG-DOJ-AT-00046256                 GOOG-DOJ-AT-00046257                       Email from Chris LaSala to Bonita Stewart et al.       Highly Confidential
     PTX0928           2/6/2020 23:48    GOOG-DOJ-09779876                    GOOG-DOJ-09779881                          Google document                                        Highly Confidential
     PTX0929           2/7/2020 11:39    GOOG-DOJ-AT-00575797                 GOOG-DOJ-AT-00575798                       Email from Casper Verhoofstad to Ehsan Maani et al.    Highly Confidential
     PTX0930           2/7/2020 16:44    GOOG-AT-MDL-007336172                GOOG-AT-MDL-007336173                      Email from Giulio Minguzzi to Jennifer Cooper et al.   Confidential
     PTX0931           2/9/2020 18:03    GOOG-AT-MDL-008388423                GOOG-AT-MDL-008388423                      Message from Brad Lassey to Justin Schuh et al.        Confidential
     PTX0932           2/9/2020 18:03    GOOG-AT-MDL-B-004439252              GOOG-AT-MDL-B-004439253                    Message from Brad Lassey to Chetna Bindra et al.       Highly Confidential
     PTX0933           2/11/2020 19:00   GOOG-DOJ-10310183                    GOOG-DOJ-10310183                          Message from Nitish Korula to Gregory Donaker et al.   Highly Confidential
     PTX0934           2/14/2020 8:39    GOOG-DOJ-10963387                    GOOG-DOJ-10963403                          Google document                                        Highly Confidential
     PTX0935           2/18/2020 18:24   GOOG-DOJ-10310865                    GOOG-DOJ-10310868                          Email from Deepti Bhatnagar to Carl Burch et al.       Highly Confidential
     PTX0936           2/18/2020 18:24   GOOG-DOJ-15159418                    GOOG-DOJ-15159421                          Email from Deepti Bhatnagar to Carl Burch et al.       Highly Confidential
     PTX0937           2/18/2020 20:47   GOOG-DOJ-27799214                    GOOG-DOJ-27799237                          Google presentation                                    Confidential
     PTX0938           2/18/2020 22:29   GOOG-DOJ-AT-01458263                 GOOG-DOJ-AT-01458275                       Google document                                        Highly Confidential
     PTX0939           2/19/2020 17:22   GOOG-AT-MDL-004326981                GOOG-AT-MDL-004327016                      Google presentation                                    Highly Confidential
     PTX0940           2/21/2020 15:12   GOOG-DOJ-12766268                    GOOG-DOJ-12766293                          Google document                                        Highly Confidential
     PTX0941           2/21/2020 20:53   GOOG-DOJ-29671819                    GOOG-DOJ-29671821                          Google document                                        Confidential
     PTX0942           2/22/2020 0:46    GOOG-DOJ-11733552                    GOOG-DOJ-11733585                          Google presentation                                    Highly Confidential
     PTX0943           2/24/2020 1:49    GOOG-DOJ-AT-01020260                 GOOG-DOJ-AT-01020277                       Google presentation                                    Highly Confidential
     PTX0944           2/25/2020 18:36   GOOG-DOJ-AT-00576527                 GOOG-DOJ-AT-00576551                       Google presentation                                    Highly Confidential
     PTX0945           2/26/2020 16:16   GOOG-DOJ-13233139                    GOOG-DOJ-13233144                          Google document                                        Highly Confidential
     PTX0946           2/27/2020 17:29   GOOG-DOJ-AT-00855803                 GOOG-DOJ-AT-00855813                       Google presentation                                    Highly Confidential
     PTX0947           3/3/2020 18:20    GOOG-AT-MDL-B-004482114              GOOG-AT-MDL-B-004482114                    Message from Nirmal Jayaram to Nitish Korula           Highly Confidential
     PTX0948           3/6/2020 21:43    GOOG-DOJ-15257906                    GOOG-DOJ-15257919                          Google presentation                                    Highly Confidential
     PTX0949           3/16/2020 17:29   GOOG-DOJ-AT-00657480                 GOOG-DOJ-AT-00657483                       Message from Nitish Korula to Noam Wolf et al.         Highly Confidential
     PTX0950           3/26/2020 12:37   GOOG-DOJ-AT-00545771                 GOOG-DOJ-AT-00545779                       Email from Rob Malkin to Ryan Haggarty et al.          Highly Confidential
     PTX0951           3/27/2020 18:53   GOOG-DOJ-AT-01033363                 GOOG-DOJ-AT-01033368                       Google document                                        Highly Confidential
     PTX0952           3/30/2020 16:57   GOOG-DOJ-AT-01687149                 GOOG-DOJ-AT-01687151                       Email from George Levitte to Uchechi Okereke et al.    Highly Confidential
     PTX0953           3/30/2020 22:22   GOOG-AT-MDL-001391532                GOOG-AT-MDL-001391545                      Google document                                        Highly Confidential
     PTX0954           4/2/2020 17:36    GOOG-DOJ-13420249                    GOOG-DOJ-13420253                          Google document                                        Highly Confidential
     PTX0955           4/2/2020 21:41    GOOG-DOJ-AT-02221430                 GOOG-DOJ-AT-02221439                       Google document                                        Highly Confidential
     PTX0956           4/3/2020 16:16    GOOG-DOJ-15159832                    GOOG-DOJ-15159881                          Google presentation                                    Highly Confidential
     PTX0957           4/9/2020 17:00    GOOG-DOJ-AT-01155096                 GOOG-DOJ-AT-01155105                       Google document                                        Highly Confidential
     PTX0958           4/13/2020 19:33   GOOG-DOJ-15231673                    GOOG-DOJ-15231679                          Google document                                        Highly Confidential



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     PTX0959           4/16/2020 21:43    GOOG-AT-MDL-B-004482121              GOOG-AT-MDL-B-004482121                    Message from Nitish Korula to Abhita Chugh                   Highly Confidential
     PTX0960           4/28/2020 18:51    GOOG-AT-MDL-006507508                GOOG-AT-MDL-006507509                      Google document                                              Confidential
     PTX0961           5/1/2020 0:12      GOOG-DOJ-15269440                    GOOG-DOJ-15269443                          Google document                                              Highly Confidential
     PTX0962           5/5/2020 14:31     GOOG-DOJ-AT-01826536                 GOOG-DOJ-AT-01826552                       Email from Chris LaSala to Keith Weisberg                    Highly Confidential
     PTX0963           5/7/2020 12:38     GOOG-AT-MDL-004436650                GOOG-AT-MDL-004436670                      Email from Nitish Korula to Charlie Reams, with attachment   Confidential
     PTX0964           5/24/2020 23:05    GOOG-DOJ-15159990                    GOOG-DOJ-15160027                          Google presentation                                          Highly Confidential
     PTX0965           6/3/2020 23:43     GOOG-DOJ-AT-00858505                 GOOG-DOJ-AT-00858508                       Google document                                              Highly Confidential
     PTX0966           6/8/2020 19:03     GOOG-DOJ-13980360                    GOOG-DOJ-13980364                          Google document                                              Highly Confidential
     PTX0967           6/9/2020 14:51     GOOG-AT-MDL-011555914                GOOG-AT-MDL-011555922                      Message from Noam Wolf to Nitish Korula et al.               Confidential
     PTX0968           6/10/2020 17:15    GOOG-AT-MDL-011555941                GOOG-AT-MDL-011555941                      Message from Nitish Korula to Steve Swan                     Confidential
     PTX0969           6/10/2020 19:45    GOOG-DOJ-13235212                    GOOG-DOJ-13235382                          Google presentation                                          Highly Confidential
     PTX0970           6/11/2020 19:34    GOOG-AT-MDL-009758672                GOOG-AT-MDL-009758674                      Google presentation                                          Highly Confidential
     PTX0971           6/15/2020 5:54     GOOG-DOJ-32280764                    GOOG-DOJ-32280772                          Google document                                              Confidential
     PTX0972           6/20/2020 2:30     GOOG-AT-MDL-019521344                GOOG-AT-MDL-019521345                      Email from Ali Nasiri Amini to Sissie Hsiao et al.           Highly Confidential
                                                                                                                          Google webpage titled “How our display buying platforms
     PTX0973
                       6/23/2020                                                                                          share revenue with publishers”
     PTX0974           6/23/2020 21:36    GOOG-AT-MDL-007188258                GOOG-AT-MDL-007188258                      Google spreadsheet                                           Confidential
     PTX0975           6/30/2020 18:16    GOOG-AT-MDL-B-004482122              GOOG-AT-MDL-B-004482122                    Message from Nitish Korula to Alok Sheth                     Highly Confidential
     PTX0976           7/17/2020 17:24    GOOG-DOJ-AT-00288371                 GOOG-DOJ-AT-00288393                       Google document                                              Highly Confidential
     PTX0977           7/24/2020 18:16    GOOG-AT-MDL-008666769                GOOG-AT-MDL-008666769                      Google spreadsheet                                           Confidential
     PTX0978           7/27/2020 18:20    GOOG-DOJ-14436571                    GOOG-DOJ-14436626                          Google presentation                                          Highly Confidential
     PTX0979           8/3/2020 17:31     GOOG-DOJ-AT-01683587                 GOOG-DOJ-AT-01683592                       Google document                                              Highly Confidential
     PTX0980           8/4/2020 17:39     GOOG-AT-MDL-016094163                GOOG-AT-MDL-016094167                      Google document                                              Confidential
     PTX0981           8/13/2020 14:44    GOOG-DOJ-AT-02641400                 GOOG-DOJ-AT-02641400                       Google spreadsheet                                           Highly Confidential
     PTX0982           8/13/2020 16:01    GOOG-DOJ-AT-01511990                 GOOG-DOJ-AT-01512004                       Google document                                              Highly Confidential
     PTX0983           8/19/2020 16:35    GOOG-AT-MDL-015525071                GOOG-AT-MDL-015525077                      Email from Vidhya Srinivasan to Jerry Dischler et al.        Confidential
     PTX0984           8/20/2020 14:20    GOOG-AT-MDL-004522085                GOOG-AT-MDL-004522129                      Google presentation                                          Confidential
     PTX0985           8/22/2020 7:38     GOOG-DOJ-AT-01131007                 GOOG-DOJ-AT-01131008                       Google document                                              Highly Confidential
     PTX0986           8/24/2020 14:51    GOOG-AT-MDL-000034633                GOOG-AT-MDL-000034634                      Email from Brett Benowitz to Benjamin Miller et al.          Confidential
     PTX0987           8/25/2020 15:44    GOOG-AT-MDL-B-003880468              GOOG-AT-MDL-B-003880483                    Message from Emily Kang to Aemilios Melis et al.             Highly Confidential
     PTX0988           8/26/2020 6:40     GOOG-DOJ-13127211                    GOOG-DOJ-13127221                          Google document                                              Highly Confidential
     PTX0989           9/1/2020 19:06     GOOG-DOJ-AT-00095374                 GOOG-DOJ-AT-00095379                       Message from Ali Nasiri Amini to Nitish Korula               Highly Confidential
     PTX0990           9/2/2020 20:21     GOOG-DOJ-AT-00859969                 GOOG-DOJ-AT-00859969                       Email from Nirmal Jayaram to Sissie Hsiao                    Highly Confidential
     PTX0991           9/10/2020 18:04    GOOG-AT-MDL-004528300                GOOG-AT-MDL-004528327                      Google presentation                                          Highly Confidential
     PTX0992           9/16/2020 14:38    GOOG-DOJ-AT-01828942                 GOOG-DOJ-AT-01828943                       Message from Chris LaSala to Nash Islam                      Highly Confidential
     PTX0993           9/24/2020 0:55     GOOG-AT-MDL-003977297                GOOG-AT-MDL-003977506                      Google presentation                                          Highly Confidential
     PTX0994           9/30/2020 21:15    GOOG-DOJ-AT-00620243                 GOOG-DOJ-AT-00620247                       Email from Andrew Hogue to Nitish Korula et al.              Highly Confidential
     PTX0995           10/12/2020 17:51   GOOG-DOJ-AT-00198548                 GOOG-DOJ-AT-00198553                       Message from Nitish Korula to Chetna Bindra                  Highly Confidential
     PTX0996           10/19/2020 15:48   GOOG-DOJ-AT-00010835                 GOOG-DOJ-AT-00010838                       Email from Bonita Stewart to German Santana                  Highly Confidential
     PTX0997           10/21/2020 1:55    GOOG-DOJ-AT-02641389                 GOOG-DOJ-AT-02641396                       Email from Chi Hea Cho to Pstaff et al.                      Highly Confidential
     PTX0998           10/21/2020 19:10   GOOG-DOJ-AT-01815504                 GOOG-DOJ-AT-01815572                       Google presentation                                          Highly Confidential
     PTX0999           10/29/2020 0:00    GOOG-AT-MDL-B-004731760              GOOG-AT-MDL-B-004731773                    Google presentation                                          Highly Confidential
     PTX1000           10/29/2020 16:44   GOOG-AT-MDL-014680318                GOOG-AT-MDL-014680320                      Message from Vidhya Srinivasan to Christophe Combette        Confidential
     PTX1001           10/29/2020 23:49   GOOG-AT-MDL-007988633                GOOG-AT-MDL-007988640                      Google document                                              Highly Confidential
     PTX1002           10/30/2020 0:59    GOOG-AT-MDL-019177661                GOOG-AT-MDL-019177674                      Google presentation                                          Highly Confidential
     PTX1003           11/5/2020 21:57    GOOG-AT-MDL-004436720                GOOG-AT-MDL-004436755                      Google document                                              Confidential



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     PTX1004           11/30/2020 0:00    GOOG-DOJ-AT-01830500                 GOOG-DOJ-AT-01830504                       Email from Chris LaSala to Chetna Bindra et al.          Highly Confidential
     PTX1005           12/14/2020 15:32   GOOG-AT-MDL-012138433                GOOG-AT-MDL-012138433                      Google spreadsheet                                       Highly Confidential
     PTX1006           1/9/2021 2:10      GOOG-DOJ-AT-02129456                 GOOG-DOJ-AT-02129470                       Email from Richard Zippel to Yuwen Liu et al.            Highly Confidential
     PTX1007           1/17/2021 23:21    GOOG-AT-MDL-008162765                GOOG-AT-MDL-008162766                      Email from Suzanne Blackburn to Sissie Hsiao et al.      Highly Confidential
     PTX1008           1/26/2021 0:23     GOOG-DOJ-AT-02224349                 GOOG-DOJ-AT-02224354                       Google document                                          Highly Confidential
     PTX1009           1/27/2021 15:22    GOOG-AT-MDL-B-004441375              GOOG-AT-MDL-B-004441375                    Message from Kevin Smilak to Erika Trautman et al.       Highly Confidential
     PTX1010           1/29/2021 16:48    GOOG-DOJ-AT-00029029                 GOOG-DOJ-AT-00029040                       Google document                                          Highly Confidential
     PTX1011           2/5/2021 21:30     GOOG-AT-MDL-009583794                GOOG-AT-MDL-009583798                      Google document                                          Confidential
     PTX1012           2/16/2021 20:27    GOOG-DOJ-AT-00330626                 GOOG-DOJ-AT-00330692                       Google presentation                                      Highly Confidential
     PTX1013           2/19/2021 13:24    GOOG-DOJ-AT-01131595                 GOOG-DOJ-AT-01131598                       Google document                                          Highly Confidential
     PTX1014           2/25/2021 15:26    GOOG-DOJ-AT-01782271                 GOOG-DOJ-AT-01782273                       Google document                                          Highly Confidential
     PTX1015           2/25/2021 19:02    GOOG-AT-MDL-006508384                GOOG-AT-MDL-006508385                      Google document                                          Confidential
     PTX1016           3/1/2021 23:49     GOOG-AT-MDL-002358894                GOOG-AT-MDL-002358899                      Google document                                          Highly Confidential
     PTX1017           3/2/2021 20:17     GOOG-DOJ-AT-02003161                 GOOG-DOJ-AT-02003173                       Google presentation                                      Highly Confidential
     PTX1018           3/2/2021 20:24     GOOG-AT-MDL-011652369                GOOG-AT-MDL-011652580                      Google document                                          Highly Confidential
     PTX1019           3/4/2021 16:16     GOOG-AT-MDL-011558460                GOOG-AT-MDL-011558464                      Message from Google employee to Dale Harrison            Confidential
     PTX1020           3/4/2021 16:16     GOOG-AT-MDL-018460922                GOOG-AT-MDL-018460924                      Message from Google employee to Dale Harrison            Highly Confidential
     PTX1021           3/16/2021 15:25    GOOG-DOJ-AT-01537917                 GOOG-DOJ-AT-01537925                       Google document                                          Highly Confidential
     PTX1022           4/1/2021 15:20     GOOG-AT-MDL-009584025                GOOG-AT-MDL-009584035                      Message from Dan Taylor to Chris LaSala                  Confidential
                                                                                                                          Pew Research Center Report titled “Social Media Use in
     PTX1023
                       4/7/2021                                                                                           2021”
     PTX1024           4/10/2021 23:57    GOOG-AT-MDL-019516657                GOOG-AT-MDL-019516658                      Email from Ali Nasiri Amini to Nitish Korula et al.      Highly Confidential
     PTX1025           4/12/2021 3:42     GOOG-AT-MDL-003285718                GOOG-AT-MDL-003285718                      Email from Nirmal Jayaram to Matt Wong et al.            Confidential
     PTX1026           4/12/2021 22:05    GOOG-AT-MDL-019465728                GOOG-AT-MDL-019465732                      Email from Charlotte Smith to Jerry Dischler et al.      Highly Confidential
     PTX1027           4/22/2021 13:40    GOOG-AT-MDL-006636158                GOOG-AT-MDL-006636160                      Email from Jessica Nussbaum to Lior Shenkar et al.       Highly Confidential
     PTX1028           4/26/2021 6:04     GOOG-AT-MDL-008880243                GOOG-AT-MDL-008880252                      Google document                                          Confidential
     PTX1029           5/10/2021 15:05    GOOG-AT-MDL-011619755                GOOG-AT-MDL-011619756                      Google document                                          Confidential
     PTX1030           5/17/2021 19:47    GOOG-AT-MDL-006508442                GOOG-AT-MDL-006508453                      Google document                                          Highly Confidential
     PTX1031           5/26/2021 8:16     GOOG-DOJ-AT-02199478                 GOOG-DOJ-AT-02199555                       Google presentation                                      Highly Confidential
     PTX1032           6/2/2021 21:29     GOOG-DOJ-AT-02096682                 GOOG-DOJ-AT-02096692                       Google document                                          Highly Confidential
                                                                                                                          Message involving Jim Giles, Aparna Pappu, and other
     PTX1033
                       6/10/2021 17:09    GOOG-AT-MDL-010777654                GOOG-AT-MDL-010777658                      Google employees                                         Confidential
     PTX1034           6/28/2021 19:59    GOOG-DOJ-AT-02301558                 GOOG-DOJ-AT-02301626                       Google presentation                                      Highly Confidential
     PTX1035           6/28/2021 20:00    GOOG-DOJ-AT-02204351                 GOOG-DOJ-AT-02204391                       Google presentation                                      Highly Confidential
     PTX1036           7/13/2021 17:19    GOOG-AT-MDL-004549901                GOOG-AT-MDL-004549902                      Google document                                          Highly Confidential
     PTX1037           7/16/2021 13:19    GOOG-AT-MDL-007363675                GOOG-AT-MDL-007363675-004                  Email from Charlotte Smith to Jerry Dischler et al.      Highly Confidential
     PTX1038           7/27/2021 17:00    GOOG-AT-MDL-B-004440060              GOOG-AT-MDL-B-004440060                    Message from Google employee to Jerry Dischler et al.    Highly Confidential
     PTX1039           7/27/2021 18:17    GOOG-AT-MDL-003404357                GOOG-AT-MDL-003404362                      Email from Tim Craycroft to Ashish Gupta                 Highly Confidential
     PTX1040           8/4/2021 0:51      GOOG-DOJ-AT-02321262                 GOOG-DOJ-AT-02321272                       Google document                                          Highly Confidential
     PTX1041           9/14/2021 13:49    GOOG-AT-MDL-003404482                GOOG-AT-MDL-003404485                      Google document                                          Highly Confidential
     PTX1042           9/15/2021 17:55    GOOG-AT-MDL-006690144                GOOG-AT-MDL-006690156                      Google document                                          Highly Confidential
     PTX1043           9/21/2021 14:28    GOOG-AT-MDL-009758848                GOOG-AT-MDL-009758857                      Google presentation                                      Confidential
     PTX1044           9/23/2021 3:55     GOOG-AT-MDL-006778556                GOOG-AT-MDL-006778634                      Google presentation                                      Highly Confidential
     PTX1045           9/23/2021 9:35     GOOG-AT-MDL-006609824                GOOG-AT-MDL-006609880                      Google presentation                                      Highly Confidential
     PTX1046           10/5/2021 0:47     GOOG-DOJ-AT-02517083                 GOOG-DOJ-AT-02517083                       Google document                                          Highly Confidential
     PTX1047           10/27/2021 16:32   GOOG-AT-MDL-000888797                GOOG-AT-MDL-000888808                      Google document                                          Confidential



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                                                                                                                          Email from Google employee to Carlos Granda et al., with
     PTX1048
                       11/2/2021 15:16    GOOG-AT-MDL-007373729                GOOG-AT-MDL-007373736                      attachments                                                Confidential
                                                                                                                          Email from Krishna Brown to Katie Baxter et al., with
     PTX1049
                       11/30/2021 0:00    GOOG-AT-MDL-004388403                GOOG-AT-MDL-004388419                      attachments                                                Highly Confidential
     PTX1050           12/1/2021 14:15    GOOG-AT-MDL-004379104                GOOG-AT-MDL-004379107                      Email from Alyssa Raiola to Taylor Rizzolino et al.        Confidential
     PTX1051           12/13/2021 14:39   GOOG-AT-MDL-017319069                GOOG-AT-MDL-017319142                      Google document                                            Highly Confidential
                                                                                                                          Email from Karsten Venna to Micah Markman et al., with
     PTX1052
                       12/14/2021 0:00    GOOG-AT-MDL-008313255                GOOG-AT-MDL-008313280                      attachment                                                 Highly Confidential
                                                                                                                          Email from Sabrina Abuzahra to Aaron Storer et al., with
     PTX1053
                       1/13/2022 0:00     GOOG-AT-MDL-004388616                GOOG-AT-MDL-004388672                      attachment                                                 Highly Confidential
     PTX1054           2/14/2022 17:14    GOOG-AT-MDL-004550123                GOOG-AT-MDL-004550125                      Google document                                            Highly Confidential
     PTX1055           2/24/2022 18:29    GOOG-AT-MDL-007319340                GOOG-AT-MDL-007319348                      Google document                                            Highly Confidential
     PTX1056           3/8/2022 17:04     GOOG-AT-MDL-004653519                GOOG-AT-MDL-004653526                      Email from Alyssa Raiola to Michael Brunner et al.         Confidential
     PTX1057           3/17/2022 16:12    GOOG-AT-MDL-015177997                GOOG-AT-MDL-015177997                      Message from Rahul Kooverjee to Rahul Kooverjee            Confidential
     PTX1058           3/30/2022 20:37    GOOG-AT-MDL-015178119                GOOG-AT-MDL-015178119                      Message from Rahul Kooverjee to Rahul Kooverjee            Confidential
     PTX1059           5/18/2022 0:07     GOOG-AT-MDL-006193952                GOOG-AT-MDL-006194001                      Google presentation                                        Highly Confidential
     PTX1060           5/20/2022 0:00     GOOG-AT-MDL-019567369                GOOG-AT-MDL-019567376                      Google document                                            Highly Confidential
     PTX1061           5/31/2022 17:15    GOOG-AT-MDL-006787466                GOOG-AT-MDL-006787471                      Email from Michelle Hinkes to Sabrina Abuzahra et al.      Confidential
     PTX1062           6/13/2022 13:45    GOOG-AT-MDL-004550185                GOOG-AT-MDL-004550186                      Email from Danielle Perrella to Melanie Nash et al.        Confidential
     PTX1063           6/27/2022 16:24    GOOG-AT-MDL-019357807                GOOG-AT-MDL-019357810                      Google document                                            Highly Confidential
     PTX1064           6/30/2022 21:03    GOOG-AT-MDL-004568578                GOOG-AT-MDL-004568635                      Google presentation                                        Highly Confidential
     PTX1065           7/22/2022 20:43    GOOG-AT-MDL-004347222                GOOG-AT-MDL-004347222                      Google document                                            Highly Confidential
     PTX1066           7/29/2022 21:32    GOOG-AT-MDL-010525663                GOOG-AT-MDL-010525897                      Email withheld for privilege with attachments              Highly Confidential
     PTX1067           7/31/2022 3:55     GOOG-AT-MDL-002641400                GOOG-AT-MDL-002641407                      Email from Sushrut Karanjkar to Madeline Briere et al.     Confidential
     PTX1068           8/1/2022 14:27     GOOG-AT-MDL-001970341                GOOG-AT-MDL-001970358                      Google document                                            Highly Confidential
     PTX1069           8/8/2022 21:15     GOOG-AT-MDL-008885721                GOOG-AT-MDL-008885757                      Google document                                            Highly Confidential
     PTX1070           8/16/2022 18:30    GOOG-AT-MDL-008520405                GOOG-AT-MDL-008520407                      Messages involving various Google employees                Confidential
     PTX1071           8/19/2022 14:54    GOOG-AT-MDL-006156098                GOOG-AT-MDL-006156131                      Google presentation                                        Confidential
     PTX1072           8/21/2022 22:31    GOOG-AT-MDL-018529126                GOOG-AT-MDL-018529133                      Google document                                            Highly Confidential
     PTX1073           9/16/2022 21:04    GOOG-AT-MDL-010523721                GOOG-AT-MDL-010523743                      Google presentation                                        Confidential
     PTX1074           9/20/2022 13:36    GOOG-AT-MDL-001793318                GOOG-AT-MDL-001793375                      Google presentation                                        Highly Confidential
     PTX1075           9/20/2022 17:27    GOOG-AT-MDL-008227470                GOOG-AT-MDL-008227470                      Google spreadsheet                                         Highly Confidential
     PTX1076           9/26/2022 22:20    GOOG-AT-MDL-006816357                GOOG-AT-MDL-006816383                      Google presentation                                        Highly Confidential
     PTX1077           10/21/2022 16:21   GOOG-AT-MDL-008891508                GOOG-AT-MDL-008891508                      Email from Allie Bodack to Jerry Dischler et al.           Highly Confidential
     PTX1078           10/21/2022 17:06   GOOG-AT-MDL-008891509                GOOG-AT-MDL-008891509                      Email from Jerry Dischler to Allie Bodack et al.           Highly Confidential
     PTX1079           10/26/2022 14:12   GOOG-AT-MDL-001849256                GOOG-AT-MDL-001849258                      Email from Alex Propes to Dan Taylor et al.                Confidential
     PTX1080           10/28/2022 0:00    GOOG-DOJ-AT-02645892                 GOOG-DOJ-AT-02645892                       Google spreadsheet                                         Highly Confidential
     PTX1081           10/31/2022 18:43   GOOG-AT-MDL-008863320                GOOG-AT-MDL-008863322                      Email from Ted Lazarus to Allie Bodack et al.              Confidential
     PTX1082           11/1/2022 12:56    GOOG-AT-MDL-008891538                GOOG-AT-MDL-008891543                      Email from Allie Bodack to Ted Lazarus et al.              Highly Confidential
     PTX1083           11/1/2022 13:37    GOOG-AT-MDL-017191975                GOOG-AT-MDL-017191979                      Email from Corey duBrowa to Sundar Pichai et al.           Highly Confidential
     PTX1084           11/1/2022 14:36    GOOG-AT-MDL-004210331                GOOG-AT-MDL-004210334                      Email from Alyssa Raiola to Sabrina Abuzahra et al.        Highly Confidential
     PTX1085           11/4/2022 21:25    GOOG-AT-MDL-008886885                GOOG-AT-MDL-008886890                      Google document                                            Highly Confidential
     PTX1086           11/8/2022 22:39    GOOG-AT-MDL-010689638                GOOG-AT-MDL-010689653                      Google document                                            Highly Confidential
     PTX1087           11/10/2022 14:56   GOOG-AT-MDL-004530104                GOOG-AT-MDL-004530114                      Google presentation                                        Confidential
     PTX1088           11/17/2022 19:14   GOOG-AT-MDL-017803396                GOOG-AT-MDL-017803483                      Google presentation                                        Highly Confidential
     PTX1089           11/21/2022 16:51   GOOG-AT-MDL-000992438                GOOG-AT-MDL-000992442                      Google document                                            Highly Confidential



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     PTX1090           11/30/2022 21:03   GOOG-AT-MDL-004523396                 GOOG-AT-MDL-004523405                      Google document                                           Highly Confidential
                                                                                                                           Email from Jill Dozier to Gabrielle Scarpa et al., with
     PTX1091
                       11/30/2022 21:03   GOOG-AT-MDL-008622817                 GOOG-AT-MDL-008622840                      attachments                                               Confidential
     PTX1092           12/2/2022 11:02    GOOG-DOJ-05782415-SQ20230508          GOOG-DOJ-05782460-017-SQ20230508           Google document                                           Confidential
     PTX1093           12/2/2022 11:02    GOOG-AT-MDL-019508780                 GOOG-AT-MDL-019508824                      Google document                                           Highly Confidential
     PTX1094           12/5/2022 16:17    GOOG-AT-MDL-007239240                 GOOG-AT-MDL-007239319                      Google document                                           Confidential
     PTX1095           12/8/2022 4:06     GOOG-AT-MDL-009538757                 GOOG-AT-MDL-009538795                      Google presentation                                       Highly Confidential
     PTX1096           12/12/2022 0:00    GOOG-AT-MDL-006217592                 GOOG-AT-MDL-006217626                      Google document                                           Highly Confidential
     PTX1097           12/15/2022 18:15   GOOG-DOJ-AT-02649870                  GOOG-DOJ-AT-02649870                       Google spreadsheet                                        Highly Confidential
     PTX1098           12/16/2022 0:00    GOOG-AT-MDL-006218257                 GOOG-AT-MDL-006218270                      Google document                                           Highly Confidential
     PTX1099           1/10/2023 13:53    GOOG-AT-MDL-019508860                 GOOG-AT-MDL-019508897                      Google document                                           Highly Confidential
     PTX1100           1/17/2023 13:50    GOOG-AT-MDL-004184989                 GOOG-AT-MDL-004184990                      Email from Sabrina Abuzahra to Alyssa Raiola              Highly Confidential
     PTX1101           1/26/2023 18:34    GOOG-AT-MDL-009053112                 GOOG-AT-MDL-009053114                      Email from Allie Bodack (Google Docs) to Nitish Korula    Confidential
     PTX1102           1/26/2023 19:36    GOOG-AT-MDL-008314345                 GOOG-AT-MDL-008314479                      Google presentation                                       Confidential
     PTX1103           2/2/2023 13:38     GOOG-AT-MDL-012694825                 GOOG-AT-MDL-012694840                      Google document                                           Highly Confidential
                                                                                                                           Message from Aparna Pappu to Google employee, with
     PTX1104
                       2/9/2023 15:26     GOOG-AT-MDL-007399442                 GOOG-AT-MDL-007399459                      attachments                                               Confidential
                                                                                                                           Message from Aparna Pappu to Google employee, with
     PTX1105
                       2/9/2023 15:26     GOOG-AT-MDL-008017534                 GOOG-AT-MDL-008017551                      attachments                                               Confidential
     PTX1106           2/9/2023 16:58     GOOG-AT-MDL-009704804                 GOOG-AT-MDL-009704809                      Google presentation                                       Highly Confidential
                                                                                                                           Message from Woojin Kim to Google employees, with
     PTX1107
                       2/9/2023 18:40     GOOG-AT-MDL-012301658                 GOOG-AT-MDL-012301664                      attachments                                               Confidential
                                                                                                                           Message from Google employee m to Woojin Kim, with
     PTX1108
                       2/9/2023 20:02     GOOG-AT-MDL-012301665                 GOOG-AT-MDL-012301670                      attachments                                               Confidential
     PTX1109           2/10/2023 16:39    GOOG-AT-MDL-008284272                 GOOG-AT-MDL-008284327                      Google document                                           Highly Confidential
     PTX1110           2/15/2023 16:59    GOOG-AT-MDL-018738445                 GOOG-AT-MDL-018738447                      Google presentation                                       Highly Confidential
     PTX1111           2/23/2023 19:12    GOOG-AT-MDL-004211429                 GOOG-AT-MDL-004211459                      Google presentation                                       Confidential
                                                                                                                           Message from Chris Harris to Google employees, with
     PTX1112
                       2/27/2023 17:15    GOOG-AT-MDL-008526909                 GOOG-AT-MDL-008526909                      attachment                                                Confidential
     PTX1113           3/1/2023 22:55     GOOG-AT-MDL-004347508                 GOOG-AT-MDL-004347509                      Google document                                           Highly Confidential
     PTX1114           3/4/2023 1:02      GOOG-AT-MDL-007390501                 GOOG-AT-MDL-007390527                      Google presentation                                       Highly Confidential
     PTX1115           3/8/2023 11:43     GOOG-AT-MDL-011642403                 GOOG-AT-MDL-011642403                      Google document                                           Confidential
     PTX1116           3/9/2023 19:10     GOOG-AT-MDL-009017857                 GOOG-AT-MDL-009017877                      Google presentation                                       Highly Confidential
     PTX1117           3/16/2023 19:25    GOOG-AT-MDL-019244380                 GOOG-AT-MDL-019244385                      Google document                                           Highly Confidential
     PTX1118           3/17/2023 16:38    GOOG-AT-MDL-009748859                 GOOG-AT-MDL-009748886                      Google presentation                                       Confidential
     PTX1119           3/20/2023 15:11    GOOG-AT-MDL-014331375                 GOOG-AT-MDL-014331379                      Google presentation                                       Highly Confidential
     PTX1120           5/5/2023 2:50      GOOG-AT-MDL-011817471                 GOOG-AT-MDL-011817491                      Google presentation                                       Confidential
     PTX1121           5/10/2023 14:39    GOOG-AT-MDL-006823531                 GOOG-AT-MDL-006823577                      Google presentation                                       Confidential
     PTX1122           6/8/2023 20:43     GOOG-AT-MDL-009831407                 GOOG-AT-MDL-009831419                      Google presentation                                       Confidential
     PTX1123           6/8/2023 20:45     GOOG-AT-MDL-009838112                 GOOG-AT-MDL-009838114                      Google document                                           Confidential
     PTX1124           6/9/2023 2:15      GOOG-AT-MDL-013133578                 GOOG-AT-MDL-013133608                      Google presentation                                       Highly Confidential
     PTX1125           6/9/2023 2:47      GOOG-AT-MDL-010267418                 GOOG-AT-MDL-010267439                      Google presentation                                       Confidential
     PTX1126           6/9/2023 2:50      GOOG-AT-MDL-010272691                 GOOG-AT-MDL-010272710                      Google document                                           Confidential
     PTX1127           6/9/2023 15:35     GOOG-AT-MDL-017424763                 GOOG-AT-MDL-017424844                      Google document                                           Highly Confidential
     PTX1128           6/9/2023 15:53     GOOG-AT-MDL-013290051                 GOOG-AT-MDL-013290062                      Google document                                           Highly Confidential
     PTX1129           6/9/2023 16:01     GOOG-AT-MDL-013293586                 GOOG-AT-MDL-013293611                      Google presentation                                       Highly Confidential



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     PTX1130           6/9/2023 16:01    GOOG-AT-MDL-016927030                  GOOG-AT-MDL-016927089                      Google presentation                                          Confidential
     PTX1131           6/16/2023 14:31   GOOG-AT-MDL-007393541                  GOOG-AT-MDL-007393560                      Google presentation                                          Confidential
     PTX1132           6/16/2023 14:31   GOOG-AT-MDL-007393571                  GOOG-AT-MDL-007393586                      Google presentation                                          Confidential
     PTX1133           6/16/2023 14:31   GOOG-AT-MDL-007393486                  GOOG-AT-MDL-007393490                      Google document                                              Confidential
     PTX1134           6/16/2023 14:31   GOOG-AT-MDL-007393502                  GOOG-AT-MDL-007393511                      Google document                                              Confidential
     PTX1135           6/22/2023 3:37    GOOG-AT-MDL-019233838                  GOOG-AT-MDL-019233843                      Google document                                              Highly Confidential
     PTX1136           6/22/2023 3:42    GOOG-AT-MDL-012198323                  GOOG-AT-MDL-012198353                      Google presentation                                          Confidential
     PTX1137           6/22/2023 10:10   GOOG-AT-MDL-009969527                  GOOG-AT-MDL-009969563                      Google presentation                                          Confidential
     PTX1138           6/22/2023 15:51   GOOG-AT-MDL-016481501                  GOOG-AT-MDL-016481514                      Google presentation                                          Confidential
     PTX1139           6/29/2023 2:51    GOOG-DOJ-05539231                      GOOG-DOJ-05539258                          Google presentation                                          Confidential
                                                                                                                           Google webpage titled “Advertising with Google Ad Manager -
     PTX1140
                       6/29/2023 8:15    DOJ-ADS-0000068967                     DOJ-ADS-0000068967                         Google Ad Manager Help”
                                                                                                                           Google webpage titled “Compare Ad Manager and AdSense -
     PTX1141
                       6/29/2023 8:17    DOJ-ADS-0000068999                     DOJ-ADS-0000069000                         Google Ad Manager Help”
                                                                                                                           Google webpage titled “Ad selection white paper - Google Ad
     PTX1142
                       6/29/2023 8:20    DOJ-ADS-0000068949                     DOJ-ADS-0000068952                         Manager Help”
                                                                                                                           Google webpage titled “Changes to Google Ad Manager -
     PTX1143
                       6/29/2023 8:24    DOJ-ADS-0000068975                     DOJ-ADS-0000068980                         Google Ad Manager Help”
                                                                                                                           Google webpage titled “Compare Ad Manager, AdSense, and
     PTX1144
                       6/29/2023 8:24    DOJ-ADS-0000069001                     DOJ-ADS-0000069003                         AdMob - Google Ad Manager Help”
                                                                                                                           Google webpage titled “Ways of transacting in Ad Manager -
     PTX1145
                       6/29/2023 8:33    DOJ-ADS-0000069253                     DOJ-ADS-0000069255                         Google Ad Manager Help”
                                                                                                                           Google webpage titled “Protected Audience API origin trial
     PTX1146
                       6/29/2023 8:43    DOJ-ADS-0000069182                     DOJ-ADS-0000069186                         and Ad Manager - Google Ad Manager Help”
                                                                                                                           Google webpage titled “Topics API and Ad Manager - Google
     PTX1147
                       6/29/2023 8:45    DOJ-ADS-0000069220                     DOJ-ADS-0000069221                         Ad Manager Help”
                                                                                                                           Google webpage titled “Ad Manager testing updates - Google
     PTX1148
                       6/29/2023 8:45    DOJ-ADS-0000068946                     DOJ-ADS-0000068948                         Ad Manager Help”
                                                                                                                           Google webpage titled “Programmatic Guaranteed deals -
     PTX1149
                       6/29/2023 9:21    DOJ-ADS-0000069171                     DOJ-ADS-0000069179                         Display & Video 360 Help”
                                                                                                                           Google webpage titled “Clickthrough rate (CTR)_ Definition -
     PTX1150
                       6/29/2023 9:45    DOJ-ADS-0000069315                     DOJ-ADS-0000069315                         Google Ads Help”
                                                                                                                           Google webpage titled “Cookie_ Definition - Google Ads
     PTX1151
                       6/29/2023 9:48    DOJ-ADS-0000069327                     DOJ-ADS-0000069327                         Help”
                                                                                                                           Google webpage titled “Cost-per-click (CPC)_ Definition -
     PTX1152
                       6/29/2023 9:49    DOJ-ADS-0000069331                     DOJ-ADS-0000069331                         Google Ads Help”
                                                                                                                           Google webpage titled “Cost-per-thousand impressions
     PTX1153
                       6/29/2023 9:49    DOJ-ADS-0000069332                     DOJ-ADS-0000069332                         (CPM)_ Definition - Google Ads Help”
                                                                                                                           Google webpage titled “Display Network_ Definition - Google
     PTX1154
                       6/29/2023 9:52    DOJ-ADS-0000069348                     DOJ-ADS-0000069348                         Ads Help”
     PTX1155
                       6/29/2023 9:52    DOJ-ADS-0000069349                     DOJ-ADS-0000069349                         Google webpage titled “Display partners - Google Ads Help”
                                                                                                                           Google webpage titled “Frequency capping_ Definition -
     PTX1156
                       6/29/2023 10:27   DOJ-ADS-0000069367                     DOJ-ADS-0000069367                         Google Ads Help”
                                                                                                                           Google webpage titled “Google tag ID_ Definition - Google
     PTX1157
                       6/29/2023 10:30   DOJ-ADS-0000069393                     DOJ-ADS-0000069393                         Ads Help”



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     PTX1158           6/29/2023 10:37   DOJ-ADS-0000069429                     DOJ-ADS-0000069429                         Google webpage titled “Mobile ad - Google Ads Help”
                                                                                                                           Google webpage titled “Target cost-per-thousand impressions
     PTX1159
                       6/29/2023 11:50   DOJ-ADS-0000069476                     DOJ-ADS-0000069476                         (tCPM)_ Definition - Google Ads Help”
                                                                                                                           Google webpage titled “Choose a bid for your Display
     PTX1160
                       6/29/2023 12:00   DOJ-ADS-0000068986                     DOJ-ADS-0000068988                         Network campaign - Google Ads Help”
                                                                                                                           Google webpage titled “About Display ads and the Google
     PTX1161
                       6/29/2023 12:47   DOJ-ADS-0000068848                     DOJ-ADS-0000068850                         Display Network - Google Ads Help”
                                                                                                                           Google webpage titled “Ad Exchange in Google Ad Manager -
     PTX1162
                       6/29/2023 13:19   DOJ-ADS-0000068936                     DOJ-ADS-0000068938                         Google Ad Manager Help”
                                                                                                                           Google webpage titled “Unified pricing rules - Google Ad
     PTX1163
                       6/29/2023 16:25   DOJ-ADS-0000069238                     DOJ-ADS-0000069242                         Manager Help”
                                                                                                                           Google webpage titled “Choose your Smart Bidding strategy
     PTX1164
                       6/29/2023 17:11   DOJ-ADS-0000068997                     DOJ-ADS-0000068998                         for Display campaigns - Google Ads Help”
                                                                                                                           Google webpage titled “About targeting for Display
     PTX1165
                       6/29/2023 17:20   DOJ-ADS-0000068914                     DOJ-ADS-0000068915                         campaigns - Google Ads Help”
                                                                                                                           Google webpage titled “Reach your audience on apps and
     PTX1166
                       6/29/2023 17:23   DOJ-ADS-0000069187                     DOJ-ADS-0000069188                         websites - Google Ads Help”
                                                                                                                           Google webpage titled “How Google Ad Manager works with
     PTX1167
                       6/29/2023 17:24   DOJ-ADS-0000069111                     DOJ-ADS-0000069112                         Google Ads - Google Ads Help”
                                                                                                                           Google webpage titled “Why AdSense? - Google AdSense
     PTX1168
                       6/29/2023 17:26   DOJ-ADS-0000069258                     DOJ-ADS-0000069258                         Help”
                                                                                                                           Google webpage titled “Difference between AdSense and
     PTX1169
                       6/29/2023 17:27   DOJ-ADS-0000069032                     DOJ-ADS-0000069032                         Google Ads - Google AdSense Help”
                                                                                                                           Google webpage titled “AdSense revenue share - Google
     PTX1170
                       6/29/2023 17:28   DOJ-ADS-0000068965                     DOJ-ADS-0000068966                         AdSense Help”
                                                                                                                           Google webpage titled “Ad impressions - Google AdSense
     PTX1171
                       6/29/2023 17:59   DOJ-ADS-0000069506                     DOJ-ADS-0000069506                         Help”
     PTX1172           6/29/2023 18:00   DOJ-ADS-0000069510                     DOJ-ADS-0000069510                         Google webpage titled “Ad RPM - Google AdSense Help”
     PTX1173           6/29/2023 18:01   DOJ-ADS-0000069522                     DOJ-ADS-0000069522                         Google webpage titled “Bid type - Google AdSense Help”
     PTX1174
                       6/29/2023 18:03   DOJ-ADS-0000069529                     DOJ-ADS-0000069529                         Google webpage titled “Conversion - Google AdSense Help”
     PTX1175           6/29/2023 18:03   DOJ-ADS-0000069530                     DOJ-ADS-0000069530                         Google webpage titled “Cookies - Google AdSense Help”
                                                                                                                           Google webpage titled “Cost-per-click (CPC) - Google
     PTX1176
                       6/29/2023 18:03   DOJ-ADS-0000069531                     DOJ-ADS-0000069531                         AdSense Help”
     PTX1177           6/29/2023 18:03   DOJ-ADS-0000069534                     DOJ-ADS-0000069534                         Google webpage titled “CPM ads - Google AdSense Help”
                                                                                                                           Google webpage titled “Choose the right campaign type -
     PTX1178
                       6/29/2023 18:22   DOJ-ADS-0000068992                     DOJ-ADS-0000068996                         Google Ads Help”
                                                                                                                           Google webpage titled “About similar segments on the
     PTX1179
                       6/29/2023 18:45   DOJ-ADS-0000068893                     DOJ-ADS-0000068896                         Display Network - Google Ads Help”
                                                                                                                           Google webpage titled “Understand how location is used by
     PTX1180
                       6/29/2023 18:48   DOJ-ADS-0000069234                     DOJ-ADS-0000069235                         Google’s Display Network - Google Ads Help”
                                                                                                                           Google webpage titled “About Manual CPC bidding - Google
     PTX1181
                       6/29/2023 22:01   DOJ-ADS-0000068865                     DOJ-ADS-0000068867                         Ads Help”
                                                                                                                           Google webpage titled “What is inventory_ - Google Ad
     PTX1182
                       6/29/2023 22:18   DOJ-ADS-0000069257                     DOJ-ADS-0000069257                         Manager Help”




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                                                                                                                           Google webpage titled “Inventory formats - Google Ad
     PTX1183
                       6/29/2023 22:20   DOJ-ADS-0000069137                     DOJ-ADS-0000069141                         Manager Help”
                                                                                                                           Google webpage titled “Maximize revenue with Google Ad
     PTX1184
                       6/29/2023 22:39   DOJ-ADS-0000069147                     DOJ-ADS-0000069147                         Manager and AdSense - Google Ad Manager Help”
                                                                                                                           Google webpage titled “Ad Exchange line items - Google Ad
     PTX1185
                       6/29/2023 22:39   DOJ-ADS-0000068939                     DOJ-ADS-0000068941                         Manager Help”
                                                                                                                           Google webpage titled “Media purchase options on the
     PTX1186
                       6/29/2023 22:45   DOJ-ADS-0000069148                     DOJ-ADS-0000069148                         Display Network - Google Ads Help”
                                                                                                                           Google webpage titled “How Open Bidding works - Google
     PTX1187
                       6/29/2023 22:47   DOJ-ADS-0000069124                     DOJ-ADS-0000069127                         Ad Manager Help”
     PTX1188           7/12/2023 21:28   GOOG-AT-MDL-008930621                  GOOG-AT-MDL-008930628                      Alphabet presentation                                       Confidential
     PTX1189           7/14/2023 19:37   GOOG-AT-MDL-008930806                  GOOG-AT-MDL-008930823                      Alphabet presentation                                       Confidential
     PTX1190           8/2/2023 20:57    GOOG-AT-MDL-009013129                  GOOG-AT-MDL-009013137                      Google document                                             Confidential
     PTX1191           8/2/2023 20:57    GOOG-AT-MDL-009013186                  GOOG-AT-MDL-009013191                      Google presentation                                         Confidential
     PTX1192           8/3/2023 16:29    GOOG-AT-MDL-009013736                  GOOG-AT-MDL-009013739                      Google document                                             Confidential
     PTX1193           8/4/2023 0:00     GOOG-AT-MDL-008842393                  GOOG-AT-MDL-008842406                      Google document                                             Highly Confidential
     PTX1194           8/24/2023 19:15   GOOG-AT-MDL-009589764                  GOOG-AT-MDL-009589767                      Google document                                             Highly Confidential
     PTX1195           8/31/2023 0:00    GOOG-AT-MDL-009644649                  GOOG-AT-MDL-009644649                      Launch ID Rasta Screenshot                                  Highly Confidential
                                                                                                                           EY, “Financial Reporting Developments - Revenue from
     PTX1196
                       9/12/2023                                                                                           Contracts with Customers (ASC 606)”
                                                                                                                           Financial Accounting Foundation, “606 Revenue from
     PTX1197
                       11/16/2023                                                                                          Contracts with Customers”
     PTX1198           12/1/2023 0:00    GOOG-AT-MDL-019567386                  GOOG-AT-MDL-019567393                      Google document                                             Highly Confidential
     PTX1199           12/22/2023                                                                                          Figure 4, Initial Expert Report of Timothy Simcoe           Highly Confidential

     PTX1200
                       12/22/2023                                                                                          Figure 5, Initial Expert Report of Timothy Simcoe           Highly Confidential
     PTX1201           12/22/2023                                                                                          Figure 6, Initial Expert Report of Timothy Simcoe           Highly Confidential
     PTX1202           12/22/2023                                                                                          Figure 7, Initial Expert Report of Timothy Simcoe           Highly Confidential
     PTX1203           12/22/2023                                                                                          Figure 8, Initial Expert Report of Timothy Simcoe           Highly Confidential
     PTX1204           12/22/2023                                                                                          Figure 14, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1205           12/22/2023                                                                                          Figure 15, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1206           12/22/2023                                                                                          Figure 16, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1207           12/22/2023                                                                                          Figure 17, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1208           12/22/2023                                                                                          Figure 18, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1209           12/22/2023                                                                                          Figure 19, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1210           12/22/2023                                                                                          Figure 20, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1211           12/22/2023                                                                                          Figure 21, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1212           12/22/2023                                                                                          Figure 22, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1213           12/22/2023                                                                                          Figure 25, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1214           12/22/2023                                                                                          Figure 26, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1215           12/22/2023                                                                                          Figure 27, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1216           12/22/2023                                                                                          Figure 28, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1217           12/22/2023                                                                                          Figure 29, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1218           12/22/2023                                                                                          Figure 35, Initial Expert Report of Timothy Simcoe          Highly Confidential
     PTX1219           12/22/2023                                                                                          Figure 36, Initial Expert Report of Timothy Simcoe          Highly Confidential




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     PTX1310           12/22/2023                                                                             Figure 30, Initial Expert Report of Rosa Abrantes-Metz   Highly Confidential
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     PTX1314           12/22/2023                                                                                        Figure 6, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1315           12/22/2023                                                                                        Figure 7, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1316           12/22/2023                                                                                        Figure 8, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1317           12/22/2023                                                                                        Figure 9, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1318           12/22/2023                                                                                        Figure 10, Initial Expert Report of Gabriel Weintraub      Highly Confidential
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     PTX1324           12/22/2023                                                                                        Figure 16, Initial Expert Report of Gabriel Weintraub      Highly Confidential
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     PTX1326           12/22/2023                                                                                        Table 1, Initial Expert Report of Gabriel Weintraub        Highly Confidential
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     PTX1328           12/22/2023                                                                                        Table 3, Initial Expert Report of Gabriel Weintraub        Highly Confidential
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     PTX1331           12/22/2023                                                                                        Table 6, Initial Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1332           12/22/2023                                                                                        Table 7, Initial Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1333           12/22/2023                                                                                        Table 8, Initial Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1334           12/22/2023                                                                                        Table 9, Initial Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1335           12/22/2023                                                                                        Table 10, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1336           12/22/2023                                                                                        Table 11, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1337           12/22/2023                                                                                        Table 12, Initial Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1338           12/22/2023                                                                                        Table 13, Initial Expert Report of Gabriel Weintraub       Highly Confidential
                                                                                                                         Table 1 of Appendix D, Initial Expert Report of Gabriel
     PTX1339
                       12/22/2023                                                                                        Weintraub                                                  Highly Confidential
     PTX1340           9/27/2017 4:52   GOOG-TEX-00832175                     GOOG-TEX-00832178                          Email from Nitish Korula to Vahab Mirrokni et al.          Highly Confidential
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                                                                                                                        Figure 2 of Appendix F, Initial Expert Report of Gabriel
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     PTX1353           2/13/2024                                                                                        Figure 7, Rebuttal Expert Report of Kenneth Wilbur         Highly Confidential
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     PTX1355           2/13/2024                                                                                        Figure 2, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential
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     PTX1382           2/13/2024                                                                                        Figure 10, Rebuttal Expert Report of Robin Lee             Highly Confidential
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     PTX1404           2/13/2024                                                                              Figure 38, Rebuttal Expert Report of Robin Lee   Highly Confidential
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     PTX1406           2/13/2024                                                                              Figure 40, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1407           2/13/2024                                                                              Figure 41, Rebuttal Expert Report of Robin Lee   Highly Confidential
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     PTX1413           2/13/2024                                                                              Figure 49, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1414           2/13/2024                                                                              Figure 50, Rebuttal Expert Report of Robin Lee   Highly Confidential
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     PTX1417           2/13/2024                                                                              Figure 53, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1418           2/13/2024                                                                              Figure 54, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1419           2/13/2024                                                                              Figure 55, Rebuttal Expert Report of Robin Lee   Highly Confidential
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     PTX1422           2/13/2024                                                                              Figure 58, Rebuttal Expert Report of Robin Lee   Highly Confidential
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     PTX1431           2/13/2024                                                                              Figure 68, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1432           2/13/2024                                                                              Figure 69, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1433           2/13/2024                                                                              Figure 70, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1434           2/13/2024                                                                              Figure 71, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1435           2/13/2024                                                                              Figure 72, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1436           2/13/2024                                                                              Figure 73, Rebuttal Expert Report of Robin Lee   Highly Confidential
     PTX1437           2/13/2024                                                                              Figure 74, Rebuttal Expert Report of Robin Lee   Highly Confidential



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     PTX1438           2/13/2024                                                                              Figure 75, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1439           2/13/2024                                                                              Figure 76, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1440           2/13/2024                                                                              Figure 77, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1441           2/13/2024                                                                              Figure 79, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1442           2/13/2024                                                                              Figure 80, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1443           2/13/2024                                                                              Figure 81, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1444           2/13/2024                                                                              Figure 82, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1445           2/13/2024                                                                              Figure 83, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1446           2/13/2024                                                                              Figure 84, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1447           2/13/2024                                                                              Figure 85, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1448           2/13/2024                                                                              Figure 86, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1449           2/13/2024                                                                              Figure 87, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1450           2/13/2024                                                                              Figure 88, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1451           2/13/2024                                                                              Figure 89, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1452           2/13/2024                                                                              Figure 90, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1453           2/13/2024                                                                              Figure 91, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1454           2/13/2024                                                                              Figure 92, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1455           2/13/2024                                                                              Figure 93, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1456           2/13/2024                                                                              Figure 94, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1457           2/13/2024                                                                              Figure 95, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1458           2/13/2024                                                                              Figure 96, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1459           2/13/2024                                                                              Figure 97, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1460           2/13/2024                                                                              Figure 98, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1461           2/13/2024                                                                              Figure 99, Rebuttal Expert Report of Robin Lee              Highly Confidential
     PTX1462           2/13/2024                                                                              Figure 100, Rebuttal Expert Report of Robin Lee             Highly Confidential
     PTX1463           2/13/2024                                                                              Figure 1, Rebuttal Expert Report of Rosa Abrantes-Metz      Highly Confidential
     PTX1464           2/13/2024                                                                              Figure 1, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1465           2/13/2024                                                                              Figure 2, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1466           2/13/2024                                                                              Figure 3, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1467           2/13/2024                                                                              Figure 4, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential
     PTX1468           2/13/2024                                                                              Table 1, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1469           2/13/2024                                                                              Table 2, Rebuttal Expert of Gabriel Weintraub               Highly Confidential
     PTX1470           2/13/2024                                                                              Table 3, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential
     PTX1471           2/13/2024                                                                              Table 4, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential
                                                                                                              Figure 1 of Appendix C, Rebuttal Expert Report of Gabriel
     PTX1472
                       2/13/2024                                                                              Weintraub                                                   Highly Confidential
     PTX1473           3/4/2024                                                                               Figure 1, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1474           3/4/2024                                                                               Figure 2, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1475           3/4/2024                                                                               Figure 3, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1476           3/4/2024                                                                               Figure 4, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1477           3/4/2024                                                                               Figure 5, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1478           3/4/2024                                                                               Figure 6, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1479           3/4/2024                                                                               Figure 7, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1480           3/4/2024                                                                               Figure 8, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1481           3/4/2024                                                                               Figure 9, Supplemental Expert Report of Robin S. Lee        Highly Confidential
     PTX1482           3/4/2024                                                                               Figure 10, Supplemental Expert Report of Robin S. Lee       Highly Confidential



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     PTX1483           3/4/2024                                                                                            Figure 11, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1484           3/4/2024                                                                                            Figure 12, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1485           3/4/2024                                                                                            Figure 13, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1486           3/4/2024                                                                                            Figure 14, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1487           3/4/2024                                                                                            Figure 15, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1488           3/4/2024                                                                                            Figure 16, Supplemental Expert Report of Robin S. Lee       Highly Confidential
     PTX1489           9/19/2019 18:28    GOOG-DOJ-32061391                     GOOG-DOJ-32061392                          Email from Nitish Korula to Rahul Srinivasan                Confidential
     PTX1490           9/14/2018 18:03    GOOG-DOJ-07956052                     GOOG-DOJ-07956053                          Email from Chris LaSala to Brendon Kraham et al.            Highly Confidential
     PTX1491           4/5/2024 19:02     GOOG-DOJ-04442217                     GOOG-DOJ-04442236                          Google document                                             Confidential
     PTX1492           5/2/2024 22:48     GOOG-AT-MDL-B-005112788               GOOG-AT-MDL-B-005112791                    Google document                                             Confidential
     PTX1493           4/5/2007 1:01      MSFT-0000008546                       MSFT-0000008572                            Microsoft presentation                                      Highly Confidential
                                                                                                                           2023.05.22 Google Objections to Plaintiffs' Fourth RFPs -
     PTX1494
                       5/22/2023                                                                                           CONFIDENTIAL                                                Confidential
                                                                                                                           Email from rev-team@google.com on behalf of Rikard
     PTX1495
                       11/10/2011 2:28    GOOG-DOJ-11899167                     GOOG-DOJ-11899225                          Lindquist to madsteam@google.com et al., with attachments   Highly Confidential
     PTX1496           2/5/2012 4:25      OPENX-00003791                        OPENX-00003810                             OpenX presentation                                          Confidential
     PTX1497           8/16/2013 21:49    GOOG-DOJ-09916600                     GOOG-DOJ-09916600                          Email from Scott Spencer to Cyrus Beagley et al.            Highly Confidential
     PTX1498           9/19/2013 11:13    OPENX-00013460                        OPENX-00013471                             OpenX presentation                                          Confidential
     PTX1499           10/11/2013 1:29    OPENX-00013145                        OPENX-00013148                             OpenX document                                              Highly Confidential
     PTX1500           11/5/2013 11:49    OPENX-00000001                        OPENX-00000082                             OpenX presentation                                          Highly Confidential
     PTX1501           11/15/2013 12:40   OPENX-00013601                        OPENX-00013625                             Email from John Gentry to Tim Cadogan, with attachment      Highly Confidential
     PTX1502           12/3/2013 21:53    OPENX-00013626                        OPENX-00013636                             OpenX presentation                                          Highly Confidential
     PTX1503           12/6/2013 19:28    OPENX-00013598                        OPENX-00013600                             Email from Tim Cadogan to Nino Marakovic et al.             Highly Confidential
                                                                                                                           Email from Carissa Kidd to Robert Drucker et al., with
     PTX1504
                       2/28/2014 0:00     COM-CID-00252865                      COM-CID-00252895                           attachment                                                  Confidential
     PTX1505           7/9/2014 14:44     FBDOJ001489822                        FBDOJ001489823                             Email from Mike Hudack to Mark Zuckerberg et al.            Confidential
     PTX1506           9/2/2014 19:01     OPENX-00013637                        OPENX-00013645                             OpenX document                                              Highly Confidential
     PTX1507           12/2/2014 14:31    GOOG-DOJ-09250413                     GOOG-DOJ-09250417                          Email from Jonathan Bellack to Sara Walsh et al.            Highly Confidential
                                                                                                                           Email from xfp-optimization-tech@google.com on behalf of
     PTX1508
                       12/10/2014 14:07   GOOG-AT-MDL-B-001628420               GOOG-AT-MDL-B-001628428                    Martin Pal to Vahab Mirrokni et al.                         Confidential
                                                                                                                           Email from xfp-optimization-tech@google.com on behalf of
     PTX1509
                       12/13/2014 0:10    GOOG-AT-MDL-B-002610033               GOOG-AT-MDL-B-002610034                    Bahman Rabii to Martin Pal et al.                           Confidential
     PTX1510           12/16/2014 17:07   GOOG-DOJ-03546944                     GOOG-DOJ-03546947                          Email from Scott Silver to Eisar Lipkovitz et al.           Highly Confidential
     PTX1511           12/17/2014 23:29   GOOG-DOJ-07810467                     GOOG-DOJ-07810467                          Email from Tobias Maurer to Brad Bender                     Highly Confidential
     PTX1512           1/12/2015 14:37    OPENX-00003073                        OPENX-00003083                             OpenX presentation                                          Confidential
     PTX1513           1/13/2015 17:24    GOOG-DOJ-07810578                     GOOG-DOJ-07810593                          Google presentation                                         Highly Confidential
                                                                                                                           Email from drx-eng-mgrs@google.com on behalf of Martin
     PTX1514
                       1/30/2015 17:14    GOOG-AT-MDL-B-001387353               GOOG-AT-MDL-B-001387357                    Pal to Drew Bradstock et al.                                Confidential
     PTX1515           2/5/2015 17:02     GOOG-AT-MDL-004059920                 GOOG-AT-MDL-004059923                      Email from Nitish Korula to Max Loubser et al.              Confidential
     PTX1516           3/18/2015 17:09    GOOG-DOJ-14500160                     GOOG-DOJ-14500162                          Email from Drew Bradstock to Nicole Pruess et al.           Highly Confidential
     PTX1517           3/25/2015 9:49     GOOG-DOJ-15182420                     GOOG-DOJ-15182423                          Google document                                             Highly Confidential
     PTX1518           7/28/2015 19:31    OPENX-00001050                        OPENX-00001066                             OpenX presentation                                          Highly Confidential
                                                                                                                           Email from Bennett Crumbling to TTD Employees, with
     PTX1519
                       8/18/2015 19:58    TTD_0009846                           TTD_0009892                                attachment                                                  Confidential
     PTX1520           10/11/2016 15:12   GOOG-DOJ-14380845                     GOOG-DOJ-14380845                          Email from Eisar Lipkovitz to Aparna Pappu                  Highly Confidential
     PTX1521           10/8/2015 0:39     GOOG-DOJ-15221042                     GOOG-DOJ-15221080                          Google presentation                                         Highly Confidential



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     PTX1522           10/11/2015 19:29   GOOG-TEX-00091538                      GOOG-TEX-00091543                          Email from Jonathan Bellack to Scott Spencer et al.          Highly Confidential
     PTX1523           12/12/2015 2:00    GANNETT_GOOG_0010190                   GANNETT_GOOG_0010190                       Email from Tim Wolfe to Dave Mir                             Highly Confidential
                                                                                                                            Email from Adam Davison to Zoheb Hajiyani et al., with
     PTX1524
                       1/29/2016 10:49    FBDOJGOOG_00124139                     FBDOJGOOG_00124146                         attachments                                                  Confidential
     PTX1525           2/5/2016 11:55     OPENX-00004104                         OPENX-00004124                             OpenX presentation                                           Confidential
     PTX1526           3/30/16            GOOG-ADTCH-00575720                    GOOG-ADTCH-00575721                        Email from Paul Muret to Jonathan Bellack                    Highly Confidential
                                                                                                                            Financial Accounting Standards Board document titled
     PTX1527
                       4/2016                                                                                               “Revenue from Contracts with Customers (Topic 606)”
                                                                                                                            Email from drx-quality@google.com on behalf of Martin Pal
     PTX1528
                       4/5/2016 18:19     GOOG-AT-MDL-B-001117566                GOOG-AT-MDL-B-001117568                    to Eu-Jin Goh et al.                                         Confidential
     PTX1529           4/18/2016 19:08    DAN000021                              DAN000026                                  Google presentation                                          Confidential
                                                                                                                            Email from Narain Jhangiani-Jashanmal to Carolyn Everson et
     PTX1530
                       5/5/2016 4:46      FBDOJGOOG_00828926                     FBDOJGOOG_00828930                         al., with attachment                                         Confidential
     PTX1531           6/22/2016 10:54    AMZNDOJ0134960                         AMZNDOJ0134961                             Email from Miranda Chen to Matthew Battles et al.            Confidential
     PTX1532           6/24/2016 0:00     GOOG-AT-MDL-B-004498126                GOOG-AT-MDL-B-004498155                    Google presentation                                          Confidential
     PTX1533           7/21/2016 10:11    OPENX-00007346                         OPENX-00007381                             OpenX presentation                                           Confidential
                                                                                                                            Email from Jed Dederick to BD Strategists et al., with
     PTX1534
                       7/26/2016 22:45    TTD_0011744                            TTD_0011762                                attachment                                                   Confidential
     PTX1535           8/9/2016 12:27     FBDOJGOOG_00784059                     FBDOJGOOG_00784060                         Email from Alvin Bowles to Brian Boland                      Confidential
     PTX1536           8/12/2016 9:37     FBDOJGOOG_00038404                     FBDOJGOOG_00038406                         Email from Swarna Kakodkar to Erwin Castellanos et al.       Confidential
     PTX1537           9/2/2016 14:41     GOOG-AT-MDL-B-001119624                GOOG-AT-MDL-B-001119625                    Email from Martin Pal to Nitish Korula et al.                Confidential
     PTX1538           9/5/16             GOOG-ADTCH-00581029                    GOOG-ADTCH-00581042                        Email from Eisar Lipkovitz to Jonathan Bellack et al.        Highly Confidential
     PTX1539           9/20/2016 1:44     GOOG-DOJ-14156104                      GOOG-DOJ-14156107                          Email from Nitish Korula to Tobias Maurer et al.             Highly Confidential
     PTX1540           10/3/2016 14:06    FBDOJ012559571                         FBDOJ012559602                             Facebook presentation                                        Confidential
     PTX1541           10/7/2016 12:54    GOOG-AT-MDL-B-001120812                GOOG-AT-MDL-B-001120814                    Email from Martin Pal to Jim Giles et al.                    Confidential
     PTX1542           10/13/2016 15:53   FBDOJGOOG_00276825                     FBDOJGOOG_00276831                         Email from Swarna Kakodkar to David Jakubowski et al.        Confidential
     PTX1543           10/17/2016 23:26   GOOG-TEX-00002601                      GOOG-TEX-00002605                          Email from Jonathan Bellack to Aparna Pappu                  Highly Confidential
                                                                                                                            Email from John Donahue to David Jakubowski, with
     PTX1544
                       10/24/2016 16:22   FBDOJGOOG_00857922                     FBDOJGOOG_00857926                         attachments                                                  Confidential
     PTX1545           11/7/2016 18:37    GOOG-DOJ-13546142                      GOOG-DOJ-13546148                          Email from Nirmal Jayaram to David Maymudes et al.           Highly Confidential
                                                                                                                            Email from Francesca Pignataro to Henry Erskine Crum et al.,
     PTX1546
                       12/19/2016 12:06   FBDOJ012327277                         FBDOJ012327291                             with attachment                                              Confidential
     PTX1547           1/3/2017 22:16     GOOG-TEX-00121159                      GOOG-TEX-00121174                          Email from Chris Harris to Eisar Lipkovitz et al.            Highly Confidential
     PTX1548           1/6/2017 13:44     GOOG-AT-MDL-B-001123902                GOOG-AT-MDL-B-001123903                    Email from Martin Pal to Jim Giles et al.                    Confidential
     PTX1549           2/15/2017 17:08    FBDOJ010863645                         FBDOJ010863662                             Facebook document                                            Confidential
     PTX1550           2/28/2017 1:15     FBDOJGOOG_01111517                     FBDOJGOOG_01111547                         Facebook presentation                                        Confidential
     PTX1551           3/3/2017 12:57     GOOG-DOJ-13391555                      GOOG-DOJ-13391559                          Email from Martin Pal to Gargi Sur et al.                    Highly Confidential
                                                                                                                            Email from David Jakubowski to Brian Boland, with
     PTX1552
                       3/7/2017 3:43      FBDOJ003476860                         FBDOJ003476861                             attachment                                                   Confidential
     PTX1553                              INTENTIONALLY OMITTED PTX
     PTX1554           3/16/2017 17:19    FBDOJGOOG_00780829                     FBDOJGOOG_00780831                         Facebook document                                            Confidential
     PTX1555           3/21/2017 11:51    FBDOJGOOG_00861213                     FBDOJGOOG_00861214                         Email from David Jakubowski to Caroline Couvillon            Confidential
                                                                                                                            AdExchanger article titled “Google Removes Its 'Last Look'
     PTX1556
                       3/31/17 12:34                                                                                        Auction Advantage,“ by Sarah Sluis
     PTX1557           4/7/2017 15:29     OPENX-00003677                         OPENX-00003700                             OpenX presentation                                           Confidential
     PTX1558           4/19/2017 23:00    GOOG-DOJ-07252312                      GOOG-DOJ-07252316                          Email from Martin Pal to Duke Dukellis et al.                Highly Confidential



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     PTX1559           5/20/2017 1:48     GOOG-DOJ-13557289                    GOOG-DOJ-13557290                          Email from Maria Hui to Ali Amini et al.                    Highly Confidential
     PTX1560           6/27/2017 22:42    OPENX-00001093                       OPENX-00001119                             OpenX presentation                                          Highly Confidential
     PTX1561           7/13/2017 0:00     CRITEO_GOOGLELIT_0000015509          CRITEO_GOOGLELIT_0000015556                Criteo presentation                                         Highly Confidential
     PTX1562           7/14/2017 0:00     ATT-GCID-00000001                    ATT-GCID-00000098                          AT&T document                                               Highly Confidential
     PTX1563           7/25/2017 1:51     FBDOJGOOG_00779705                   FBDOJGOOG_00779742                         Facebook document                                           Confidential
     PTX1564           7/26/2017 16:29    GOOG-AT-MDL-B-001130098              GOOG-AT-MDL-B-001130098                    Email from Jim Giles to Martin Pal et al.                   Confidential
     PTX1565           8/1/2017 12:17     FBDOJ012304337                       FBDOJ012304337                             Email from Swarna Kakodkar to Brian Boland et al.           Confidential
     PTX1566           8/3/2017 10:55     FBDOJ012387658                       FBDOJ012387658                             Email from Swarna Kakodkar to David Jakubowski et al.       Confidential
                                                                                                                          Email from David Jakubowski to Henry Erskine Crum et al.,
     PTX1567
                       9/24/2017 10:40    FBDOJGOOG_00855903                   FBDOJGOOG_00855906                         with attachment                                             Confidential
     PTX1568                              INTENTIONALLY OMITTED PTX
     PTX1569           10/12/2017 10:21   GOOG-AT-MDL-B-001132777              GOOG-AT-MDL-B-001132782                    Email from Martin Pal to Nitish Korula et al.               Confidential
     PTX1570           10/20/2017 13:41   GOOG-AT-MDL-B-002168049              GOOG-AT-MDL-B-002168052                    Email from Jim Giles to Martin Pal et al.                   Confidential
     PTX1571           10/30/2017 7:59    FBDOJ012376039                       FBDOJ012376040                             Email from John Wren to Savina Velkova et al.               Confidential
     PTX1572           12/18/2017 0:00    FBDOJ012979686                       FBDOJ012979701                             Facebook document                                           Confidential
     PTX1573           1/3/2018 15:22     OPENX-00000682                       OPENX-00000719                             OpenX presentation                                          Highly Confidential
     PTX1574           1/23/2018 22:19    AMZNDOJ0120916                       AMZNDOJ0120921                             Email from Ken Leeder to Ken Leeder, with attachment        Confidential
     PTX1575                              INTENTIONALLY OMITTED PTX
     PTX1576           2/8/2018 5:35      FBDOJ003189143                       FBDOJ003189145                             Email from Henry Eskrine Crum to Dan Rose et al.            Confidential
     PTX1577           2/8/2018 5:45      FBDOJGOOG_00744539                   FBDOJGOOG_00744541                         Email from Dan Rose to Henry Eskrine Crum et al.            Confidential
     PTX1578           2/8/2018 13:55     FBDOJGOOG_00954175                   FBDOJGOOG_00954177                         Email from Stephanie Wang to Heny Eskrine Crum              Confidential
                                                                                                                          Email from Henry Eskrine Crum to Sheryl Sandberg et al.,
     PTX1579
                       2/27/2018 4:29     FBDOJGOOG_00499093                   FBDOJGOOG_00499112                         with attachments                                            Confidential
     PTX1580                              INTENTIONALLY OMITTED PTX
     PTX1581                              INTENTIONALLY OMITTED PTX
     PTX1582                              INTENTIONALLY OMITTED PTX
     PTX1583           3/5/2018 8:35      FBDOJ009471990                       FBDOJ009471991                             Email from David Jakubowski to Dan Rose et al.              Confidential
     PTX1584           3/11/2018 15:56    FBDOJGOOG_00251811                   FBDOJGOOG_00251814                         Email from Ami Vora to Yoav Arstein et al.                  Confidential
     PTX1585           3/15/2018 23:36    GOOG-AT-MDL-014302168                GOOG-AT-MDL-014302171                      Email from Nimral Jayaram to Max Lin et al.                 Confidential
     PTX1586           3/16/2018 11:55    GOOG-AT-MDL-012206646                GOOG-AT-MDL-012206649                      Email from Martin Pal to Ali Nasiri Amini et al.            Highly Confidential
     PTX1587           3/16/2018 18:05    GOOG-TEX-00085512                    GOOG-TEX-00085514                          Email from Payam Shodjai to Brad Bender                     Highly Confidential
     PTX1588           3/19/2018 13:05    FBDOJGOOG_00274747                   FBDOJGOOG_00274752                         Email from Sheryl Sandberg to Dan Rose et al.               Confidential
     PTX1589           3/19/2018 15:47    FBDOJGOOG_00991924                   FBDOJGOOG_00991973                         Facebook presentation and spreadsheet                       Confidential
     PTX1590           5/10/2018 17:56    GOOG-DOJ-04725104                    GOOG-DOJ-04725108                          Email from Ajay Bangla to Nimral Jayaram et al.             Highly Confidential
     PTX1591           5/11/2018 14:59    GOOG-AT-MDL-B-001143446              GOOG-AT-MDL-B-001143446                    Email from Nitish Korula to Martin Pal et al.               Confidential
     PTX1592           6/4/2018 0:00      FBDOJGOOG_01176330                   FBDOJGOOG_01176373                         Facebook document                                           Confidential
     PTX1593           6/4/2018 13:50     FBDOJ013017855                       FBDOJ013017893                             Facebook document                                           Confidential
     PTX1594           6/6/2018 10:18     FBDOJGOOG_00791595                   FBDOJGOOG_00791596                         Message from Henry Eskrine Crum to Brian Boland             Confidential
     PTX1595           8/2/2018 11:42     GOOG-AT-MDL-B-002168567              GOOG-AT-MDL-B-002168570                    Email from Martin Pal to Nimral Jayaram et al.              Confidential
     PTX1596           9/26/2018 16:02    GOOG-AT-MDL-019425293                GOOG-AT-MDL-019425295                      Google document                                             Confidential
     PTX1597           9/28/2018 2:31     FBDOJ012641326                       FBDOJ012641373                             Facebook document                                           Confidential
     PTX1598           10/2/2018 0:00     CRI-00000149                         CRI-00000162                               Criteo document                                             Confidential
     PTX1599           11/15/2018 19:18   GOOG-AT-MDL-B-001296996              GOOG-AT-MDL-B-001296996                    Email from Alex Shellhammer to Jonathan Meltzer             Confidential
     PTX1600           11/21/2018 10:18   OPENX-00006011                       OPENX-00006011                             Email from Tim Cadogan to Sam Cox                           Confidential
     PTX1601           12/3/2018 20:24    OPENX-00002175                       OPENX-00002207                             OpenX presentation                                          Highly Confidential
     PTX1602           12/5/2018 22:39    GOOG-DOJ-07832462                    GOOG-DOJ-07832466                          Email from David Maymudes to Roshan Khan et al.             Highly Confidential



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     PTX1603           12/13/2018 22:32   MSFT-LIT-0000002972                  MSFT-LIT-0000003007                        Microsoft presentation                                      Highly Confidential
     PTX1604           3/19/2019 21:04    OPENX-00001996                       OPENX-00002042                             OpenX presentation                                          Highly Confidential
     PTX1605           4/22/2019 16:20    GOOG-DOJ-13494286                    GOOG-DOJ-13494294                          Google presentation                                         Highly Confidential
     PTX1606           4/22/2019 18:08    DM_GOOG_0010492                      DM_GOOG_0010494                            Email from Matthew Wheatland to Richard Caccappolo          Highly Confidential
     PTX1607           4/24/2019 19:36    RUBICON-00001139                     RUBICON-00001141                           Email from Todd Smith to Mark Balababian et al.             Highly Confidential
     PTX1608                              INTENTIONALLY OMITTED PTX
     PTX1609           5/29/2019 10:21    DM_GOOG_0001014                      DM_GOOG_0001014                            Email from Hannah Buitekant to Adam Leslie et al.           Highly Confidential
     PTX1610           7/1/2019 0:00      RUBICON-00000102                     RUBICON-00000155                           Rubicon document                                            Highly Confidential
     PTX1611           7/20/2019 14:26    GOOG-DOJ-03047055                    GOOG-DOJ-03047076                          Google presentation                                         Highly Confidential
     PTX1612                              INTENTIONALLY OMITTED PTX
     PTX1613           7/29/2019 7:23     FBDOJGOOG_01000317                   FBDOJGOOG_01000345                         Facebook presentation                                       Confidential
     PTX1614           8/8/2019 21:15     GOOG-DOJ-11726308                    GOOG-DOJ-11726359                          Google presentation                                         Highly Confidential
     PTX1615           9/4/2019 0:00      NEWSCORP-DOJCID-00001570             NEWSCORP-DOJCID-00001582                   Newscorp presentation                                       Confidential
     PTX1616           9/9/2019 0:00      PUBMATIC_DOJ-00000041                PUBMATIC_DOJ-00000069                      Pubmatic document                                           Highly Confidential
     PTX1617           9/10/2019 23:40    KVL00000989                          KVL00000994                                Email from James Avery to Dave Paresh et al.                Highly Confidential
     PTX1618           9/14/2019 18:23    GOOG-DOJ-AT-00572966                 GOOG-DOJ-AT-00572967                       Email from Ajay Bangla to Nirmal Jayaram                    Highly Confidential
     PTX1619           9/17/2019 9:07     VZGGL-CID-00000001                   VZGGL-CID-00000062                         Verizon document                                            Highly Confidential
     PTX1620
                       10/9/2019 15:36    FBDOJGOOG_01131238                   FBDOJGOOG_01131247                         Email from Sean Ryan to Gianluca Pucacco, with attachment   Confidential
     PTX1621           10/14/2019 0:00    PUBMATIC_DOJ-00012158                PUBMATIC_DOJ-00012158                      Email from Samsuddin Ahmed to Amar Goel et al.              Confidential
     PTX1622           10/14/2019 21:23   GOOG-DOJ-06885161                    GOOG-DOJ-06885170                          Google document                                             Confidential
     PTX1623           10/18/2019 19:04   IPG-ADTECH_002361                    IPG-ADTECH_002388                          Google document                                             Confidential
     PTX1624           10/19/2019 16:35   GOOG-DOJ-03034316                    GOOG-DOJ-03034362                          Google presentation                                         Highly Confidential
     PTX1625           10/28/2019 17:15   GOOG-AT-MDL-007027432                GOOG-AT-MDL-007027435                      Email from Chris LaSala to Jonathon Wong et al.             Confidential
     PTX1626           10/29/2019 0:00    ATT-GCID-00000680                    ATT-GCID-00000711                          Xandr document                                              Highly Confidential
     PTX1627           10/31/2019 13:20   VZGGL-CID-00001216                   VZGGL-CID-00001276                         Verizon document                                            Highly Confidential
     PTX1628           11/14/2019 14:47   ATT-GCID-00111192                    ATT-GCID-00111288                          AT&T presentations                                          Confidential
     PTX1629           12/4/2019 22:13    GOOG-DOJ-06886033                    GOOG-DOJ-06886060                          Google presentation                                         Highly Confidential
     PTX1630           12/7/2019 6:09     NEWSCORP-DOJCID-00002436             NEWSCORP-DOJCID-00002486                   NewsCorp presentation                                       Confidential
     PTX1631           1/24/2020 2:39     GOOG-DOJ-15158868                    GOOG-DOJ-15158869                          Email from Nitish Korula to Steven Shin et al.              Highly Confidential
     PTX1632           2/13/2020 4:47     GOOG-AT-MDL-003810424                GOOG-AT-MDL-003810431                      Google presentation                                         Confidential
                                                                                                                          Email from Matthew Wheatland to Feifan Chen et al., with
     PTX1633
                       2/18/2020 13:10    DM_GOOG_0058123                      DM_GOOG_0058138                            attachment                                                  Highly Confidential
     PTX1634
                       2/18/2020 15:25    DM_GOOG_0027446                      DM_GOOG_0027448                            Email from Matthew Wheatland to Richard Caccappolo et al.   Highly Confidential
     PTX1635           3/17/2020 15:56    GOOG-DOJ-AT-02162134                 GOOG-DOJ-AT-02162142                       Google document                                             Highly Confidential
     PTX1636           3/19/2020 18:50    DM_GOOG_0058021                      DM_GOOG_0058025                            Email from Matthew Wheatland to Feifan Chen                 Highly Confidential
     PTX1637           3/31/2020 6:08     AMZNDOJ0075289                       AMZNDOJ0075296                             Email from Matthew Battles to Cem Sibay et al.              Confidential
     PTX1638           3/31/2020 14:23    OPENX-00001445                       OPENX-00001501                             OpenX presentation                                          Highly Confidential
     PTX1639           4/9/2020 0:00      RUBICON-00000094                     RUBICON-00000098                           Rubicon document                                            Confidential
     PTX1640
                       4/17/2020 10:54    DM_GOOG_0058016                      DM_GOOG_0058020                            Email from Matthew Wheatland to Richard Caccappolo et al.   Highly Confidential
     PTX1641           5/6/2020 9:33      GOOG-AT-MDL-010657378                GOOG-AT-MDL-010657383                      Email from Rikke Riber Rasmussen to Hal Varian              Confidential
     PTX1642           5/25/2020 23:54    NEWSCORP-DOJCID-00003193             NEWSCORP-DOJCID-00003318                   NewsCorp document                                           Confidential
     PTX1643           5/26/2020 21:49    NEWSCORP-DOJCID-00026134             NEWSCORP-DOJCID-00026147                   NewsCorp document                                           Confidential
     PTX1644           5/27/2020 0:00     ATT-GCID-00000883                    ATT-GCID-00000894                          Xandr document                                              Highly Confidential



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                                                                                                                             Email from Ivan Kozhevnikov to Toby Wilkins et al., with
     PTX1645
                       6/12/2020 3:46     FBDOJGOOG_00884328                      FBDOJGOOG_00884329                         attachment                                                       Confidential
     PTX1646           6/23/2020 16:22    GOOG-DOJ-AT-01510462                    GOOG-DOJ-AT-01510482                       Google presentation                                              Highly Confidential
     PTX1647           7/3/2020 20:35     CRI-00000197                            CRI-00000210                               Criteo document                                                  Confidential
     PTX1648           7/13/2020 22:18    TTD_0000024                             TTD_0000036                                The Trade Desk document                                          Confidential
     PTX1649           7/27/2020 23:31    MSFT-LIT-0000002193                     MSFT-LIT-0000002260                        Microsoft presentation                                           Highly Confidential
     PTX1650           8/27/2020 15:48    TTD_0003039                             TTD_0003058                                The Trade Desk presentation                                      Confidential
     PTX1651           8/27/2020 15:55    TTD_0005614                             TTD_0005615                                The Trade Desk document                                          Confidential
     PTX1652           10/10/2020 6:27    GOOG-DOJ-AT-01917966                    GOOG-DOJ-AT-01918008                       Google presentation                                              Highly Confidential
     PTX1653           2/1/2021 0:00      NEWSCORP_GOOG_0002089                   NEWSCORP_GOOG_0002135                      The European Commission document                                 Highly Confidential
     PTX1654           2/1/2021 15:20     IPG-ADTECH_000012                       IPG-ADTECH_000037                          IPG Document                                                     Confidential
     PTX1655           2/26/2021 5:26     NIKE0000108                             NIKE0000145                                Nike presentation                                                Highly Confidential
     PTX1656           3/3/2021                                                                                              LinkedIn Profile of Woojin Kim
     PTX1657           12/22/2021 22:55   MSFT-LIT-0000039894                     MSFT-LIT-0000039898                        Microsoft document                                               Highly Confidential
                                                                                                                             IAB document titled “IAB Europe’s Guide to In-App
     PTX1658
                       2/2022                                                                                                Advertising”
     PTX1659           2/23/2022 14:25    MSFT-LIT-0000018503                     MSFT-LIT-0000018503                        Microsoft presentation                                           Highly Confidential
     PTX1660           7/28/2022 0:00     EQUATIV-000000352                       EQUATIV-000000414                          Equativ presentation                                             Highly Confidential
                                                                                                                             IAB document titled “Internet Advertising Revenue Report:
     PTX1661                                                                                                                 Full-year 2022 results“Ad Format Guidelines for Digital Video
                       8/2022                                                                                                and CTV”
                                                                                                                             Email from Tantee Karmakar to Kristen O'Hara et al., with
     PTX1662
                       8/17/2022 14:06    GOOG-AT-MDL-002447434                   GOOG-AT-MDL-002447462                      attachment                                                       Highly Confidential
     PTX1663           10/11/2022 17:00   GOOG-AT-MDL-011120632                   GOOG-AT-MDL-011120648                      Google presentation                                              Confidential
     PTX1664           1/2023                                                                                                Bellack Central webpage titled “Why I Left Google”
     PTX1665           1/9/2023 15:39     GOOG-AT-MDL-002038381                   GOOG-AT-MDL-002038387                      Email from Casper Verhoofstad to Eden Adamu et al.               Highly Confidential
     PTX1666           1/27/2023                                                                                             2023.01.27 Tweet written
                                                                                                                             ABC News article titled “'I'm still shocked': Tech workers offer
     PTX1667                                                                                                                 insider account of mass layoffs,” by Max Zahn and Nakylah
                       1/30/2023 5:04                                                                                        Carter
                                                                                                                             The CMO Survey document titled “Managing Brand, Growth,
     PTX1668
                       3/2023                                                                                                and Metrics”
     PTX1669           3/27/2023 16:40    GOOG-AT-MDL-008285890                   GOOG-AT-MDL-008286018                      Google presentation                                              Highly Confidential
                                                                                                                             IAB document titled “Internet Advertising Revenue Report:
     PTX1670
                       4/2023                                                                                                Full-year 2022 results”
     PTX1671           5/10/2023 0:00     MAGNITE-00013445                        MAGNITE-00013492                           Magnite presentation                                             Highly Confidential
     PTX1672           5/10/2023 0:00     MAGNITE-00007152                        MAGNITE-00007337                           Magnite presentation                                             Highly Confidential
     PTX1673           5/11/2023 0:00     EQUATIV-000000082                       EQUATIV-000000089                          Google document                                                  Highly Confidential
     PTX1674           6/2/2023 0:00      EQUATIV-000000001                       EQUATIV-000000077                          Google document                                                  Highly Confidential
     PTX1675           6/9/2023 2:15      GOOG-AT-MDL-013133551                   GOOG-AT-MDL-013133577                      Google presentation                                              Highly Confidential
     PTX1676           6/14/2023 16:32    NEWSCORP_GOOG_0000045                   NEWSCORP_GOOG_0000047                      Email from Jennifer Castillo to Lyndsey Hayes et al.             Highly Confidential
     PTX1677           6/15/2023 14:49    PBMTC-ANTRST-002691                     PBMTC-ANTRST-002697                        Pubmatic presentation                                            Confidential
     PTX1678           6/15/2023 16:53    GOOG-AT-MDL-004300268                   GOOG-AT-MDL-004300333                      Google presentation                                              Confidential
     PTX1679           6/23/2023 0:00     EQUATIV-000000415                       EQUATIV-000000417                          Email from Jesus Carrera to Ingrid Couasnon                      Highly confidential
     PTX1680           6/23/2023 0:00     EQUATIV-000000422                       EQUATIV-000000423                          Email from Arnaud Creput to Juan Manuel Alvarez et al.           Highly Confidential
     PTX1681           6/23/2023 0:00     EQUATIV-000000420                       EQUATIV-000000421                          Email from Jesus Carrera to Arnaud Creput et al.                 Highly Confidential



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     PTX1682           6/24/2023 0:00    EQUATIV-000000090                      EQUATIV-000000090                          Equativ spreadsheet                                          Highly Confidential
     PTX1683           6/24/2023 0:00    EQUATIV-000000091                      EQUATIV-000000091                          Equativ spreadsheet                                          Highly Confidential
                                                                                                                           Crain Communications Inc. document titled “Ad Age Leading
     PTX1684
                       6/26/2023                                                                                           National Advertisers 2023: 200 biggest advertisers”
     PTX1685           7/11/2023 23:17   MSFT-LIT-0000080465                    MSFT-LIT-0000080511                        Microsoft document                                           Highly Confidential
     PTX1686           7/11/2023 23:17   MSFT-LIT-0000081139                    MSFT-LIT-0000081141                        Email from Melanie A. Hallas to Marie-Madeleine Husunu       Highly Confidential
     PTX1687           7/11/2023 23:17   MSFT-LIT-0000081051                    MSFT-LIT-0000081138                        Microsoft document                                           Highly Confidential
     PTX1688           7/11/2023 23:17   MSFT-LIT-0000065451                    MSFT-LIT-0000065484                        Microsoft document                                           Highly Confidential
     PTX1689           7/11/2023 23:17   MSFT-LIT-0000065419                    MSFT-LIT-0000065450                        Microsoft document                                           Highly Confidential
     PTX1690           7/11/2023 23:28   MSFT-LIT-0000081451                    MSFT-LIT-0000081483                        Microsoft document                                           Highly Confidential
     PTX1691           7/11/2023 23:28   MSFT-LIT-0000081374                    MSFT-LIT-0000081404                        Microsoft document                                           Highly Confidential
     PTX1692           7/12/2023 16:39   YAH_GG_LIT_004590                      YAH_GG_LIT_004595                          Yahoo document                                               Highly Confidential
     PTX1693           8/3/2023 17:22    NYTGOOGADTECH-000741                   NYTGOOGADTECH-000784                       New York Times Presentation                                  Highly Confidential
     PTX1694           12/31/2023                                                                                          X post written by Jonathan Bellack
                                                                                                                           Google.com webpage titled “Google Ad Manager Help - Help
     PTX1695
                       1/30/2024                                                                                           Center - About native ads”
                                                                                                                           Google.com webpage titled “Google Ads Help - Help Center -
     PTX1696
                       2/1/2024                                                                                            About video ad formats”
                                                                                                                           Google.com webpage titled “Updates to video publisher policy
     PTX1697
                       2/1/2024                                                                                            in 2024 - Publisher Policies Help”
                                                                                                                           Google.com webpage titled “Analytics Help - [GA4] Funnel
     PTX1698
                       2/4/2024                                                                                            exploration”
                                                                                                                           Amazon.com webpage titled “What is display advertising? A
     PTX1699
                       2/13/2024                                                                                           beginner's guide”
                                                                                                                           Amazon.com webpage titled “What is digital advertising? A
     PTX1700
                       2/13/2024                                                                                           beginner's guide”
                                                                                                                           Bellack Central webpage titled “Jonathan Bellack's
     PTX1701
                       6/4/2024 9:25                                                                                       Professional Experience”
     PTX1702           7/15/2020 0:00    Public-Newscorp-ATR001-00000010        Public-Newscorp-ATR001-00000012            NewCorp document
     PTX1703           7/12/2019 0:06    Public-Newscorp-ATR001-00000001        Public-Newscorp-ATR001-00000009            NewCorp document
                                                                                                                           Google webpage titled “Take Control of All Your Ad Sales -
     PTX1704
                       6/24/2024 16:31                                                                                     Google Ad Manager”
                                                                                                                           Google webpage titled “Generate Ad Exchange ad tags -
     PTX1705
                       6/24/2024 16:32                                                                                     Google Ad Manager Help”
                                                                                                                           Google webpage titled “Earn Advertising Revenue with Yield
     PTX1706
                       6/24/2024 16:32                                                                                     Management - Google Ad Manager”
     PTX1707           3/30/2015 0:00    TTD_DOJ-GOOG23-0001954                 TTD_DOJ-GOOG23-0001956                     The Trade Desk document                                      Highly Confidential
     PTX1708           3/16/2017 0:00    FBDOJ012737577                         FBDOJ012737578                             Facebook document                                            Confidential
     PTX1709           7/5/2017 22:13    FBDOJGOOG_01186933                     FBDOJGOOG_01186940                         Facebook document                                            Confidential
     PTX1710           10/4/2017 10:54   FBDOJ012956407                         FBDOJ012956407                             Facebook document                                            Confidential
     PTX1711           1/1/2019 0:00     NEWSCORP-DOJCID-00003014               NEWSCORP-DOJCID-00003017                   NewCorp document                                             Confidential
     PTX1712           12/18/2019 0:00   FBDOJGOOG_01148571                     FBDOJGOOG_01148574                         Facebook document                                            Confidential
     PTX1713                             INTENTIONALLY OMITTED PTX
     PTX1714           2/3/2022 0:00     TTD_DOJ-GOOG23-0001957                 TTD_DOJ-GOOG23-0001974                     The Trade Desk document                                     Highly Confidential
     PTX1715           8/31/2022 0:00    TTD_DOJ-GOOG23-0001975                 TTD_DOJ-GOOG23-0001990                     The Trade Desk document                                     Highly Confidential
     PTX1716           6/8/2023 22:58    GOOG-AT-MDL-013105366                  GOOG-AT-MDL-013105379                      Google document                                             Highly Confidential



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Trial Exhibit Number          Date                      Beg Bates                                End Bates                                          Description                           Confidentiality

     PTX1717           Undated            DM_GOOG_0000642                        DM_GOOG_0000647                            DMGT presentation                                          Highly Confidential
     PTX1718           Undated            TTD_DOJ-GOOG23-0001156                 TTD_DOJ-GOOG23-0001172                     The Trade Desk presentation                                Highly Confidential
     PTX1719           Undated            FBDOJ012851003                         FBDOJ012851012                             Facebook document                                          Confidential
     PTX1720           9/29/2014 0:00     Public-WPP-ATR001-00000001             Public-WPP-ATR001-00000025                 WPP document
     PTX1721           2/13/2012 1:16     GOOG-DOJ-14837888                      GOOG-DOJ-14837894                          Email from Scott Spency to Jason Bigler et al.             Highly Confidential
     PTX1722           10/29/2013 21:03   GOOG-AT-MDL-014630352                  GOOG-AT-MDL-014630354                      Email from Woojin Kim to Scott Spencer et al.              Confidential
     PTX1723           11/4/2013 18:39    GOOG-AT-MDL-019060395                  GOOG-AT-MDL-019060396                      Alphabet, Inc                                              Confidential
     PTX1724           1/16/2014 0:19     GOOG-TEX-00653816                      GOOG-TEX-00653861                          Alphabet, Inc                                              Highly Confidential
     PTX1725           10/20/2015 15:04   GOOG-AT-MDL-003364905                  GOOG-AT-MDL-003364907                      Email from Scott Sheffer to Anthony Nakache et al.         Confidential
     PTX1726           11/23/2015 0:00    GOOG-AT-MDL-B-004100720                GOOG-AT-MDL-B-004100764                    Alphabet, Inc. document                                    Highly Confidential
     PTX1727           11/24/2015 22:49   GOOG-DOJ-32565428                      GOOG-DOJ-32565428                          Email from Woojin Kim to Bahman Rabii et al.               Confidential
     PTX1728           1/6/2016 18:50     GOOG-DOJ-11765784                      GOOG-DOJ-11765785                          Email from Bryan Rowley to Jerome Grateau et al.           Highly Confidential
                                                                                                                            Email from opg.global-leadership@google.com on behalf of
     PTX1729
                       1/8/2016 23:58     GOOG-AT-MDL-013711389                  GOOG-AT-MDL-013711394                      Scott Sheffer to PBS Management Team et al.                Confidential
     PTX1730           1/11/2016 19:14    GOOG-DOJ-12711795                      GOOG-DOJ-12711805                          Alphabet, Inc                                              Confidential
     PTX1731                              INTENTIONALLY OMITTED PTX
     PTX1732           4/11/2016 19:09    GOOG-DOJ-28517565                      GOOG-DOJ-28517569                          Email from Joan Hunter to Woojin Kim et al.                Confidential
     PTX1733           5/10/2016 21:50    GOOG-DOJ-13521990                      GOOG-DOJ-13521993                          Email from Tobias Maurer to Dima Kuzmin et al.             Highly Confidential
     PTX1734           10/19/2016 1:35    GOOG-AT-MDL-B-001121416                GOOG-AT-MDL-B-001121416                    Email from Jim Giles to Nitish Korula et al.               Confidential
     PTX1735           10/27/2016 10:33   GOOG-AT-MDL-B-001121650                GOOG-AT-MDL-B-001121650                    Email from Glenn Berntson to Nitish Korula et al.          Confidential
     PTX1736           11/10/2016 20:06   GOOG-DOJ-02852767                      GOOG-DOJ-02852769                          Message from Brad Bender to Payam Shodjai                  Highly Confidential
     PTX1737                              INTENTIONALLY OMITTED PTX
     PTX1738           8/8/2017 10:25     GOOG-DOJ-14162034                      GOOG-DOJ-14162039                          Google document                                            Highly Confidential
     PTX1739           10/11/2017 3:09    GOOG-AT-MDL-B-002114983                GOOG-AT-MDL-B-002114983                    Email from Ali Amini to Jim Giles                          Confidential
     PTX1740                              INTENTIONALLY OMITTED PTX
     PTX1741           12/6/2017 19:18    GOOG-AT-MDL-009513807                  GOOG-AT-MDL-009513807                      Email from Eddie Higgins to Danielle Romain et al.         Confidential
     PTX1742           12/7/2017 7:33     GOOG-DOJ-09002381                      GOOG-DOJ-09002386                          Google document                                            Highly Confidential
     PTX1743           3/14/2018 22:14    GOOG-DOJ-02855484                      GOOG-DOJ-02855524                          Google presentation                                        Highly Confidential
     PTX1744           5/17/2018 15:57    GOOG-DOJ-07955157                      GOOG-DOJ-07955161                          Email from Chris LaSala to Bryan Rowley et al.             Highly Confidential
     PTX1745           5/18/2018 17:38    GOOG-DOJ-08470881                      GOOG-DOJ-08470884                          Email from Johnathan Bellack to Donald Harrison            Highly Confidential
     PTX1746           6/6/2018 18:31     GOOG-TEX-00040294                      GOOG-TEX-00040332                          Google presentation                                        Highly Confidential
     PTX1747           6/19/2018 15:20    GOOG-DOJ-11347849                      GOOG-DOJ-11347849                          Email from Payam Shodjai to David Goodman                  Highly Confidential
     PTX1748           8/13/2018 11:21    FBDOJGOOG_01140379                     FBDOJGOOG_01140379                         Email from Elisabeth Diana to Monique Hall et al.          Confidential
     PTX1749           5/13/2019 15:17    GOOG-AT-MDL-013301522                  GOOG-AT-MDL-013301522                      Email from Rita Ren to Santosh Cirupati                    Highly Confidential
     PTX1750           6/8/2019 20:26     ADOBE – CID 30473 – 0000072943         ADOBE – CID 30473 – 0000072959             Email from Adam Rose to Keith Eadie, with attachment       Confidential
     PTX1751           8/21/2019 21:48    GOOG-DOJ-14223315                      GOOG-DOJ-14223316                          Email from Noam Wolf to Rob Hazan et al.                   Highly Confidential
     PTX1752           9/5/2019 21:14     GOOG-DOJ-29729087                      GOOG-DOJ-29729090                          Google presentation                                        Confidential
     PTX1753           10/28/2019 16:18   GOOG-AT-MDL-008991752                  GOOG-AT-MDL-008991754                      Message from Guilio Minguzzi to Rahul Srinivasan           Confidential
     PTX1754           11/19/2019 14:29   GOOG-AT-MDL-007344449                  GOOG-AT-MDL-007344455                      Email from David Garcia to Peentoo Patel et al.            Highly Confidential
     PTX1755           2/4/2020 22:01     GOOG-DOJ-11890293                      GOOG-DOJ-11890326                          Google presentation                                        Highly Confidential
     PTX1756           9/15/2020 20:13    GOOG-AT-MDL-001401514                  GOOG-AT-MDL-001401516                      Google document                                            Highly Confidential
     PTX1757           2/4/2021 16:13     GOOG-AT-MDL-006037366                  GOOG-AT-MDL-006037373                      Google document                                            Highly Confidential
     PTX1758           5/10/2021 0:00     TTD_DOJ-GOOG23-0013630                 TTD_DOJ-GOOG23-0013751                     The Trade Desk document                                    Highly Confidential
     PTX1759                              INTENTIONALLY OMITTED PTX
     PTX1760           9/17/2021          FBDOJGOOG-INV-00000022                 FBDOJGOOG-INV-00000022                     Facebook Data Production                                   Highly Confidential
     PTX1761           1/9/2023 21:40     GOOG-AT-MDL-001064910                  GOOG-AT-MDL-001064910                      Google spreadsheet                                         Highly Confidential



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     PTX1762           4/28/2023 10:13    FBDOJGOOG_01495007                    FBDOJGOOG_01495016                         Google Workplace webpage                                    Highly Confidential
     PTX1763           5/2/2023 0:00      CRITEO_GOOGLELIT_0000000761           CRITEO_GOOGLELIT_0000000761                Criteo Data Production                                      Highly Confidential
     PTX1764           6/5/2023                                                                                            2023.06.05 Google Responses to Plaintiffs' Fourth RFPs      Highly Confidential
     PTX1765           6/8/2023 20:43     GOOG-AT-MDL-009831092                 GOOG-AT-MDL-009831094                      Google document                                             Confidential
     PTX1766           6/8/2023 20:43     GOOG-AT-MDL-009831506                 GOOG-AT-MDL-009831519                      Google presentation                                         Confidential
     PTX1767           6/8/2023 20:43     GOOG-AT-MDL-009832388                 GOOG-AT-MDL-009832390                      Google document                                             Confidential
     PTX1768
                       6/22/2023 1:28     GOOG-AT-MDL-011124130                 GOOG-AT-MDL-011124651                      Google presentation                                         Confidential
     PTX1769           6/22/2023 2:44     GOOG-AT-MDL-019430588                 GOOG-AT-MDL-019430601                      Google document                                             Highly Confidential
     PTX1770                              INTENTIONALLY OMITTED PTX
     PTX1771           8/25/2023 0:00     CRITEO_GOOGLELIT_0000015578           CRITEO_GOOGLELIT_0000015578                Criteo Data Production                                      Highly Confidential
                                                                                                                           2023.09.08 Verified Google's Amended Supplemental
     PTX1772
                       9/8/2023                                                                                            Response to Interrogatory 3 (HIGHLY CONFIDENTIAL)           Highly Confidential
     PTX1773           10/6/2023                                                                                           2023.10.06 Letter from D. Pearl to K. Garcia                Highly Confidential
     PTX1774           11/8/2023                                                                                           2023.11.08 Letter from E. Mahr to J Wood                    Highly Confidential
     PTX1775           11/15/2023                                                                                          2023.11.15 Letter from E. Mahr to J. Wood                   Highly Confidential
     PTX1776           12/8/2023                                                                                           2023.12.08 Letter from A. Mauser to M. Freeman              Highly Confidential
                                                                                                                           Google document titled “You Said What?! 10 Things to
     PTX1777
                       Undated                                                                                             Ensure You Are Communicating with Care”                     Confidential
     PTX1778           12/22/2023                                                                                          Curriculum Vitae of Professor Robin S. Lee, Ph.D.
     PTX1779           12/22/2023                                                                                          Curriculum Vitae of Gabriel Weintraub, Ph.D.
     PTX1780           12/22/2023                                                                                          Curriculum Vitae of Ramamoorthi Ravi, Ph.D.
     PTX1781           12/22/2023                                                                                          Curriculum Vitae of Rosa Abrantes-Metz, Ph.D.
     PTX1782           12/22/2023                                                                                          Curriculum Vitae of Timothy Simcoe, Ph.D.
     PTX1783           2/13/2024                                                                                           Curriculum Vitae of Adoria Lim
     PTX1784           2/13/2024                                                                                           Curriculum Vitae of Kenneth C. Wilbur, Ph.D.
     PTX1785           2/13/2024                                                                                           Curriculum Vitae of Wayne D. Hoyer, Ph.D.
     PTX1786           Undated            NYT_TXAG_00000108                     NYT_TXAG_00000115                          New York Times presentation                                 Highly Confidential
                                                                                                                           2023.04.27 Revised Google Responses to Plaintiffs' First
     PTX1787                                                                                                               Interrogatories - HIGHLY CONFIDENTIAL and
                       4/27/2023                                                                                           CONFIDENTIAL                                                Highly Confidential
                                                                                                                           2023.09.01 Google's Responses to Plaintiffs' Fifth Set of
     PTX1788
                       9/1/2023                                                                                            ROGs                                                        Highly Confidential
     PTX1789           6/27/2024 22:24                                                                                     Facebook.com webpage titled “Code of Conduct”
     PTX1790           2/14/2011 4:09     GOOG-TEX-00772670                     GOOG-TEX-00772766                          Email from Jonathan Bellack with attachment                 Confidential
     PTX1791           9/21/2008 18:14    GOOG-DOJ-01270484                     GOOG-DOJ-01270490                          Email from Ivan Ernest to Alan Eustace                      Highly Confidential
                                                                                                                           Message from Aparna Pappu to Sagnik Nandy et al., with
     PTX1792           4/19/2018 15:39    GOOG-AT-MDL-012366403                 GOOG-AT-MDL-012366425                      attachment                                                  Confidential
     PTX1793           12/17/2018 9:01    GOOG-AT-MDL-B-004290134               GOOG-AT-MDL-B-004290137                    Messages involving various Google employees                 Confidential
     PTX1794           11/18/2020 0:00    GOOG-AT-MDL-009709520                 GOOG-AT-MDL-009709521                      Google document                                             Highly Confidential
     PTX1795           2/26/2021 0:00     GOOG-AT-MDL-009709508                 GOOG-AT-MDL-009709509                      Google document                                             Highly Confidential
     PTX1796           10/1/2021 0:00     GOOG-AT-MDL-009709522                 GOOG-AT-MDL-009709523                      Google document                                             Highly Confidential
     PTX1797           11/10/2021 18:15   GOOG-AT-MDL-010366478                 GOOG-AT-MDL-010366478                      Messages involving various Google employees                 Confidential
     PTX1798           2/8/2022 16:08     GOOG-AT-MDL-008033073                 GOOG-AT-MDL-008033076                      Messages involving various Google employees                 Confidential
     PTX1799           2/25/2022 0:00     GOOG-AT-MDL-009709506                 GOOG-AT-MDL-009709507                      Google document                                             Highly Confidential
     PTX1800           7/29/2022 22:49    GOOG-AT-MDL-002984931                 GOOG-AT-MDL-002984965                      Google presentation                                         Confidential



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     PTX1801           2/24/2023 21:01    GOOG-AT-MDL-009480562                   GOOG-AT-MDL-009480566                      Message from Susan Blackburn to Dan Taylor et al.                    Confidential
     PTX1802           5/17/2023 0:00     GOOG-AT-MDL-009709518                   GOOG-AT-MDL-009709519                      Google document                                                      Highly Confidential
     PTX1803           9/16/2008 23:01    GOOG-DOJ-29864619                       GOOG-DOJ-29864620                          Email from Matthew Drake to Bill Coughran et al.                     Confidential
     PTX1804           11/21/2016 18:09   GOOG-DOJ-12713557                       GOOG-DOJ-12713558                          Message from Roberto Ruju to Chris LaSala                            Highly Confidential
     PTX1805           1/11/2016 18:24    GOOG-DOJ-14432746                       GOOG-DOJ-14432772                          Google presentation                                                  Highly Confidential
     PTX1806           1/11/2019 17:24    GOOG-DOJ-AT-01680360                    GOOG-DOJ-AT-01680369                       Email from Rahul Srinivasan to Sam Temes et al.                      Highly Confidential
                                                                                                                             Message from J. Mark Hou to Tom Cunningham, with
     PTX1807           2/28/2020 13:29    FBDOJ011922116                          FBDOJ011922168                             attachments                                                          Confidential
     PTX1808           6/2/2021 19:19     GOOG-DOJ-AT-02096186                    GOOG-DOJ-AT-02096187                       Alphabet, Inc. document                                              Highly Confidential
                                                                                                                             Digiday.com article titled “‘Fundamentally, the SSP business
                                                                                                                             is not very attractive’: The fall out of ad tech’s latest round of
     PTX1809           2/13/2023                                                                                             closures,” by Ronan Shields
                                                                                                                             2023.09.08 Verified Google's Response to ROGs 11-12, 14-
                                                                                                                             15, 17 & Supplemental Response to ROG 14
     PTX1810           9/8/2023                                                                                              (CONFIDENTIAL)                                                       Confidential

     PTX1811           11/8/2023                                                                                             2023.11.08 Google's Corrected Response to Interrogatory 11           Confidential
     PTX1812           2/15/2017 0:00     FBDOJGOOG_01166683                      FBDOJGOOG_01166696                         Facebook document                                                    Confidential
     PTX1813           4/4/2017 0:00      FBDOJGOOG_01363434                      FBDOJGOOG_01363434                         Facebook document                                                    Confidential
                                                                                                                             Email from Brad Bender to display-gcn-eng-
     PTX1814           1/29/2009 17:36    GOOG-AT-MDL-B-004389742                 GOOG-AT-MDL-B-004389788                    leads@google.com et al., with attachments                            Confidential
     PTX1815           6/8/2016 6:06      AMZNDOJ0190670                          AMZNDOJ0190671                             Email from Matthew Battles to Miranda Chen et al.                    Confidential
                                                                                                                             Email from Miranda Chen to Tim Craycroft et al., with
     PTX1816           6/20/2016 1:21     AMZNDOJ0106813                          AMZNDOJ0106817                             attachment                                                           Confidential
     PTX1817           1/7/2018 15:01     AMZNDOJ0161089                          AMZNDOJ0161090                             Email from Tim Craycroft to Paul Kotas et al.                        Confidential
     PTX1818           8/18/2020 17:54    GOOG-AT-MDL-B-004008622                 GOOG-AT-MDL-B-004008624                    Message from Chris LaSala to Nash Islam                              Highly Confidential
     PTX1819           2/9/2023 15:30     GOOG-AT-MDL-007385867                   GOOG-AT-MDL-007385868                      Message from Google Employee to Aparna Pappu                         Confidential
                                                                                                                             Email from Sharmilan Rayer to @NBC UNI Audience Studio
     PTX1820           10/19/2017 16:03   COM-00003942                            COM-00003943                               et al.                                                               Confidential
                                                                                                                             2019.04.24 X posts written by Stephanie Layser and James
     PTX1821           4/24/2019                                                                                             Avery
                                                                                                                             Mediavine.com article titled “What is Header Bidding?” Eric
     PTX1822           1/15/2018                                                                                             Hochberger
                                                                                                                             Mediavine.com article titled “Google First Price Auction:
     PTX1823           9/11/2019                                                                                             What it Means For Publishers,” Eric Hochberger
                                                                                                                             Mediavine.com article titled “Google Ad Manager: New
     PTX1824           7/25/2018                                                                                             Name, Same Great Mediavine Partnership,” by Steve Marsi
     PTX1825           1/22/2013 3:04     GOOG-DOJ-14849643                       GOOG-DOJ-14849644                          Email from Scott Spencer to Jerome Grateau et al.                    Highly Confidential
     PTX1826           5/31/2013 2:27     GOOG-AT-MDL-014515755                   GOOG-AT-MDL-014515757                      Email from Woojin Kim to Scott Spencer et al.                        Confidential
     PTX1827           12/2/2013 23:24    GOOG-AT-MDL-014082831                   GOOG-AT-MDL-014082832                      Email from Scott Spencer to Daniel Alegre et al.                     Confidential
     PTX1828           2/14/2014 20:16    GOOG-DOJ-15616116                       GOOG-DOJ-15616117                          Email from Eyal Manor to Scott Spencer et al.                        Highly Confidential

     PTX1829           3/4/2014 20:29     GOOG-DOJ-14257049                       GOOG-DOJ-14257050                          Message from Scott Spencer to Eyal Manor                             Highly Confidential
     PTX1830           5/9/2015 1:06      GOOG-DOJ-14271826                       GOOG-DOJ-14271830                          Email from Scott Spencer to Charlie Vestner et al.                   Highly Confidential
     PTX1831           5/9/2017           FBDOJ012357635                          FBDOJ012357646                             Facebook document                                                    Confidential




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     PTX1832           Undated           CRI-00000278                            CRI-00000285                               Criteo presentation                                            Confidential
                                                                                                                            Index Exchange press release titled “Index Exchange builds
                                                                                                                            'Exchange of the Future,' Scaling its Omnichannel Capabilities
     PTX1833           11/16/2021                                                                                           for New Channels and Creative Formats”
                                                                                                                            Index Exchange webpage titled “Ad Channels and Formats -
     PTX1834           9/22/2023 10:36                                                                                      Index Exchange”
     PTX1835           Undated           TWDC_GOOG_00055169                      TWDC_GOOG_00055181                         The Walt Disney Company document                               Highly Confidential
     PTX1836                             INTENTIONALLY OMITTED PTX
     PTX1837           10/11/2023                                                                                           2023.10.11 30(b)(6) Notice to Google
                                                                                                                            2023.11.08 Google Response to Plaintiffs' October 11 Letter re
     PTX1838           11/8/2023                                                                                            Ingestion Site Issues - HIGHLY CONFIDENTIAL                    Highly Confidential
                                                                                                                            2023.11.08 Letter from E. Mahr to J. Wood re Written
     PTX1839           11/8/2023                                                                                            Response to 30(b)(6) Topics 25-26                              Highly Confidential
                                                                                                                            2023.11.10 Google Response to Plaintiffs' October 11 Letter re
     PTX1840           11/10/2023                                                                                           Ingestion Site Issues - HIGHLY CONFIDENTIAL                    Highly Confidential
                                                                                                                            2023.05.05 Letter from F. Rubinstein to K Herrmann
     PTX1841           5/5/2023                                                                                             regarding Additional Documents

     PTX1842           6/2/2023                                                                                             2023.06.02 Transmittal Letter re Google PROD262

     PTX1843           7/23/2021                                                                                            2021.07.23 Letter to Google re Miscellaneous Items              Confidential
                                                                                                                            2021.06.01 Letter to Google re Handwritten Notes, Mobile
     PTX1844           6/1/2021                                                                                             Devices, and Chats                                              Confidential
                                                                                                                            2023.11.15 Letter from E. Mahr to J. Wood re Supplemental
     PTX1845           11/15/2023                                                                                           Written Response to 30(b)(6) Topics 25-26                       Highly Confidential
                                                                                                                            2020.12.23 Letter to Google re Preservation and Production of
     PTX1846           12/23/2020                                                                                           ESI

     PTX1847           7/11/2023                                                                                            2023.07.11 J. Elmer Letter re Substantial Completion

     PTX1848           3/31/2023                                                                                            2023.03.31 Google Search Production Cover Letter                Confidential

     PTX1849           6/12/2023                                                                                            2023.06.12 Google Search Production Transmittal Letter




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                                         GOOGEDVA-SC-00001; GOOGEDVA-SC-
                                         00002; GOOGEDVA-SC-00007;
                                         GOOGEDVA-SC-00008; GOOGEDVA-SC-
                                         00009; GOOGEDVA-SC-00010;
                                         GOOGEDVA-SC-00012; GOOGEDVA-SC-
                                         00013; GOOGEDVA-SC-00015;
                                         GOOGEDVA-SC-00016; GOOGEDVA-SC-
                                         00017; GOOGEDVA-SC-00018;
                                         GOOGEDVA-SC-00019; GOOGEDVA-SC-
                                         00020; GOOGEDVA-SC-00023;
                                         GOOGEDVA-SC-00024; GOOGEDVA-SC-
                                         00025; GOOGEDVA-SC-00028;
                                         GOOGEDVA-SC-00029; GOOGEDVA-SC-                         N/A
                                         00031; GOOGEDVA-SC-00032;
                                         GOOGEDVA-SC-00033; GOOGEDVA-SC-
                                         00034; GOOGEDVA-SC-00035;
                                         GOOGEDVA-SC-00036; GOOGEDVA-SC-
                                         00037; GOOGEDVA-SC-00039;
                                         GOOGEDVA-SC-00042; GOOGEDVA-SC-
                                         00043; GOOGEDVA-SC-00045;
                                         GOOGEDVA-SC-00047; GOOGEDVA-SC-
                                         00048; GOOGEDVA-SC-00055;
                                         GOOGEDVA-SC-00062; GOOGEDVA-SC-
                                         00069; GOOGEDVA-SC-00074;
                                         GOOGEDVA-SC-00075; GOOGEDVA-SC-                                                                                                                Highly Confidential -
     PTX1850                             00076; GOOGEDVA-SC-00078                                                        Google Source Code                                             Source Code

                                                                                                                         Paparo, Ari, “The ad tech industry is waging a secret war on
                                                                                                                         Google,” BusinessInsider.com (Sep 21, 2015), available at
                                                                                                                         https://www.businessinsider.com/how-ad-tech-companies-are-
     PTX1851           9/21/2015                                                                                         using-header-bidding-to-tackle-googles-dominance-2015-9

                                                                                                                         Sluis, Sarah, “The Rise Of ‘Header Bidding’ And The End Of
                                                                                                                         The Publisher Waterfall,” AdExchanger.com (June 18, 2015),
                                                                                                                         available at https://www.adexchanger.com/publishers/the-rise-
     PTX1852           6/18/2015                                                                                         of-header-bidding-and-the-end-of-the-publisher-waterfall/
     PTX1853           4/19/2019 16:59   GOOG-AT-MDL-B-007778984              GOOG-AT-MDL-B-007778984                    Recording of Google presentation                              Highly Confidential
     PTX1854           4/19/2019 16:59                                                                                   Certified Transcript of GOOG-AT-MDL-B-007778984               Highly Confidential
     PTX1855           2/16/2021 20:27   GOOG-AT-MDL-B-007779357              GOOG-AT-MDL-B-007779373                    Google presentation                                           Highly Confidential




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